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                                UNITED STATES DISTRICT COURT
                          IN THE WESTERN DISTRICT OF MASSACHUSETTS
                                      SPRINGFIELD, MA.
                             Civil Action No. 3:17-CV-30174-MAP

               THOMAS FORBES, as he is the                 )
               Personal Representative of the              )
               Estate of GEORGE J. FORBES,                 )
                                                           )
                                       PLAINTIFF           )
                                                           )   V IDE 0 TAP E D
               v.                                          )
                                                           )               30 (B) (6)
                                                           )
               GREGORY TRUCKING COMPANY, INC.;             )   D E P 0 SIT ION
               WILEY LENUE HOOKS, JR.;                     )
               GREGORY LEASING COMPANY, INC.;              )
               B S G LEASING, INC.;                        )
               B&C TIMBERS LLC; and                        )
               BB&S ACQUISITIONS CORP.,                    )
                                                           )
                                      DEFENDANTS           )



•                                    CECIL GREGORY - VOL 1
                                                           )




                                   30(b) (6) Gregory Trucking

               TAKEN AT:
               THE HILTON GARDEN INN
               1017 Gateway Crossing Drive
               Statesville, North Carolina         28677

                                   Wednesday April 24, 2019
                                           2:03 P.M.
                                        Heather L. Smith
                                         Court Reporter

                                   Wyatt Legal Services, LLC
                                    3936 Elizabeth Glen Way
                                      Jamestown, NC 27282


,                                       (336) 510-8515
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                                                              Exhibit Number One            Mr. Tangredi           8
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                                                              30(b)(5), and 45)
                                                              Exhibit Number Two            Mr. Tangredi           10
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                                                              Exhibit Number Three          Mr. Tangredi          23
                                                              (Motor Carrier Identification Report)
                                                              Exhibit Number Four           Mr. Tangredi          29
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                                                              Exhibit Number Five          Mr. Tangredi          36
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                                                              Exhibit Number Six           Mr. Tangredi          39
                                                              (Gregory Trucking Company Web site printout)
                                                              Exhibit Number Seven          Mr. Tangredi           43
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                                                              Exhibit Number Eight          Mr. Tangredi          59
                                                              (Gregory Trucking Company, Inc.'s Supplemental Response to
                                                              Plaiotifl's Request for Production ofDocuments Number 15)




•                   APPEARANCES OF COUNSEL

          Dino M. Tangredi, Esquire
          LAW OFFICE OF DINO M. TANGREDI
          106 Mount Auburn Street
                                                        -.
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                                                              Name
                                                                           EXH I B J T S (Coot)

                                                              Exhibit Number Nine
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                                                                                           Mr. Tangredi          59
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                                                              (Gregory Trucking Company, Inc.'s Supplemental Response to
                                                              Plaintifl's Request for Production of Documents Number 84)
                                                              Exhibit Number Ten           Mr. Tangredi          65
          Watertown, Massachusetts 02472                      (Gregory Trucking Company, Inc.'s Supplemental Response to
          Matthew R. O'Connor, Esquire                        Plaintifl's Request for Preduction of Documents Number 106)
          MORRISON MAHONEY LLP                                Exhibit Number Eleven         Mr. Tangredi          100
          250 Summer Street                                   (Federsl Motor Carrier SafetyAdministration Form OP-I
          Boston, Massachusetts 02210                         Application for Motor Carrier and Broker Authority)
                                                              Exhibit Number Twelve         Mr. Tangredi          114
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          LAW OFFICES OF STEVEN B. STEIN                      Exhibit Number Thirteen       Mr. Tangredi          129
          POBox 2903                                          (April 7, 2017 Letter)
          Hartford, Cormecticut 06104                         Exhibit Number Fourteen        Mr. Tangredi          130
          L. Jeffrey Meehan, Esquire                          (April 7, 2017 Letter)
          DOHERTY, WALLACE, PILLSBURY AND MURPHY, P.C.        Exhibit Number Fifteen       Mr. Tangredi          132
          1414 Main Street, Suile 1900                        (April 7, 2017 Letter)
                                                              Exhibit Number Sixteen        Mr. Tangredi         133
          Springfield, Massachusetts 01144                    (April 7, 2017 Letter)
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          T. Dean Amos, Esquire                               (Gregory Trucking Company, Inc.'s Supplemental Response to
          LAW OFFICES OF AMOS & KAPRAL, LLP                   Plaintiffs Request for Production of Documents Number 39)
          1331 North Center Street                            Exhibit Number Eighteen        Mr. Tangredi          140
          ffickory, North Carolina 28601                      (photograph)
          OTHER APPEARANCES                                   ExhibitNumber Nineteen         Mr. Tangredi          150
          Herman Wyatt, Videographer                          (G&G Forest Products August 22, 2016 Receipt Number 7990)
                                                              Exhibit Number Twenty          Mr. Tangredi          167
                                                              (Gregory Trucking Company, Inc. Invoice Number 4449)
                                                              Exhibit Number Twenty-One Mr. Tangredi                 169
                                                              (BB&S Treated Lumber ofNew Eng AlP History Sorted by Date
                                                              Vendor: ORE097 Gregory Trucking Company, Inc. From 01101114




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                                                                                                   hdwyatt@gmail.com
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                                                                                               3    (Pages 6 to 9)




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                                                         Page 6                                                      Page 8
          to 12131117)                                                   1              THE VIDEOGRAPHER: We're on the
                     EXHIBITS(Cont.)                                     2   record. The time now is 2:03. This is the
                                                                         3   30(b)(6) video deposition of Mr. Cecil Gregory
          Name                    Offered By     Identified
          Exhibit Number Twenty-Two Mr. Tangredi              173        4   taken in the matter ofThomas Forbes, as he is the
          (Rate and Load Confirmation Load Number 7299)                  5   personal representative of the Estate of George J.
          Exhibit Number Twenty-Three Mr. Tangredi            192        6   Forbes, Plaintiff, versus Gregory Trucking
          (Gregory Trucking Company, Inc.'s Supplemental Response to
                                                                         7   Company, Incorporated; Wiley Lenue Hooks, Jr.;
          Plaintiffs Request for Production ofDocuments Number 19)
          Exhibit Number Twenty-Four Mr. Tangredi            194         B   Gregory Leasing Company, Incorporated; B S G
          (Gregory Trucking Company, Inc.'s Supplemental Response to     9   Leasing Company, Incorporated; B&C Timers LLC; and
          Plaintiff's Request for Production ofDocuments Number 94)     10   B&S Acquisition Corporation, Defendants, being
                                                                        11   heard in the jurisdiction of the United States
                                                                        12   District Court in the Western District of
                                                                        13   Massachusetts in Springfield, Mass., civil action
                                                                        14   3: 17-CV-30174-MAP. This deposition is beingheJd
                                                                        15   at the Hilton Garden Inn located at 1017 Gateway
                                                                        16   Crossing Drive in Statesville, North Carolina.
                                                                        17   Today is Wednesday, April the 24th, 2019. My name
                                                                        1B   is Herman Wyatt. I'm a certified legal video
                                                                        19   specialist, Wyatt Legal Services, LLC. The court
                                                                        20   reporter, also with Wyatt Legal Services, is
                                                                        21   Heather Smith. Would counsel, please, introduce
                                                                        22   themselves for the record
                                                                        23             MR. TANGREDI: Dino Tangredi. And
                                                                        24   I represent the plaintiff.




•
                                                                        25             MR. O'CONNOR: Matt O'Connor. And


                                                         Page 7                                                      Page 9
                             STIPULATIONS                                1   I represent Gregory Trucking Company; Wiley Lenue
              Pursuant to Notice and/or consent of the parties, the      2   Hooks, Jr.; Gregory Leasing Company; and B S G
          deposition hereon captioned was conducted at the time and
          location indicated and was conducted before Heather L.         3   Leasing.
          Smith, Notary Public in and for the County ofCabarrus,         4             MR. SCHULER: Thomas Schuler. I
          State of North Carolina at Large.
              Notice and/or defect in Notice of time, place, purpose     5   represent BB&S Acquisitions.
          and method of taking the deposition was waived. Formalities    6             MR. MEEHAN: Go ahead.
          with regard to sealing and filing the deposition were          7             MR. AMOS: Dean Amos. I represent
          waived, and it is stipulated that the original transcript,
          upon being certified by the undersigned court reporter,        8   B&C Timbers LLC.
          sball be made available for nse in accordance with the         9             MR. MEEHAN: Jeffrcy Meehan. I
          applicable rules as amended.
              It is stipulated that objections to questions and         10   represent B&C Timbers LLC, as well.
          motions to strike answers are reserved until the testimony,   11             TIlE VIDEOGRAPHER: The court
          or any part thereof, is offered for evidence, except that     12   reporter may swear the witness and we may begin.
          objection to the form ofany question shall be noted herein
          at the time ofthe taking of the testimony.                    13       The witness, CECIL STUART GREGORY, being
              Reading and signing ofthe testimony was requested         14   first duly sworn to state the truth, the whole
          prior to the filing ofsame for use as permitted by
          applicable rule(s).                                           15   truth, and nothing but the truth, testified as
                                                                        16   follows:
                                                                        17       (2:03p.m.)
                                                                        18             MR. TANGREDI: The first thing I'd
                                                                        19   like to do is mark a copy of the deposition
                                                                        20   notice.
                                                                        21             (DEPOSITION EXHIBIT
                                                                        22             NUMBER ONE WAS MARKED
                                                                        23             FOR IDENTIFICATION)




•
                                                                        24             MR. TANGREDI: Madam Court
                                                                        25   Reporter, is that One?


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                                                 Page 10                                                     Page 12
       1              COURT REPORTER: Yes, sir.                    1   on the record, that unlike a typical conversation,
       2              MR. TANGREDI: Okay. And rd also              2   your answers today are under oath. Your answers
       3   like to mark a copy of a letter from my office to       3   here are just like in a court oflaw. And under
       4   Attorney O'Connor, dated March 15th, 2019.              4   the United States Code Section 1621, anyone who
       5              (DEPOSITION EXlllBIT                         5   has taken an oath in any case who willfully states
       6              NUMBER TWO WAS MARKED                        6   any matter which he does not believe to be true is
       7              FOR IDENTIFICATION)                          7   guilty ofpetjury and subject to the penalties,
       8              MR. TANGREDI: And, for the record,           8   which include fines and/or imprisonment for up to
       9   Exhibit Number Two, the letter dated March 15th,        9   five years. Do you understand that?
      10   2019, to Attorney O'Connor, as counsel for Gregory     10       A. Yes.
      11   Trucking, requested two weeks prior to today's         11       Q. And, also, 18 United States Code Section
      12   deposition that the deponent be identified. And,       12   1501 says that any corrupt interference with the
      13   for the record, said deponent was never identified     13   orderly administration of law and justice,
      14   until just now. The letter also requested that if      14   especially by influencing or furnishing false
      15   anybody besides the deponent had information, that     15   information, is punishable by imprisonment. Do
      16   an affidavit should be provided indicating that        16   you understand that?
      17   that person has information about the deposition       17       A. Yes.
      18   topics set out in Exhibit Number One.                  18       Q. Okay. Sir, in front of you are a couple
      19                EXAMINATION                               19   of documents. And you'll notice that there are
      20   BY DINOM. TANGREDI:                                    20   stickers on the front.
      21      Q. Sir, could you tell us your name.                21       A. Uh-huh.
      22      A. Cecil Gregory.                                   22       Q. One is called Exhibit One and one is
      23      Q. Mr. Gregory, have you ever given a               23   called Exhibit Two. Okay?
      24   deposition before?                                     24       A. Yes.
      25      A. Yes.                                             25       Q. And that's how we're going to refer to




•      1
       2
       3
       4
                                                 Page 11
                Q. Okay. So you might remember some ofthe
           helpful rules to make it work better. The woman
           on your right is taking down everything that is
           said in this room. So any ofyour responses I
                                                                   1
                                                                   2
                                                                   3
                                                                   4
                                                                           A. Yes.
                                                                                                             Page 13
                                                                       documents as we go through this deposition. All
                                                                       right?

                                                                           Q. Now, Exhibit Number One, could I ask you
       5   would ask should be oral, spoken, so that she can       5   to take a look at that?
       6   hear you and then record it properly. Okay?             6       A. Okay.
       7        A. Yes.                                            7       Q. And have you seen that before?
       8        Q. IfI ask you a question and you answer           8       A. Yes.
       9   it, I'm going to presnme you understood my              9       Q. Okay. And it's multiple pages. Have-­
      10   question; is that fair?                                10   have you been through it all? And please feel
      11        A. Yes.                                           11   free to look at it to make sure you have.
      12        Q. If you don't understand a question -­          12       A. It looks about like what I went through.
      13   it's probably my fault -- will you let me know?        13   Yes.
     14         A. Yes.                                           14       Q. Okay. Now, there are 39 topics listed
     15         Q. Thank you. And, lastly, I don't want           15   that we're going to discuss today. And it may
     16    this to be physically painful for you in any way.      16   have subparts, but there are 39 listed. Have you
     17    So iffor some reason you need to take a break,         17   been over a1l39?
     18    you want to go to the men's room, you need a           18       A. Well, I've looked through them. Yes.
     19    cigarette, you have a bad back and you need to         19       Q. And are you the person able to give the
     20    stretch, tell me.                                      20   testimony on behalf of Gregory Trucking on all of
     21        A. All right.                                      21   those topics?
     22         Q. I don't want you to suffer. That's not         22       A. Yes.
     23    the -- our intention. Okay?                            23       Q. Okay. Were there any topics in this




•    24
     25
               A. Okay. That's fine.




    336-510-8515
                Q. Wonderful. Now, I just want to put this


                                             Wyatt
                                                                  24
                                                                  25
                                                                       document, Exhibit Nnmber I, that you weren't ­
                                                                       that you aren't able to give testimony about today


                                                                services, LLC
                                                                                                   hdwyatt@gmail.com
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                                                  Page 14                                                  Page 16
       1    on behalf of Gregory Trucking?                       1   statements?
       2        A. Do I want to ­                                2       A. No.
       3        Q. Are there any that you can't give             3       Q. Have you seen any ofthe photographs of
       4    testimony about today?                               4   the crash scene?
       5        A. I don't think ­ now, you know,l'D             5       A. Yeab, I seen some pictures. Yes.
       6    have to say when we get to that one particular       6       Q. Okay. Have you seen any ofthe medical
       7    one, if I have a problem, I'D teD you.               7   records ofthe deceased, Mr. Forbes?
       8        Q. Well, I appreciate that. And -- and rm        8       A. I just knew tbat be bad some
       9    sure you will. But I kind ofneed to know that        9   complications from tbat accident, yes. You know,
      10    ahead oftime.                                       10   as far as tbe details ofit, 1 really don't know.
      11        A. Okay.                                        11       Q. And -- and by complications, we -- we
      12'       Q. All right. Are there any that you've         12   mean death?
      13    gone over that you don't think you can address?     13       A. Yes, you know. But wben it first
      14        A. I will address them for you. Yes.            14   bappened, they said it was ­ his leg needed
      15        Q. Okay. Very good. What have you done to       15   surgery or something. And then -- tben the next
      16    prepare for you deposition today?                   16   day or ­ or day after that be bad passed away.
      17        A. Well, I just ­ you know, I've tried to       17       Q. Did you see the autopsy report and the
      18    read this. And, you know, I'm familiar with         18   cause ofdeath in any ofthe documents you looked
      19    what's happened and what's going on, so ­           19   at?
      20       Q. Okay. Did you meet with your                  20       A. No.
      21    attorney -­                                         21       Q. Okay. Could you tell us the position
      22       A. Did I meet­                                   22   you hold with Gregory Trucking.
      23       Q. -- to prepare?                                23       A. President.
      24       A. Yes. 1­                                       24       Q. I'm sorry. President?
      25       Q. Okay. And that's Attorney O'Connor?           25      A. Yes•



•      1
       2
       3
       4
               A. Yes.

            O'Connor in person?
                A. Monday.
                                                  Page 15

                Q. When's the first time you met Attorney
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                     "president."
                                                                         A. President.
                                                                         Q. I'm going to get your accent.
                                                                                                           Page 17
                                                                         Q. I didn't know ifyou said "present" or




       5        Q. Monday. This past Monday?                     5       A. Okay.
       6        A. Yes.                                          6       Q. I'll pick it up eventually. So let's
       7        Q. Today being Wednesday?                        7   talk a little bit about the business ofGregory
       8        A. Yes.                                          8   Trucking Company. Is Gregory Trucking Company a
      9         Q. Okay. Did you go over any documents           9   -- a for-profit North Carolina corporation?
     10     besides Exhibit One in front ofyou?                 10       A. Well, I wish it was a profit one, yes.
     11         A. Well, we went over several ­                 11       Q. Okay. I didn't ask if it was making
     12         Q. Excellent.                                   12   profit.
     13         A. - different documents. Yes.                  13       A. Okay. Yes.
     14         Q. Okay. So, for example, do you know if        14       Q. Okay. But it is a for-profit North
     15     you saw the police report about the crash that      15   Carolina corporation?
     16     happened up in Dalton, Mass.?                       16       A. Yes.
     17         A. I don't - I have not seen the -- tbe         17       Q. Okay. What is the nature, in -- in very
     18     police report, no.                                  18   general terms, ofGregory Trucking's business?
     19         Q. Have you seen any ofthe witness              19       A. Well, we freigbt lumber. And then­
     20     statements? The people who saw the crash and came   20   well, to start with, you know, we start - bad
     21     forward.                                            21   trucks under G&G Lumber when we first started in
     22         A. Well, 1- [- I heard, you know,               22   '73. And tben we got a little bit concerned about
     23     through different conversations of it, yes,         23   as the business growed we migbt ought to separate




•    24     about­                                              24   our trucks from the lumber company. So we got
     25         Q. Okay. But you haven't seen the               25   with our accountant and his - got an attorney and


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                                                                                   6 (Pages 18 to 21)



•
                                                      Page 18                                                 Page 20
       1   we separated them. And during that process, they      1   that particular time.
       2   came up with Gregory Leasing for that separation.     2      Q. Okay.
       3   And so it's proeeeded since then, you know. And       3      A. But you could say probably between ­
       4   tbe drivers is just been passed on down tbe line      4   some of them around 100,000 and some ofthem
       5   from there, you know.                                 5   150,000 miles per year.
       6      Q. Okay. So fair to say the nature of              6      Q. Okay. Is it fair to say somewhere in
       7   Gregory Trucking, the business, is motor              7   the neighborhood of a million miles a year, give
       B   carrier -­                                            8   or take?
       9      A. Yeah.                                           9      A. Well, possibly if( had ten trucks ­ or
      10      Q.  -- trucking -­                                10   eight to 10. You know, I'd bave to look and see.
      11      A.  Motor carrier, yes.                           11   But, yes, we ­ I mean, it's ­ could be that.
      12      Q.  Okay.                                         12      Q. Okay. Howaboutin2017,doyouknow
      13      A.  Flatbed, yes.                                 13   how many miles your trucks drove, approximately?
      14      Q. And a couple of times you said "we."           14      A. (mean, that's -- well, right now (
      15   Who are you referring to when you -­                 15   think they're running better than 10,000, so it
      16      A. Cecil. Tbat's just the nature of               16   could be like a million two or something, you
      17   speech, ( guess.                                     17   know.
      IB      Q. Okay. And how many locations does              18      Q. Approximately?
     19    Gregory Trucking Company, Incorporated, have?        19      A. Approximately.
     20       A. One.                                           20      Q. I understand. Could you explain to the
     21       Q. And where is that?                             21   jury what a tractor in the trucking business is?
     22       A. 147 Lumber Drive, Union Grove­                 22      A. Well, it's the unit tbat's got the­
     23       Q. Excellent.                                     23   that - you know, it's the power unit. It's the
     24       A. -- or, no, it would be Harmony, (guess,        24   truck. It's got the motor and all this in it.
     25                                                         25




•
           tbe pbysical address.                                     And it's ­ it's wbat does the pulling and all.


                                                      Page 19                                                 Page 21
       1      Q. Okay. Does Gregory Trucking deliver all         1      Q. Okay. Did Gregory Trucking own any
       2   across the United States?                             2   tractors in 2016?
       3      A. No.                                             3      A. Did Gregory Trucking, no.
       4      Q. What is its geographic area?                    4      Q. Okay. Howaboutin2017?
       5      A. Most ­ Florida to Maine. And then we            5      A. No. It's - Gregory Trucking has never
       6   go as ­ east. We don't go near tbe Mississippi        6   owned them. Never.
       7   in otber - just up and down the east coast.           7       Q. Never owned a tractor?
       B      Q. Okay. Anything into Canada?                     8       A. Never owned a - the tractors. No, sir.
      9       A. No.                                             9       Q. Okay.
     10       Q. Anything into Mexico?                          10       A. That would be Gregory Leasing.
     11       A. No.                                            11       Q. Got it. Did Gregory Trucking own any
     12       Q. Do you know how many overall                   12   trailers in 2016?
     13    transportation miles that Gregory Trucking drove     13       A. No.
     14    in2016?                                              14       Q. Okay. How about 2017?
     15       A. No. I mean, I could take a guess versus        15       A. No.
     16    on the trucks. But, you know, I do try to keep up    16       Q. Has it ever - has Gregory Trucking ever
     17    with look just to try to keep up witb the ­ if       17   owned a trailer?
     18    they're averaging good diesel mile per gaUon, you    18       A. No.
     19    know, how many miles and all, but -- you know.       19       Q. Okay. How many drivers of tractor­
     20    And I know about what they should run and aU.        20   trailer trucks did Gregory employ in 2016?
     21    But I couldn't give you a specific number, no.       21     A. I'd have to look and see. I mean, it's
     22       Q. Okay. Can you give me an approximate           22   over bere. If it's in here.
     23    number oftotal miles in two ­                        23      Q. I can suggest that-­




•    24      A. I'd have to know bow many trucks. And I         24      A. Hub?
     25    couldn't teU you how many trucks I was running at    25      Q.    I can suggest the answer is not going


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•
                                                 Page 22                                                    Page 24
       1   to be in that document -­                               1   did any of this.
       2      A. Well, I mean, 1­                                  2       Q. Well, as the -- as the person being
       3      Q. -- but you're free to look.                       3   presented on behalf of Gregory Trucking -­
       4      A. --I'd have to tbink to know how many I            4       A. Yes.
      5    had. Probably six or eight in that year.                5       Q. -- it isn't just your personal
      6       Q. In2016?                                           6   information that I can ask you about. Are you
      7       A. Yes.                                              7   saying you've never seen anything like Document
      8       Q. And I think I asked the question how              8   Number 3 before?
      9    many drivers did Gregory have. And I know there         9       A. No. I've seen these. But - but tbis
     10    are several Gregory -- there's Gregory Leasing and     10   - so this is Linda Stroud in here now. And it -­
     11    there's Gregory Trucking. So I want to make sure       11   it says it's for a bire, so it - it's the
     12    I say-­                                                12   application, I guess, that they keep in their
     13       A. Okay.                                            13   truck.
     14       Q. Gregory Trucking -­                              14       Q. SO up at the top where it says "motor
     15       A. Okay.                                            15   carrier identification report" ­
     16       Q. -- so as not to confuse you or me or             16       A. Yeah.
     17    anyone else. So in 2016, do you know how many          17       Q. -- and in parentheses "application for
     18    tractor-trailer truck drivers Gregory Trucking         18   U.S." -­
     19    employed?                                              19       A. "DOT number."
     20       A. Well, I mean, probably it could be six,          20       Q. -- "002"-­
     21    and then six months later it could have been eight     21       A. Yes.
     22    or something, you know, at that particular time.       22       Q. -- "OOT number." So is -- is this an
     23       Q. Okay.                                            23   application filed by Gregory Trucking -­
     24       A. It's - it's - we've growed one or two            24       A. Yes.
     25    since then I tbink.                                    25       Q. -- for a DOT number?



•      1
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       4
           drivers did Gregory Trucking employ?
               A. Probably seven or eight.
                                                 Page 23
               Q. The same question for 2017, how many


               Q. Okay. Sir, we're going to hand you
                                                                   1
                                                                   2
                                                                   3
                                                                   4
                                                                           A. Yes.
                                                                                                            Page 25


                                                                           Q. Okay. So you see Block Nmnher I at the
                                                                       top? High -- I highlighted it in yellow to help
                                                                       you. At the top.
       5   what's been marked as Document Exhibit Number           5       A. Yes. Gregory Trucking Company.
       6   Three. Could you take a look at that and let me         6       Q. Name of motor carrier. It says -­
      7    know when you're done looking at it. And it's           7       A. Yes.
      8    just the front side. I don't need you to look at        8       Q. -- Gregory Trucking Company. And Box
      9    the back. I'm sorry. You're looking at the              9   Number 21; do you see that box?
     10    proper side.                                           10       A. Yes.
     11               (DEPOSITION EXHffiIT                        11       Q. And it asks for carrier mileage for the
     12               NUMBER THREE WAS MARKED                     12   year 2017.
     13               FOR IDENTIFICATION)                         13       A. Okay.
     14        A. Okay.                                           14       Q. And how many miles does it say the
     15        Q. Do you recognize that document?                 15   carrier drove in 2017?
     16        A. No. I mean, I don't know which one this         16       A. I don't know if that's -- what is that?
     17    is for. Okay.                                          17   Is that ninety -- 938,940? Yes.
     18        Q. What is Exhibit Number Three?                   18       Q. 938,940 miles?
     19        A. Okay.                                           19       A. Okay.
     20        Q. What is it?                                     20       Q. Would -- would that be approximately how
     21        A. It's a motor carrier identification             21   many miles -­
     22    report.                                                22       A. Yes.
     23        Q. Okay. And is it an application to get a         23       Q. Okay. And in Box Number 20 there's an



•
     24    Department ofTransportation number?                    24   email address. Could you read that?
     25        A. I don't know. You know what? I never            25       A. Gandgforest -- let's see.


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                                                                                   8 (Pages 26 to 29)



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                                                 Page 26                                                   Page 28
       1   GandgforestProducts.com.                              1       A. Yes.
       2       Q. Linda-­                                        2      Q.    Over -- a little more than halfway over
       3       A. Linda­                                         3   it asks the total drivers.
       4      Q. -at-­                                           4       A. Yes.
       5       A. Linda@gandg, yes.                              5       Q. And it says nine, correct?
       6      Q. Okay. Who is Linda?                             6       A. Yes.
       7       A. She's the lady in the office.                  7       Q. All right. And this application at the
       8      Q. Okay. And ifwe look down at Box 26; do          8   bottom, the date it was filed -- or the date on
       9   you see that one?                                     9   the application is September 24th, 2018, correct?
      10       A. 26. 26. Yes.                                  10       A. Yes.
      11      Q. It says the number of vehicles that can        11       Q. Okay. Do you have to reapply for a DOT
      12   be operated in the U.S. at the top.                  12   number every year at Gregory Trucking?
      13      A. Yes.                                           13       A. No. I think we keep the same number.
      14      Q. And it asks how many are owned?                14       Q. Okay. Do you have to reapply every
      15      A. Okay.                                          15   year?
      16      Q. And the number one appears in straight         16       A. No.
      17   truck -- under straight trucks, correct?             17       Q. Okay. Do you know why this application
      18      A. Yes. That's the small one for us.              18   was filled out in September of2018?
      19      Q. And then in the second box, truck              19       A. No.
      20   tractors, it says 1 L                                20       Q. Did you have a DOT number before
      21      A. Yes.                                           21   September oftwo thousand -­
      22      Q. SO this seems to indicate that there are       22       A. Yes. We've had DOT numbers since day
      23   11 truck tractors owned by Gregory Trucking.         23   one, I guess.
      24      A. Yes.                                           24       Q. And it hasn't been the same number?
      25      Q. Did I read that right?                         25




•
                                                                         A. I don't know if it's the same number or


                                                 Page 27                                                   Page 29
       1      A. Yes.                                            1   not.
       2      Q. Is that actoaIly true?                          2       Q. Okay. Mr. Gregory, I'm going to ask you
       3      A. Yes. That would be how many. But, you           3   to look at the document we're calling Exhibit
       4   know, most of the time we've got some sitting         4   Number Four. And you'Ulet me know when you're
       5   because we don't have drivers.                        5   done looking at that, please.
       6      Q. Okay. So I want to -- I want to make            6             (DEPOSITION EXHIBIT
       7   sure we're clear because I'm a little confused.       7             NUMBER FOUR WAS MARKED
       8   Are these truck tractors owned by Gregory Trucking    8             FOR IDENTIFICATION)
       9   or owned by Gregory Leasing?                          9       A. Okay.
      10      A. Gregory Leasing.                               10       Q. Do you recognize that document?
      11      Q. Okay. But this form is for Gregory             11       A. Well, I know wbat it is. Yes.
      12   Trucking, right?                                     12       Q. What is it?
      13      A. Yes.                                           13       A. It's got different places we haul and
      14      Q. Okay. So it indicates that Gregory             14   different customers' names.
     15    Trucking owns II truck tractors, but that's          15       Q. Okay. And do you recognize the
     16    incorrect?                                           16   handwriting?
     17       A. Tbat is incorrect, yes. It's by Gregory        17       A. It looks like Martba. I don't -- I
     18    Leasing.                                             18   couldn't tell you reany.
     19       Q. Okay.                                          19       Q. Okay. But it's not yours, is it?
     20       A. I - I couldn't tell you how that's like        20      A. No, it's not mine.
     21    that.                                                21       Q. Now, is this some kind of a -- an
     22       Q. Well, that-­                                   22   accounting record?
     23       A. Okay.                                          23      A. Well, this -- tbis is the loads -- I




•    24       Q. You explained it earlier. Okay. Now,           24   would say this is the loads that Gregory Trucking
     25    in Box 27; do you see that box?                      25   moved. I don't know iftbat - well, it says in


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                                                                                    9 (Pages 30 to 33)



•
                                                   Page 30                                                         Page 32
       1    August 2'16. And that was the pay rate on each      1   backhauIs or if we freight for other people.
       2    side.                                               2     Q. This is only for B&C?
       3       Q. Okay. So, for example, up -- up at the        3      A. This is only for B&C. We ­ we don't do
       4    top­                                                4   a hundred percent for them.
       5       A. Yes.                                          5      Q. Okay. There might be another one of
       6       Q. -- the top one, does it say Hagerstown,       6   these for somebody else you haul for?
       7    Maryland?                                           7      A. Well, you know, anywhere we go, we try
       8       A. Hagerstown, Maryland, yes.                    8   to pick up something coming back. Yes. And that
       9       Q. And there's a number to the left of it.       9   would be different from this because it's not ­
      10    Does it say 1,100?                                 10   B&C would not be paying for it. And - so yes.
      11       A. I thought it said '16, but­                  11     Q. Okay. So how many other companies do
      12       Q. Okay.                                        12   you transport goods for? And let's say back in
      13       A. - you know, I may not be right.              13   2016, and let's say August, if you know.
      14       Q. SO the -- the-­                              14     A. Gosh. Well, I know that like in
      15       A. We pulled two up there that month.           15   Davisville, she would have probably brought back
      16       Q. Okay. So the first number in the left­       16   - used cross-eyes for Universal Forest delivering
      17    hand column is the amount charged?                 17   to different Home Depots or Lowe's or places like
      18       A. Yes.                                         18   that. Most of the time that's what we do up in
      19       Q. And the next item is the destination         19   there. Very seldom we get some hard ­ if we go
      20    hauled to?                                         20   to -like, if we go up to Hagerstown, we'll run
      21       A. Yeah. That would be '16 because it says      21   up the road there and pick up ­ or most of the
      22    "two."                                             22   time maybe White Plains, Maryland, pick up over at
      23       Q. Okay.                                        23   BY Lumber and come back to Maiden or somewhere. I
      24       A. And then - yeah. Gfl ahead. I'm sorry.       24   mean, we try to pick up something to help on the




•
      25       Q. That's all right. And then on the right      25   freight charges, you know? I mean, they're to pay


                                                  Page 31                                                        Page 33
       1    side ofthe entty it'll indicate how many trips      1   for the truck and a1L If you just go and come
       2    were made to that destination?                      2   back, you're baeking up most of the time.
       3       A. Yes.                                          3     Q. An empty truck.
       4       Q. Okay. And this is for August of2016,          4      A. Don't do nothing.
       5    correct?                                            5      Q. Don't want -- don't want an empty truck.
       6       A. Yes.                                          6   I get it. On Exhibit Number Four, at the bottom
       7       Q. Okay. Now, can you see on this document       7   right comer there's a figure of $94,700. Is that
       8    where Gregory Trucking made it -- any trips to a    8   the figure that this Exhibit Number Four adds up
       9    BB&S? And if! could suggest, maybe six lines-­      9   to?
      10        A. Davisville, Rhode Island.                   10      A. Yes. That was what would have been
      11        Q. Very good. And it seems to indicate         11   charged to B&C or G&G Forest should owe for that
      12    there were three trips made to Davisville, Rhode   12   month's freight bIDs. Yes.
      13    Island; is that right?                             13     Q. And - and, rm sorry, is there another
      14       A. Yes.                                         14   document that includes a record like Exhibit Four
      15       Q. And there was a charge of $7,200,            15   for other companies that you deliver for?
      16    correct?                                           16      A. Yeab. I mean, there would be ­ a bID
      17       A. Let's see - where -- I can't - $7,200,       17   oflading of some type, yes. And then where we
      18    yes.                                               18   invoiced for the ­ the freight on it, you know.
      19       Q. Okay. So -- so this is how you keep          19      Q. Okay. Would there be a handwritten
      20    track -- how Gregory Trucking keeps track -­       20   document, like Exhibit Number Four, for other
      21       A. Yes.                                         21   companies besides ­
      22       Q. -- ofloads it delivers and money -­          22      A. Well, I mean, yes, there would be
      23       A. Yeah.                                        23   something written down there. But, you know, they




•     24
      25
               Q. -- it's owed?
               A. Uh-huh. For B&C. It doesn't reflect



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                                                               24
                                                               25
                                                                    - this here is a month's thing for us on them.
                                                                    But we bID weekly anybody, you know. So it ­ it



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                                                 Page 34                                                   Page 36
       1   wouldn't be extensive like a month here.              1       A. But there's nothing over it that says
       2      Q. I get it.                                       2   "office." We just know it.
       3      A. You know, sometime ­ I mean, we try to          3       Q. All right Very good. Mr. Gregory, if
       4   bill as quick as we can.                              4   you'd look at -- if you'd look at document called
       5      Q. Who are the officers at Gregory                 5   Exhibit Number Five.
       6   Trucking?                                             6              (DEPOSITION EXHIBIT
       7      A. Me and my wife, Sylvia.                         7              NUMBER FIVE WAS MARKED
       8      Q. What is YOID' title?                            8              FOR IDENTIFICATION)
       9      A. The president.                                  9       A. Yes.
     10       Q. What is hers?                                  10       Q. Do you -- do you know what that is?
     11       A. I guess vice president.                        11       A. Yes. It's an invoice to BB&S ­ well,
     12       Q. Okay. Who is Martha Somers?                    12   it's - it's shipped to BB&S. We sold it to
     13       A. My sister. But she was head secretary          13   Yellow Pine. We do not deal direct with BB&S. We
     14    for G&G for 46 years, aU the way through.            14   go through a broker.
     15       Q. When it was G&G Lumber?                        15       Q. "We" being who?
     16       A. Yes. And then they went to -- there was        16       A. The lumber - B&C deals with YeUow
     17    some bad times and - and they went to B&C            17   Pine. And then they tell us at G&G, which is me
     18    Timbers.                                             18   - I mean, Gregory Trucking - and we haul this
      19      Q. Okay. Did Martha Somers ever work for          19   load to them.
      20   Gregory Trucking?                                    20       Q. Is it fair to say that Exhibit Number
     21       A. Her job, you know, was the secretary.          21   Fivc is an order from BB&S to Yellow Pine for some
     22    And she did everything for years until we got to     22   lumber?
     23    wbere we needed one or two more. And then when we    23       A. Yes.
     24    took the trucks away from G&G Lumber, they           24       Q. And is it fair to say Yellow Pine filled




•
     25    transferred over to Gregory Trucking, and she just   25   that order with B&C Timbers' ­


                                                 Page 35                                                   Page 37
       1   assumed [sic] what she was doing. But she's           1     A.   Yes.
       2   always been paid through the lumber company.          2     Q.   -lumber?
       3       Q. B&C Lumber?                                    3     A.   That's what happened.
       4       A. G&G and then B&C. Yes.                         4     Q.   And that B&C Timbers hired Gregory
       5       Q. Has she done work over the years or            5   Trucking to deliver it to BB&S up in Rhode Island?
       6   Gregory Trucking, Incorporated?                       6      A. Yes.
       7      A. Yes.                                            7       Q. Okay. And what's the date on that?
       8       Q. Okay. So she's a secretary in the              8      A. 9/14/206 ­ 2'16.
       9   office and does a little bit of work for -­           9       Q. So BB&S continued to do business with
     10        A. Yes.                                          10   B&C Timbers and Yellow Pine and Gregory Trucking
     11        Q. -- whoever might need it in the office?       11   after George Forbes was killed on August 24th,
     12       A. Vb-huh.                                        12   2016?
     13        Q. Is that fair?                                 13       A. Yes.
     14       A. Yes.                                           14            MR. O'CONNOR: Objection.
     15       Q. And I understand the office consists of        15      Q. [By Mr. Tangredi] Okay. And on Exhibit
     16    Gregory Trucking, Gregory Leasing, B S G, and B&C    16   Number Five, was that one truckload up to BB&S?
     17    Timbers; is that right?                              17      A. Yes.
     18       A. Yes. It's all separated. And it's got          18      Q. And the amount charged by Gregory
     19    the -- got their different filing and their          19   Trucking -- I'm sorry. The total amount charged
     20    different bulldings we keep the stuff in. Yes.       20   was $9,752.4O?
     21    But it is took care of inside that office.           21      A. Yes. And out ofthat would come our
     22       Q. And does that building have a name, that       22   freight charge. But we would bill - Gregory
     23    structure?                                           23   Trucking will bill B&C Timbers for that freight




•    24        A. No. It's just a building. Office.             24   bill.
     25       Q. The office.                                    25       Q. Okay. So is -- who paid -- on Exhibit


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                                                  Page 38                                                 Page 40
      1    Number Five -­                                       1   And Flattop or - I forget what his first name is
      2        A. Yes.                                          2   - he does all of ours. And he was talking to me
      3        Q. -- who paid $9,752.40?                        3   one day about be wanted to do it and be told me he
      4        A. Yellow Pine paid us. And then I do not        4   could do it for "X" and "X" and "X." And I just
      5    know what they charged BB&S, but there had to be     5   said do it. So I don't -- I couldn't tell you
      6    an upcharge, you know.                               6   anything.
      7        Q. Okay. And when you say Yellow Pines           7      Q. Did you -- did you help him with any of
      8    billed us, who would -­                              8   the information ­             oil

      9        A. Yellow Pine Trading -- that's a company       9      A. No.
     10    that B&C works with. I - Brandon, he could ­        10      Q. -- that went into it?
     11    you know, he deals with the -- Doug McGuire,        11      A. No. I'd say he talked within the office
     12    that's who­                                         12   there and got that. But he's done all of it since
     13       Q. SO Exhibit Number Five is a bill from         13   we've had a computer. He give me my first raise
     14    Yellow Pine to B&C Timbers?                         14   in 1991. It was '83 when he took it over, so I
     15        A. This looks like - no. This looks like        15   know.
     16    to the -- the - the ticket that would have been     16      Q. Okay. So have you ever been - have you
     17    - the shipping ticket                               17   ever looked G -- Gregory Trucking's Web site
     18       Q. What does that mean?                          18   before today?
     19       A. This may be a shipping ticket Then            19      A. No, I haven't.
     20    they -- in other words, B&C would have had billed   20      Q. I'm going to ask you to take a minute
     21    Yellow Pine that 9,400 - 9,752.40.                  21   and look it over.
     22       Q. SO this is a bill from B&C Timbers to         22      A. Well, I mean, it's tbe rigbt information
     23    Yellow Pine?                                        23   because we did used to run, like, 26 states. It
     24      A. It -- it - yes, I'd say that. Yes.             24   may be the same thing now, you know, as far as
                                                               25   what was put up for the career opportunities and




•
     25    You know, I don't do the billing. They give me a


                                                  Page 39                                                 Page 41
       1   ticket when the load is loaded and that's it, you    1   the different things I don't know about­
      2    know.                                                2              MR. O'CONNOR: And, Dino, I don't
      3        Q. Can you tell from Exhibit Number Five         3   know if you can - some sort of offer of proof on
      4    whether or not Gregory Trucklng was involved?        4   this. I don't know wbere it came from or what the
       5       A. No, you can't tell from this.                 5   date is. And I wouldn't know that the topic in
      6        Q. Do you know if Gregory Trucking was           6   the 30(b)(6) is Gregory Trucking's Web site on the
      7    involved in delivering -­                            7   date of the accident. So I don't know if you can
      B        A. Oh, I know we bauled it.                      8   represent wbere this comes from for tbe witness.
      9              (DEPOSITION EXHIBIT                        9      Q. [By Mr. Tangredi] So we've established
     10              NUMBER SIX WAS MARKED                     10   this is the Gregory Trucking Web site.
     11              FOR IDENTIFICATION)                       11      A. Yes.
     12        Q. Mr. Gregory, we've put Exhibit Number        12      Q. Okay. And I've asked you to look at it.
     13    Six in front of you. Could you look at that and     13      A. Yes.
     14    tell me when you're done looklng at it.             14      Q. And you've looked it over.
     15       A. Okay.                                         15      A. Yeah, Iseen it.
     16       Q. What is that?                                 16      Q. And can you -- and can you state whether
     17       A. I'd say it's a Web site for Gregory           17   or not the contents ofit is accurate as far as
     IB    Trucking.                                           18   youknow-­
     19       Q. Excellent. Is -- do you know when this        19             MR. O'CONNOR: Objection.
     20    Web site first went up -­                           20      Q. -- on behalf of Gregory Trucking?
     21       A. No.                                           21      A. Yes. Okay.
     22       Q. -- for Gregory Trucklng? Okay.                22      Q. [By Mr. Tangredi] Is there anything on
     23       A. You know, I don't know. And I don't-­         23   Exhibit Number Six, the Web site, that is not




•    24    I could tell you I probably haven't seen it. I      24   accurate?
     25    don't use a computer. I don't turn one on or off.   25      A. We don't do no team drivers. No.


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                                                  Page 42                                                     Page 44
       1     Q. Okay. Could you direct me to what                1   let me know when you're done looking at it.
       2   you're looking at?                                    2              MR. O'CONNOR: And I would just
       3      A. It says on tbe - tbe last page -­               3   make an objection to the line of questioning that
       4       Q. Yeah.                                          4   I assume is coming. Again, 'this is a Web site not
       5      A. - founded in 19 -- tbat sbould be '92           5   of Gregory Trucking. I mean, any questions you
       6   - weD, it shows '92 tbere. As read, [as read]         6   want to ask him about reviewing the document is
       7   "This company is operated with team drivers, top      7   fme. But not on the topics listed itself and
       8   of tbe line drivers" - there's no team drivers.       8   it's not the company being deposed Web site.
       9   No.                                                   9       A. WeD, it says here it started out with a
      10      Q. Okay. What's a team driver?                    10   little wood mizer. That ­ that's not right
      11      A. It would be two to a truck.                    11   Little wood mizer sawmill, that was ­ that's
      12      Q. Has Gregory Trucking ever had team             12   incorrect. That would be on the back of the
      13   drivers?                                             13   second page.
      14       A. WeD, they's - probably over the years.        14       Q. [By Mr. Tangredi] So before we get into
      15   Wben we first started going a pretty good distance   15   its contents and -- and what's in it, I just want
      16   sometimes we'd send two. But we hadn't probably      16   you to look at it and let me know when you're done
      17   in the last 30 years.                                17   looking at it because I want to ask you ifyou
      18       Q. Fair enough. So do you -- did you say         18   recognize what it is. And then we'll perhaps talk
      19   somebody named Flattop created this Web site?        19   about what's in it.
      20       A. Flattop. That ­ tbat's what his name          20       A. I would assume that this right here is a
     21    is. He does all of our computer work.                21   G&G Forest Products' Web site.
     22        Q. Okay. And do you know when Flattop did        22    Q. Okay. What is G&G Forest Products?
     23    this initially?                                      23    A. WeD, that's B&C. The same thing.
     24       A. No.                                            24       Q. It's the same as B&C Timbers LLC?
     25       Q. Know each time he ever did it?                 25       A. No. But it's B&C doing business as G&G




•      1
       2
       3
       4
                                                  Page 43
              A. I can't ­ no, I don't. He just said he
           wanted to do one. I think it's been fairly
           recent. I'm not sure.
              Q. Okay. But other than team drivers, is
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                     Forest Products.

                                                                     B&C?
                                                                                                              Page 45

                                                                        Q. Okay. They're interchangeable, G&G and


                                                                         A. Yes. They want -- we wanted to keep the
       5   everything else -­                                    5   G&G. We had to let go of the lumber company, they
       6      A. Yeab. It seems to be in order there.            6   -- because that was already G&G because we had a
       7   Yeah.                                                 7   long history. And we - we were able to pick up
       8       Q. And-­                                          8   most of our customers and everything after the
       9       A. Imean­                                         9   bankruptcy stuff.
      10      Q. -- please allow me to finish my                10     Q. And does the G&G stand for Gregory &
      11   question.                                            11   Gregory?
      12      A. All right.                                     12      A. Yes.
      13      Q. And then you can answer. I know it's           13      Q. And is that Cecil Gregory and Brandon
      14   hard. Is everything in Exhibit Six accurate,         14   Gregory?
      15   except for the team drivers?                         15     A. No.
      16      A. Yes.                                           16      Q. No.
      17      Q. And is everything in Exhibit Number Six        17     A. Cecil Gregory and Vance Gregory, my dad.
      18   accurate since 2016 to the present, except for       18      Q. What was your dad's name?
     19    team drivers?                                        19     A. Vance.
     20        A. Yes.                                          20      Q. Vance. Got it.
     21           (DEPOSITION EXlllBIT                          21      A. That started in 1973.
      22          NUMBER SEVEN WAS MARKED                       22      Q. Okay. And how about B&C Timbers, is the
      23          FOR IDENTIFICATION)                           23   "B" for Brandon and the "C" for Cecil?




•
      24     Q. Mr. Gregory, we're handing you Exhibit          24      A. No. It was for Brandon and Chester at
      25   Number Seven. Will you take a look at that and       25   that time. We was trying to get something started


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                                                    Page 46                                                     Page 48
       1   back in -- at tbat time, we was - the ­ trying       1   tractor-trailer. Okay?
       2   to get the funding to preserve what I lost in 40     2      A. Okay.
       3   years when I went out and built the big mill in      3      Q. Do you believe that transport -­
       4   Hickory, expanded and ­ and borrowed a lot of        4   transportation ofgoods by tractor-trailer can be
       5   money and -- and run out. Things just changed and    5   dangerous if it is not done carefully?
       6   I lost it. And we were trying to get ­ save part     6             MR. O'CONNOR: Objection.
       7   of the company because I've got kids and I've got    7       A. Yes. Any truck on the road if-if
       8   grandkids. And -- and Chester Godfrey -- that's      8   it's not done carefully is bad.
       9   where that name ­ name comes from - the "C."         9       Q. [By Mr. Tangredi] Who could it be bad
      10   They ­ tbey was several trying to help us. But      10   to?
     11    before anything ever happened, Salem Investment     11      A. It could be bad to the ­ the truck
     12    Partners came in out of Charlotte. And they         12   driver and bad to anybody else that's on the road.
     13    worked with my son, Brandon, in order to keep       13   But whether it be lumber, steel, dry box, or
     14    Union Grove. I lost Hickory total. And ­ and me     14   whatever, you know, yes.
     15    and my wife lost everything. We had to go out       15       Q. What could happen to people -­
     16    personally and all. But, you know, being able to    16              MR. O'CONNOR: Objection.
     17    keep the little trucking going to help us. And      17   BY MR. TANGREDI:
     18    tben we're freighting tbat for tbe lumber company   18       Q. -- if the truck driver -- tractor­
     19    up there ­ freight for that and then tbe others.    19   trailer truck driver isn't careful?
      20   But, like I say, right now we've not been able to   20              MR. O'CONNOR: Objection.
      21   keep the drivers or nothing else to do it all, so   21      A. Well, there could be accidents, yes.
      22   they are uSing that ­ some outside stuff too.       22      Q. [By Mr. Tangredi] What kind of injuries
     23    But that -- that "CIf was that. But they had done   23   could people get?
     24    registered, I think, in tbe state of North          24            MR. O'CONNOR: Objection.
                                                               25      A. Well, from a small injury to death.




•
     25    Carolina or something, so it had to be tbere.


                                                    Page 47                                                     Page 49
       1   They tried several different names, but a lot of     1      Q. [By Mr. Tangredi] And everything in
       2   tbem was gone. But we do have a good, strong         2   between, right?
       3   history. So they done the B&C doing business as      3         A. Yes.
       4   that, you know. And I'm there. And I try to do       4      Q. Okay. Do you believe that
       5   everything I can to help if he has questions or      5   transportation ofgoods by tractor-trailer can be
       6   anything. But trucking is basically what I had.      6   dangerous ifnot done safely?
       7      Q. Okay. So G&G is Gregory and Gregory for        7            MR. O'CONNOR: Objection.
       8   you and your dad?                                    8         A. Yes.
       9     A. Yes.                                            9         Q. [By Mr. Tangredi] Okay. Do you believe
     10      Q. Originally it was G&G Lumber.                  10   that transportation of goods by tractor-trailer
     11      A. Yes.                                           11   can be dangerous ifnot done competently?
     12      Q. That went bankrupt?                            12              MR. O'CONNOR: Objection.
     13      A. Yes.                                           13      A. Yes.
     14      Q. But you kept it on as G&G Forest               14      Q. [By Mr. Tangredi] Do you believe that a
     15    Products -­                                         15   motor carrier must choose a competent driver to
     16       A. No, we didn't keep it on. I'd say we          16   drive its trucks?
     17    start - it was gone. And then they stepped up       17      A. Yes.
     18    after we got the financing. And they were able to   18      Q. Do you believe a motor carrier must
     19    - Carolina Farm Credit had me. WeD, they worked     19   choose a qualified driver to drive its trucks?
     20    with my son and Salem Investment Partners to        20      A. Yes.
     21    preserve the Union Grove facilities. I mean, I      21      Q. And do you believe that a motor carrier
     22    lost it. But at least that ­ and now we do have     22   must choose a safe driver to drive its trucks?
     23    some kind of income now.                            23              MR. O'CONNOR: Objection.




•
     24       Q. Okay. I want to ask you some questions        24         A. Yes.
     25    about transportating -- transporting goods by       25         Q. [By Mr. Tangredi] True or false:


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                                                 Page 50                                                   Page 52
       1   Single tractor-trailers when fully loaded can         1   through our insurance carrier. They will know,
       2   weigh as much as 80,000 pounds?                       2   so­
       3       A. Yes. That's the gross timit that DOT or        3       Q. SO let me try the question again then.
       4   Federal regulations allow you is 80,000 pounds.       4   True or false: A motor carrier, like Gregory
       5       Q. And what happens if a truck is                 5   Trucking, should check the driving record ofa
       6   overloaded?                                           6   tractor-trailer truck driver it employs on a
       7       A. You get a ticket if you get caught.            7   yearly basis?
       8       Q. Do you know why there's an 80,000 pound        8             MR. O'CONNOR: Objection.
       9   limit?                                                9       A. Should you? Is that what the question
      10      A. WeD, they ­ evidently there was                10   was?
      11   research and aIlldnd of run through that - that      11       Q. [By Mr. Tangredi] Should.
      12   they came up with that. At one time, it was          12       A. Yes. I'll say yes to that. Yeah.
      13   72,300 in the '70s and the early '80s. And then      13       Q. How about must check it on a yearly
      14   they increased it to 80,000 sometime in there. So    14   basis?
      15   they must have thought that time and things was      15       A. WeD, must -- I don't know if you're ­
      16   better, better made, better brakes, better a lot     16   if you're having good service all the way through
      17   of things, you know.                                 17   and you know - I mean, you know, what's going on
      18       Q. Should a motor carrier entrust a              18   during that year with your drivers, you know. And
      19   tractor-trailer truck to a driver it knows or        19   -- but we have to turn them in. And our insurance
      20   should know it regularly violates Federal tmcking    20   company, I'm sure, checks them, you know, before
      21   safety regulations?                                  21   they issue us again. And they will go over it
      22      A. No.                                            22   with us, you know. Currently, we've got a ­ a
      23             MR. O'CONNOR: Objection.                   23   new company and -- and they've got their own rep
      24      Q. [By Mr. Tangredi] True or false:               24   - rep that will come out and do safety for us.
      25   Before choosing a driver to drive a tractor­




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                                                                25   And they help us in -- in all the new stuff and


                                                 Page 51                                                  Page 53
       1   trailer truck, a motor carrier should consider all    1   everything that's going out and -- and get our
       2   available safety information about the driver         2   safety record in the mode it should be in.
       3   before allowing that driver to drive a tractor­       3       Q. SO I want to distinguish between a motor
       4   trailer truck?                                        4   carrier, like Gregory Trucking ­
       5              MR. O'CONNOR: Objection.                   5       A. Yes.
       6       A. A driver does ­ true.                          6       Q. -- and Gregory Trucking's insurance
       7       Q. [By Mr. Tangredi] Why?                         7   agent Okay? So do you believe that a motor
       8       A. Well, the - I think the driver needs to        8   carrier, like Gregory Trucking, should check the
       9   be vetted, you know, and checked and his driver's     9   driving record of a tractor-trailer truck driver
     10    record checked and all. We use our insurance         10   it employs on a yearly basis?
     11    carrier, you know, to do aD ofthat. And we           11              MR. O'CONNOR: Objection. Asked
     12    don't put nobody behind the wheel that they won't    12   and answered.
      13   approve.                                             13       A. WeD, I'd say I don't know that we do
     14        Q. Okay. True or false: A motor carrier          14   that. No. I mean, we check all of our drivers
     15    should check the driving record ofa tractor­         15   out good - we can pull the records up ourself:
     16    trailer driver it employs on a regular basis?        16   And then when somebody comes in and they fill out
     17        A. Well, I guess that would mean -- true,        17   a form, and we get their health card, and we get
     18    but it depends on what the "regular" is, the time    18   their license and al1, then we send them off. But
     19    period in there, you know. But I tbink that -- go    19   we've already looked at their - their driving ­
     20    - sorry. Go ahead.                                   20   previous driving record if it's somebody - and
     21        Q. It's a fair comment. How about yearly?        21   anybody that we'll have for over a year - and
     22       A. Well, most ofthe time, you'D -- you            22   you're asking about a year - we've done checked
     23    know during that year's time what the driver's       23   be ­ and know everything before we put them in




•                                                                    there. And we know everything that's happened
     24    done. And if they get to anything outside of when    24
     25    they're in our vehicle, we're going to know it       25   during that year. But - but we'll say, yes, to


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•
                                                  Page 54                                                   Page 56
       1    the year question.                                    1       A. I don't know. Probably in the -- I
       2        Q. Do I onderstand you to say that Gregory        2   don't really know. I was busy in Catawba County
       3    Tmcking has access to somebody's driving history      3   up there in Newton. You know, one of the -- in
       4    on a computer in the office?                          4   2010, '11, '12. It was a monstrous nightmare.
       5        A. Wen, you can pull up ­ you can go in           5   And a lot ofthat goiog 00, I doo't really know
       6    there and pull my record up or anybody's record up    6   the time period.
       7    if ­ if you got their license number and their        7       Q. Did Wiley Lenue Hooks, Jr. get re-hired
       8    driver's license, yes.                                8   by Gregory Trucking in 2014?
       9        Q. Okay. How long has Gregory Tmcking             9       A. Yes. He came back to drive.
      10    been able to do that from the office on a            10       Q. Okay. Andwasthatin2014?
      11    computer?                                            11       A. I would say.
      12        A. I don't know. I honestly don't.               12       Q. Okay. And did he drive for Gregory
      13        Q. Would it be since at least 2014?              13   Tmcking for the -- in the year 2014?
      14        A. Well, I mean, rm saying that ­ that if        14       A. Well, whenever he come back, he drove
      15    you - if you've got that, you know, you - that       15   for us. I don't -­ I couldn't give you a specific
      16    information on somebody's driver's record and you    16   date when he was hired, you know. But he had
      17    can check it or either your insurance carrier can    17   driven all the way up to the accident, yes, for
      18    send it to you. You know, I - I may be ­ I'm         18   us.
      19    not saying which one is - if it's through the        19       Q. SO he was hired again sometime in 2014.
      20    insurance company, they get it, or us. But I know    20   And he remained employed with Gregory Tmcking
      21    that ifI give them my license now, they can pull     21   until the date ofthe crash-­
      22    up my history. When that came about, I do not        22       A. Yes.
      23    know.                                                23       Q. -- in Dalton, Mass. -­
      24        Q. Okay. So does Gregory Trucking check          24       A. Yeah.
                                                                 25       Q.     is that right? And was he a




•
      25    its drivers' driving histories through the


                                                  Page 55                                                  Page 57
       1    computer in its office or do they re -- does          1   full-time employee during that period oftime?
       :2   Gregory Trucking rely on its insurance carrier?       2       A. Yes. He was full-time.
       3        A. Both.                                          3       Q. And that period of time being 2014 to-­
       4        Q. Okay. When was Wiley Lenue Hooks, Jr.          4   to the date ofthe crash?
       5    first hired by Gregory Tmcking?                       5       A. [Witness nods head up and down.]
       6        A. rd say probably ­ his dad drove for us         6       Q. Okay. Did Wiley Lenue Hooks, Jr. have a
       7    for years. And then he had trucks leased through      7   specific job?
       8    us. But I know that they was both driving for us      8       A. WeD, he ­ he ­ he was a truck driver.
       9    back in the '90s some. And ­ and they may have        9   That was his main thing.
     10     been - I don't think senior was, but WHey may        10       Q. Did he have any other jobs at Gregory
     11     have been when we got down from "X" amount of        11   Tmcking?
     12     trucks to two in 2014 or 2013, whenever it was.      12       A. No. I don't know of anything he did.
      13    And we started climbing back. So -- but I do know    13       Q. SO he was strictly a truck driver?
     14     he did it. And WHey was a good driver. And he        14       A. Yes.
     15     - and he would run good.                             15       Q. At Gregory Tmcking?
     16         Q. And was Wiley Lenue Hooks, Jr. a              16       A. Yes.
     17     full-time employee at Gregory Tmcking in -- in       17       Q. Did he ever do any work for Gregory
     18     the '90s?                                            18   Leasing?
     19         A. Yes. He drove ­ when his dad was on           19       A. No. There's nothing to do with Gregory
     20     his own, then he did help him some. But he did       20   Leasing.
     21     drive for us on a permanent base, yes.               21       Q. Did he ever do any work for B&C Timbers?
     22         Q. Okay.                                         22       A. No.
     23         A. I couldn't teD you how many years.            23       Q. Could Wiley Lenue Hooks hire anybody for




•    24         Q. When did that employment of Wiley Lenue       24   Gregory Tmcking?
     25     Hooks, Jr. end?                                      25       A. No. He could recommend somebody maybe.


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                                                 Page 58                                                     Page 60
       1      Q. Could Wiley Lenue Hooks, Jr. fire               1      Q. Do you recognize that docmnent?
       2   anybody at Gregory Trucking?                          2     A. WeD, it's a ­ a ­ what the drivers, I
       3      A. No.                                             3   guess, would get for a safety program.
       4      Q. Could Wiley Lenue Hooks make his own            4      Q. Okay. Is it -- if -- and if you look at
       5   schedule at Gregory Trucking?                         5   the - the bottom ofthe pages, it's Bates-stamped
       6      A. No. I mean, we ­ some ofthem we ­ we            6   GT Fleet and then there's page nmnbers. Do you
       7   give them some choices in loads that's - that's       7   see those at the bottom?
       8   available. You know, they had a little bit of         8      A. Yes.
       9   flexibility there of where it went. Yes.              9      Q. SO I may refer to a page nmnber or you
      10      Q. Okay. Did Wiley Lenue Hooks in the             10   may want to refer to a -­
      11   period of2014 until the date ofthe crash, did he     11      A. Okay.
     12    have the ability to bind Gregory Trucking to a       12      Q. -- page nmnber. And that'll help us all
     13    contract?                                            13   understand where we're at. So is it fair to say
     14       A. No.                                            14   that this is Gregory Trucking, Incorporated's
     15       Q. Could he sign contracts?                       15   Fleet Safety Program?
     16       A. No. He signed the tickets when he'd get        16      A. Yes.
     17    his load. All the drivers have to do that, that      17      Q. Okay. And was this policy in effect
     18    they have received that load and then they'll know   18   while Wiley Lenue Hooks was driving between 2014
     19    their destination.                                   19   up until the date ofthe crash?
     20       Q. Could he bind the company to a financial       20      A. Yes.
     21    commitment?                                          21      Q. Does it still apply today?
     22       A. No.                                            22      A. Yes. I mean, we ­ we've got the safety
     23              MR. O'CONNOR: Objection.                   23   program and a manual. Yes.
     24       Q. [By Mr. Tangredi] Okay. Could he spend         24      Q. Good. So could you look at Page Nmnber
     25    company fimds?                                       25   1,000?




•      1
       2
       3
       4
               A. No.
               Q. Okay.
                                                 Page 59



               A. Now, they do have fuel cards and
           breakdown cards if they've got something out on
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                       A. Okay.
                                                                                                             Page 61


                                                                       Q. And it just starts at 1,000. It doesn't
                                                                     mean there are a thousand - 999 pages before it.
                                                                     We just numbered it-­
       5   the road, you know. Or they call in if they're        5       A. Okay.
       6   having some problems.                                 6       Q. -- starting with 1,000. Will you look
       7       Q. Okay. We're just going to mark that as         7   at that? Do you see where it says "Scope"?
       8   Exhibit Number Eight.                                 8       A. Yes.
       9             (DEPOSITION EXHIBIT                         9       Q. Could you read the first sentence under
      10            NUMBER EIGHT WAS MARKED                     10   "Scope"?
      11            FOR IDENTIFICATION)                         11       A. [As read] "The objective of this program
      12       Q. Mr. Gregory, but you don't have to look       12   is to strive to reduce or eliminate motor vehicle
      13   at it. We're going to skip that for now and we're    13   accidents and associated injuries by following the
      14   going to go to the next one.                         14   safety practices established in this program.
      15            COURT REPORTER: This one has                15   This program is integrated into our company's
      16   writing on it.                                       16   written safety and health programs, collaborative
      17            MR. TANGREDI: Oh. Thank you.                17   efforts that include aU employees."
      18            (DEPOSITION EXHIBIT                         18       Q. Thank you. Is this fleet safety program
      19            NUMBER NINE WAS MARKED                      19   a mandatory program for drivers?
      20            FOR IDENTIFICATION)                         20       A. WeU, I mean, I'd say there's probably
      21       Q. SO, Mr. Gregory, fd like you to look at       21   several you could get out there or whatever, but
      22   what's been marked as Exhibit Number Nine for me.    22   this is one that we choose.
      23   And let me know after you've had a chance to look    23       Q. Okay. Could you read the first sentence




•     24   through it.                                          24   ofthe next paragraph for us?
      25       A. Okay.                                         25       A. [As read) "Compliance with this program


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•
                                                          Page 62                                              Page 64
      1    is mandatory for all company commercial drivers."         1   application for employment Number Two, copy of
      2       Q. SO is it fair to say that this policy is            2   driver's license. Number Three, hire date. Four,
      3    mandatory for all the drivers of Gregory Trucking?        3   inquiry ofprevious employers in the past three
      4       A. Yes.                                                4   years. The next one, inquiry to state agencies.
       5      Q. All right. It's not an optional policy,             5   Medical examiner's certificate. Number Seven,
       6   is it?                                                    6   driver's road test examination results. Number
       7      A. No.                                                 7   Eight, certificate of road test. And, nine,
       B      Q. All right. Can we go to Page 1,002?                 8   annual MVR and review ofdriving record. Did I
       9      A. Okay.                                               9   read that
     10       Q. Do you sec where it says "Hiring                   10     A. Yes.
     11    Process" at the top?                                     11     Q.      accurately? And it continues on to
     12       A. Yes.                                               12   106, I'm sorry. There's two more. Number Ten,
     13       Q. Could I ask you to read just the first             13   annual driver's certificate ofviolations. And
     14    sentence out loud, please.                               14   the last one, annual review of driving record
     15       A. [As read] "Gregory Trucking,                       15   Did I read those accurately?
     16    Incorporated employment hiring process is designed       16       A. Yes.
     17    to ensure that the safest individual is hired to         17       Q. Okay. Now, as part of this lawsuit I've
     18    operate a motor vehicle."                                18   requested that Gregory Trucking provide me with a
     19       Q. Thank you.                                         19   copy ofthe driver's qualification file for Wiley
     20             MR. O'CONNOR: And in addition to                20   Lenue Hooks. Are you aware ofthat?
     21    the Bates-stamping, the highlighting is -- is your       21       A. No. I mean, I don't know what you asked
     22    doing on the exhibit, correct?                           22   for as far as with him. No.
     23             MR. TANGREDI: ToassistMr.                       23       Q. In preparing for your deposition today
     24    Gregory as to where we are referring.                    24   as the representative of Gregory Trucking, are you
                                                                         aware that I had asked for a copy ofthe driver's



•
     25             MR. O'CONNOR: Just for the record               25


                                                          Page 63                                              Page 65
       1             MR. TANGREDI: Yeah.                             1   qualification file?
       2       Q. [By Mr. Tangredi] Let's talk a little              2       A. Well, I read through most of these
       3   bit about the Gregory Trucking hiring process. Do         3   papers, you know. I'm not ­ I don't know what
       4   you know what a driver qualifications file is?            4   all you've got there.
       5       A. I know -- yes, I know what the                     5       Q. Well, let's take a look. So Exhibit
       6   qualifications for drivers are. Yes.                      6   Number lOis being placed in front ofyou. And
       7       Q. Okay. Let me ask you to look at Exhibit            7   this is Gregory Trucking's initial response to
      8    Number Nine that's in front ofyou, Page 1,005, if         8   plaintiffs request for certain documents. Do you
      9    you would.                                                9   see that on the front page?
     10       A. And I'm ­ oh, 1,005. Okay.                         10              (DEPOSITION EXHIBIT
     11        Q. And down near the bottom it talks about           11              NUMBER TEN WAS MARKED
     12    qualification files -­                                   12              FOR IDENTIFICATION)
     13        A. Yes.                                              13       A. Yes.
     14        Q. -- do you see that?                               14       Q. And Request Number 106 asks for the
     15        A. Yes.                                              15   dryer's -- driver's qualification file of Wiley
     16        Q. And do you see the last sentence? It              16   Lenue Hooks, Jr. since 2014, as required by 49 CFR
     17    says, [as read) "The following information is            17   Section 391.51(a}. Do you see that on the front
     18    required for each driver. "                              18   page ofExhibit Ten, Number 106?
     19       A. Vh-huh.                                            19       A. Okay. Yes.
     20        Q. Does it say that?                                 20       Q. Okay. And the response was to see
     21       A. Yes.                                               21   documents attached as Exhibit One. Do you see
     22        Q. Okay. And it lists nine items; is that            22   that?
     23    correct?                                                 23       A. Yes.




•    24
     25
              A. Yes.
               Q. And I'll read them. Number One, driver



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                                                                    24
                                                                    25



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                                                                             Q. All right. And do you see Exhibit One
                                                                         is attached to Exhibit Number Ten. Do you see



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•
                                                      Page 66                                                   Page 68
       1    that?                                                1      A. No.
       2        A. Yes.                                          2      Q. -- in the documents that were produced?
       3        Q. Okay. And do you see at the bottom we         3   No?
       4    have Bates-stamped them with numbers that start      4      A. No.
       5    with GT DQ Page 1,000 -­                             5      Q. Item Number Three asks for the hiring
       6        A. Yes.                                          6   date to be in the driver's qualification file. Do
       7        Q. -- through 1,031. Do you see that?            7   you see anything that indicates the hiring date of
       8        A. Yes.                                          8   Wiley Lenue Hooks in Exhibit Number Ten?
       9        Q. Okay. So this would be what Gregory           9      A. Well, I mean, I'd say they -- you know,
      10    Trucking has produced as the driver's               10   they've got a date there when we hired him back,
      11    qualification file; is that correct?                11   whatever his first week of his paycheck, you know.
      12        A. Yes.                                         12      Q. Could you point out the document that -­
      13        Q. And did Gregory Trucking include             13   that shows that?
      14    everything that it had regarding the driver's       14      A. No, I cannot.
      15    qualification file ofWiley Lenue Hooks, Jr.?        15      Q. Does it exist?
      16        A. I would say if they bad anything, it's       16            MR. O'CONNOR: Objection.
      17    here. Yes.                                          17      A. Well, I'm sure there's one. I mean, I'm
      18        Q. All right. So going back through             18   sure there's a -- a date that he was hired back.
      19    Exhibit Number Nine, Page 1,005 -- and Exhibit      19   Yes.
      20    Number Nine is -­                                   20      Q. [By Mr. Tangredi] But can you find it
      21        A. Yes.                                         21   anywhere in what's been presented by Gregory -­
      22        Q. -- once again, Gregory Trucking's Fleet      22      A. Well-­
      23    Safety Program. And Page 1,005 talks about the      23      Q. -- Trucking to be the driver's -­
      24    qualification files. And it says, [as read] "The    24      A. - no, I can't. I can't see it. No.
      25    following information is required for each          25   But I'm sure I can get you a date.




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              A. Yes.
              Q. Okay. So the items that should be -­
                                                      Page 67
           driver." And it listed 11 items, correct, that we
           went over?
                                                                 1
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                                                                 3
                                                                 4
                                                                     anywhere?

                                                                     No.
                                                                        A. Well, I don't know. I don't see one.
                                                                                                                Page 69
                                                                        Q. Is it in the document Exhibit Number Ten




       5   that are required to be in the Gregory Trucking       5     Q. Okay. Let's go back to the driver
       6   qualification file of Mr. Hooks, there should be,     6   qualification file requirements in Exhibit Nine,
       7   number one, a driver application for employment,      7   Item Number Five I'm sorry -- Four. [As read]
       8   correct?                                              8   "Inquiry to previous employers in the past three
      9       A. Yes.                                            9   years." Can you show us in the driver's
     10       Q. Do you see in Exhibit Number Ten               10   qualification file, Exhibit Nine, where that is?
     11    anywhere the driver application for employment of    11     A. No. But he had been driving for his
     12    Mr. Wiley Lenue Hooks?                               12   daddy­
     13       A. Now, you're talking about where you fill       13     Q. Okay.
     14    out an application?                                  14      A. - for those years.
     15      Q. Well, the Gregory Trucking Fleet Safety         15      Q. SO there's no inquiry to his previous
     16    Program, under qualification file, says, [as read]   16   employers for the past three years?
     17    "The following infonnation is required for each      17      A. Well, I mean, you know, his -- his
     18    driver. Number one, driver application for           18   daddy, I think, came over there with him and asked
     19    employment"                                          19   us to hire him back because he was shutting down.
     20       A. Well, when he came back, I would say           20   His health was bad. And he's deceased now.
     21    that, you know, I had hired him previously. And      21      Q. SO ifyou look at the Gregory Trucking
     22    then we had checked his driver's record, so he was   22   Fleet Safety Policy on Page 1,005, at the bottom,
     23    eligible to drive. And so he was hired back.         23   it says the following information is required for




•
     24       Q. SO do you see his driver's application         24   each driver. Is it optional to have this?
     25    for employment anywhere -­                           25       A. Well, it -- no.


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                                                                                19 (Pages 70 to 73)



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                                                  Page 70                                                 Page 72
       1     Q. It's required?                                   1       A. No. But he has had that -- has been
       2       A. Yes. I mean - but, I guess, since              2   rode with, yes.
       3   Wiley had already been working with us, you know,     3       Q. SO let's -- let's just back up and -­
       4   he - he wasn't considered a new employee, I mean,     4   and take it one step at a time. On Page 1,005 -­
       5   tome.                                                 5       A. Yes.
       6       Q. But it doesn't say new employees. It           6       Q. -- do you see where Gregory Trucking's
       7   says, [as read] "The following information is         7   Fleet Safety Policy requires a driver's road test
       8   required for each driver." Right?                     8   examination result?
       9       A. Yes.                                           9       A. I do not see that in this file.
      10              MR. O'CONNOR: Objection.                  10       Q. Do you see it on Page 1,005?
      11       Q. [By Mr. Tangredi] All right. So we're         11       A. I see that.
     12    talking about an inquiry to the previous employers   12       Q. Okay.
     13    in the past three years, correct?                    l3       A. Yes.
     14        A. Yes.                                          14       Q. SO now let's go to the driver's
     15        Q. And-­                                         15   qualification file. Is the driver's road test
     16        A. That would be ­                               16   examination result in the driver qualification
     17        Q. -- Mr. Hooks had not worked for Gregory       17   file that's been provided by Gregory Trucking?
     18    Trucking -­                                          18       A. No. Like I said, he had driven for us
     19        A. He had not.                                   19   prior and we knew his qualifications.
     20        Q. -- for many, many years, correct?             20       Q. But we're not talking about
     21        A. No. He was working for Wiley Hooks            21   qualifications. Ifwe go back to Page 1,005 on
     22    Trucking.                                            22   Exhibit Number Nine, sir -­
     23        Q. And there's no inquiry to Wiley Lenue         23       A. Yes.
     24    Hooks, Sr.'s trucking company?                       24       Q. -- we're talking about the driver's road
                                                                25   test examination results. Is that anywhere in his



•
     25        A. He didn't have one. His dad did.


                                                  Page 71                                                 Page 73
       1       Q. The next one on the list, Number Five,         1   driver's qualification -­
       2   inquiry to state agencies. Could you show me in       2      A. No.
       3   Mr. Hook's driver's qualification file where that     3      Q. Okay. The next item requires that in
       4   is?                                                   4   his driver's qualification file there's a
       5       A. The state what?                                5   certificate ofroad test. Do you see where it
       6       Q. SO if you look at Page 1,005 -­                6   says that on Page 1,005? Second from the bottom.
       7       A. Yes.                                           7      A. No.
       8       Q. on Exhibit Number Nine, the fifth one          8      Q. You don't see that?
      9    down -- do you see it ­                               9      A. Well, I see that. Yes.
     10        A. Yes.                                          10      Q. Okay.
     11        Q. - inquiry to state agencies? Could you        11      A. But I don't see it in here.
     12    show me where in Mr. Hooks' driver's qualification   12      Q. Okay. So -- so now I want to ask you
      13   file that is?                                        13   the next question. which is do you see a copy of
     14        A. What is the inquiry to state agencies?        14   the certificate of road test in the driver's
     15    What does that ­                                     15   qualification file that was provided by Gregory
     16        Q. Well, it's Gregory Trucking's policy.         16   Trucking?
     17    Perhaps you can tell us.                             17      A. No.
     18        A. No. I -I'd like - for tbe state, you          18      Q. Okay. And the last item on Page 1,005,
     19    know, I mean, we're - he's checked out. Yes.         19   annual MVR and review ofdriving record. Do you
     20        Q. Ifhe's checked out, does it exist in          20   see where it says that on page -­
     21    the driver's qualification file?                     21      A. Yes.
     22        A. No, I do not fmd it in here.                  22      Q. What is MRV MVR? I'm sorry.
     23        Q. Okay. Number Seven, driver's road test        23      A. Motor vehicle record.




•    24    examination results. Do you see where it says        24      Q. Okay. Annual motor vehicle record and
     25    that?                                                25   review of driving record. Do you see -- can you


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                                                                                20 (Pages 74 to 77)



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                                                  Page 74                                                   Page 76
       1   point-­                                               1      A. Uh-huh.
       2       A. It's not in here, but I know that it's         2      Q. Do you see where it says that, sir?
       3   checked. And our insurance checks it, so.             3      A. Yes, I see it.
       4       Q. SO let -- let me ask you. Can you point        4      Q. Could you read that first sentence out
       5   out in the driver's qualification file provided by    5   loud?
       6   Gregory Trucking where the annual motor vehicle       6       A. [As read] "Motor vehicJe records.
       7   record and review of driving record is?               7   Gregory Trucking will check the motor vehicle
       8       A. No. No.                                        8   records MVR" ­
       9       Q. Okay. So ifwe go back to Page 1,005,           9             MR. O'CONNOR: Can I ask that you
      10   sir, in just that last item, it says, [as read]      10   just finish reading the sentence?
      11   "Annual motor vehicle record and the review of       11       Q. Please finish -­
      12   driving record." Is that actually two separate       12       A. Oh.
      13   documen~oristhatjustone?                             13       Q. - the sentence.
      14      A. I don't know.                                  14       A. - [as read] "of all authorized
      15      Q. SO would there be an annual motor              15   commercial drivers on the annual basis."
      16   vehicle record and then a review ofthat driving      16       Q. And does an annual basis mean yearly?
      17   record?                                              17       A. Yes.
      18      A. Well, I mean, if you get the driver'S          18       Q. SO is it fair to say that if Mr. Hooks
      19   record, then you'd go over it I guess there's a      19   was hired in 2014 and worked until August of2016,
      20   review made ofit, you know.                          20   should there be three annual motor vehicle records
      21      Q. Okay. But that document, the annual            21   in Mr. Wiley Lenue Hooks' driver's qualification
      22   motor vehicle review, is not in the driver's         22   file?
      23   qualification file provided by Gregory Trucking?     23       A. Yes.
      24             MR. O'CONNOR: Objection. Asked             24       Q. And is it fair to say we have been
      25   and answered.                                        25   provided with zero?



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              A. Huh?
               Q. It's not there?
                                                 Page 75
              Q. [By Mr. Tangredi] It's not there, sir?



                       MR. O'CONNOR: You can answer the
                                                                 1
                                                                 2
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                                                                         A. Yes.
                                                                                                            Page 77


                                                                         Q. Let's go back to the fleet safety
                                                                     policy, Exhibit Number Nine, Page 1,001. Do you
                                                                     see on Page 1,001 where it says commercial driver
       5   question.                                             5   qualification criteria at the top?
       6      Q. [By Mr. Tangredi] Is it in the                  6       A. Yes.
       7   driver's -­                                           7       Q. In the first sentence, does it say, [as
       8      A. No.                                             8   read] "Commercial driver applican~ will not be
       9      Q. -- qualification file?                          9   considered for employment unless they meet the
      10      A. No.                                            10   minimum requirements listed below." Does it say
      11      Q. Thank you. Ifwe go to Page 1,006-­             11   that?
      12      A. Okay.                                          12       A. Yes.
      13      Q. -- the last item, annual review of             13       Q. And ifwe go -- skip down to four,
      14   driving record. Do you see -- ifyou look at the      14   highlighted in green, could you read the fourth
      15   driver's qualification file provided by Gregory      15   one?
      16   Trucking, do you see that annual review of driving   16       A. [As read] "Possess a current and valid
      17   record for Wiley Lenue Hooks -­                      17   commercial driver's license or a chauffeur's
      18      A. No.                                            18   license and proper endorsements for the type of
      19      Q. -- anywhere? Okay. I want you to look          19   commercial vehicle to be driven. "
      20   at Gregory Trucking's fleet safety program. It's     20       Q. Can you go to Exhibit Number Ten, which
      21   Exhibit Number Nine at Page 1,005.                   21   is the driver's qualification file. Do you see
      22      A. 1,005. Okay.                                   22   that?
      23      Q. And do you see about maybe a third of          23       A. Yes.




•     24   the way down it talks about motor vehicle records?   24       Q. Do you have that in front ofyou?
      25   Do you see where it says that?                       25       A. Yes.


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                                                                                 21 (Pages 78 to 81)



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                                                  Page 78                                                    Page 80
       1       Q. And those are Bates stamped. Would you          1   any documentation?
       2    look at Page 1,021?                                   2       A. Well, I think after they checked
       3       A. Okay.                                           3   everything, they probably - I know that they sent
       4       Q. What is on Page 1,021?                          4   some stuff up there saying it was okay -- he was
       5       A. It's his driver's license.                      5   okay.
       6       Q. Whose driver's license?                         6       Q. SO there would be the information that
       7       A. Wiley Hooks.                                    7   your insurance company sent you, correct-­
       8       Q. Junior, correct?                                8       A. Yes.
       9       A. Yes.                                            9       Q. - about Mr. Hooks and his license?
      10       Q. And can you see when it says it expires?       10       A. Yes.
      11       A. Yes.                                           11       Q. And you have a copy of Mr. Hooks'
      12       Q. What date is it?                               12   license -­
      13       A. It's 2/12/16.                                  13       A. Yes.
      14       Q. Okay. Did Gregory Trucking ever get a          14       Q. -- also? And is it fair to say neither
      15    copy ofhis license after this one expired on         15   one ofthose items have been provided to us?
      16    2I12/16?                                             16       A. Well, Ithink -- yes, we got a copy of
      17       A. Yes.                                           17   it.
      18       Q. Okay. Do you know where it is?                 18       Q. Okay. But in the driver's
      19       A. It's in the office somewhere.                  19   qualifications file that we went over previously,
      20       Q. Okay. Do you know why it wasn't                20   right -- we're talking about Exhibit Number Ten -­
      21    provided?                                            21   were either of those documents, either the
      22       A. No.                                            22   insurance company records or a copy of Mr. Hooks'
      23             MR. O'CONNOR: I have a copy ofit.           23   license after it -- the expiration on 2112116,
      24    I can provide it now.                                24   were they included?
      25       Q. [By Mr. Tangredi] Did you ever verify          25              MR. O'CONNOR: Objection.




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           Vehicles he had a valid license -­
               A. Yes, we did.
                                                  Page 79
           with the North Carolina Department ofMoto!


               Q. Let me -- let me finish. I've got more.
                                                                  1
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                                                                  3
                                                                  4
                                                                      because we had a copy. It just­
                                                                                                            Page 81
                                                                         A. No. But I don't know why they wasn't

                                                                          Q. [By Mr. Tangredi] Are you aware that
                                                                      Wiley Lenue Hooks, Jr. did not possess a current
      5    I should ask: shorter questions, but let me finish.    5   and valid CDL license since February of2016?
      6    Did you ever verity with the North Carolina            6              MR. O'CONNOR: Olriection.
      7    Department of Motor Vehicles that he had a valid       7      A. Well, I - I - I knew that there was a
      8    license after this one expired on 2/12116?             8   lapse in there, but it ­ he got his 6cense back.
      9        A. Yes.                                            9   But there was a - I know that there was like a
     10        Q. Okay. How did you do that?                     10   30-day period there that Wiley was doing the
     11        A. We sent that thing through the - we            11   process, now whatever they done. No, he did not.
     12    went through our insurance agency and they checked    12      Q. [By Mr. Tangredi] Are you aware that
     13    it and had the DMV in Raleigh, you know, and ­        13   his registry ofmotor vehicle records would have
     14    and they verified everything.                         14   indicated that he did not have a valid CDL license
     15        Q. And am I correct that Gregory Trucking         15   as ofFebruary 2016?
     16    has access to the registry ofmotor vehicles and       16      A. Well, when we checked everything, it­
     17    could have checked on it also? Is that right?         17   he had it. I mean, what - the information we got
     18        A. Excuse me?                                     18   says he did. If it says it didn't, we did ­ we
     19        Q. Am I correct that you said earlier that        19   did not get that information.
     20    Gregory Trucking has access to the registry of        20      Q. Is it fair to also say that you didn't
     21    motor vehicles and could check the validity -­        21   get his driving motor vehicle history for three
     22        A. Yes. ADd we probably did, but we wanted        22   years when he was employed between 2014 and the
     23    to make sure so we done a follow-up.                  23   date of the crash in 2016?




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     24        Q. And when you say you -- you had your           24              MR. O'CONNOR: Objection.
     25    insurance company do it, did they provide you with    25      A. Did I what?


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                                                                                22 (Pages 82 to 8S)



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                                                 Page 82                                                   Page 84
       1       Q. [By Mr. Tangredi] Is it fair to say            1   for Gregory Trucking had a con -- a violation of
       2   Gregory Trucking did not get his motor vehicle        2   one of those offenses in the last five years, they
       3   record from the registry during his employment        3   wouldn't be qualified to drive for Gregory
       4   between 2014 and 2016?                                4   Trucking; is that accurate?
       5       A. Hhe didn't have any kind of­                   5      A. That's what it says there in five years,
       6             MR. O'CONNOR: Objection.                    6   yes.
       7       A. - violations, no.                              7      Q. And that's the Gregory Trucking Company
       8       Q. [By Mr. Tangredi] Okay. And is it fair         8   policy?
       9   to say that Gregory Trucking's own fleet safety       9      A. If this is our ­ whatever it is here -­
      10   policy requires Gregory Trucking to do that on an    10   form, yes.
     11    annual basis?                                        11      Q. And it is your form, isn't it?
      12             MR. O'CONNOR: Objection.                   12      A. Yes. It says Gregory Trucking Fleet
      13      A. According to this right here, yes, it          13   Safety Program.
      14   does.                                                14      Q. Okay. So are you aware that on July
     15        Q. [By Mr. Tangredi] Okay. And it wasn't         15   27th, 2013, Wiley Lenue Hooks was convicted of
     16    done; is that right?                                 16   reckless driving in Catawba County, North
     17       A. No.                                            17   Carolina?
     18        Q. Let's go back to the Gregory Trucking         18      A. VVhere?
     19    Fleet Safety Program, Page 1,001, requirements for   19            MR. AMOS: Catawba.
     20    employment as a driver for Gregory Trucking. Page    20            MR. O'CONNOR: Catawba.
     21    1,001; do you have that in front ofyou?              21            MR. TANGREDI: Catawba.
     22       A. Yes.                                           22      A. No.
     23       Q. And Page 1,0ot is the commercial               23      Q. [By Mr. Tangredi] You're not aware of
     24    driver's driver qualification criteria, right?       24   that?
     25       A. Yes.                                           25      A. I mean, if - unless it was on that




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                                                 Page 83
              Q. And it say, [as read] "Commercial driver
           applicants will not be considered for employment
           unless they meet the minimum requirements listed
           below." Correct?
                                                                 1
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                                                                     record when they came in, but ­

                                                                     on his driving record?
                                                                                                           Page 85

                                                                         Q. Are you aware that that information is

                                                                         A. I - I haven't seen his driving record
       5      A. Yes.                                            5   in a long time, so, no.
       6      Q. And down below, it says, [as read] "Has         6       Q. SO you didn't check it before hiring Mr.
       7   not been convicted of any of the following            7   Wiley Lenue -­
       8   violations within the previous five years." Do        8       A. WeU­
       9   you see where it says that?                           9       Q. --Hooks?
      10      A. Yes.                                           10       A. -like I said, I -­
      11      Q. And then it lists a bunch of violations,       11             MR. O'CONNOR: Objeetion.
      12   correct?                                             12       A. He had worked for us for years previous
      13      A. Yes.                                           13   to that.
      14      Q. The first one is driving under the             14       Q. [By Mr. Tangredi] But he hadn't worked
      15   influence of alcohol and/or drugs. Do you see        15   for you for years previous to 2014, right?
      16   that?                                                16       A. Yes.
      17      A. Yes.                                           17       Q. How many years approximately?
      18       Q. And the second one is reckless driving        18       A. I could -- I don't know.
      19   or speed contests.                                   19       Q. More than five?
      20      A. Yes.                                           20       A. No, I doubt that.
      21      Q. All right. And then if we skip down to         21       Q. More than three?
      22   the seventh one, it says, [as read] "Improper or     22       A. Probably - I don't know. I don't know
      23   erratic lane changing. Do you see those?             23   what - when he - when he left or came back.




•
                                If


      24      A. Yes.                                           24       Q. But there was a gap?
      25      Q. SO if someone who wanted a job driving         25       A. They were [sic] a gap, yes.


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                                                                                23 (Pages 86 to 89)



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                                                  Page 86                                                  Page 88
       1      Q. Are you aware that on January 11th,             1   in Preble, Ohio, Wiley Lenue Hooks was cited for
       2   2014, Wiley Lenue Hooks, Jr. was convicted of an      2   an overloaded tractor-trailer truck?
       3   erratic lane change in Iredell County?                3       A. Well, yeah. I could I say that we've
       4      A. Iredell.                                        4   had overweight tickets before. Yes.
       5      Q. Iredell. Were you aware of that?                5      Q. Are you aware of that one in Ohio?
       6      A. No.                                             6      A. Not in 2005. I mean ­
       7      Q. Are you aware that that information was         7      Q. 2004.
       8   on his Department of Motor Vehicle driving record?    8       A. Four. I couldn't tell you that.
       9   Are you aware ofthat?                                 9      Q. Are you aware that that's on his driving
      10      A. No.                                            10   record?
      11      Q. Are you aware that on March 8th, 2015,         11      A. I do know that overweights go on them,
      12   Wiley Lenue Hooks, Jr. was convicted of failing to   12   yes. We don't need that, no.
      13   reduce speed in Forsyth County, North Carolina?      13      Q. Are you aware that on November 23rd,
      14      A. Well, I probably knew ofthe speeding           14   2004, in Missouri Wiley Lenue Hooks was cited for
      15   ticket. Yes. I mean, we've ­ we've not gotten        15   operating with a radar detector?
      16   - we have bad some speeding tickets over the         16      A. No.
      17   years, as every ­ all of them have.                  17      Q. Are you aware that's on his driving
      18      Q. Ifyou're aware ofit, is there any kind         18   record?
      19   of action that Gregory Trucking takes when a         19      A. No.
      20   driver -­                                            20      Q. Are you aware that on July 25th, 2005,
      21      A. Well, I'll talk to him just -­                 21   in Patrick, Virginia, Wiley Lenue Hooks had no
      22      Q. If you let me finish, Mr. Gregory.             22   record ofduty status or no log book?
      23      A. Okay.                                          23      A. No.
      24      Q. fm sorry. I -- I know you're                   24      Q. Are you aware that that's on his driving
      25   anticipating my question. Is there any action        25   record?




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           driver is issued a speeding ticket?
                                                 Page 87
           that Gregory Trucking Corporation takes if a

                A. Yes. We ­ well, Italk to them about
           it, yes, and tell them, you know, we don't need
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                                                           Page 89
                                                                         A. Well, I mean, I've probably seen ­ if
                                                                     it was a log book or overweights or anything like
                                                                     that, yes, I see them.
                                                                         Q. Are you aware that on October 3rd, 2007,
       5   that. And they don't need it too because we don't     5   Wiley Lenue Hooks was cited for speeding in
       6   pay them. And, you know, after they get so much,      6   Wisconsin?
       7   they could lose their CDLs, you know. And on any      7       A. I mean, I - tbatfar back, you know, I
       8   kind of a violation, we - we do sit down with         8   may have seen the speeding tickets. I don't know.
       9   them ­ or I do.                                       9       Q. Are you aware that would be on his
      10        Q. And other than talking with them about       10   driving record in 2014 ifit -- ifyou saw it?
      11   it, is there -- are there any other repercussions?   11       A. Well, it may have been on there. But
     12         A. Well, ifit continues, then they would        12   that would have been like eigbt or 10 years too.
     13    - it could be terminated, yes.                       13       Q. Are you aware that on June 1st, 2008, in
     14         Q. Did you say a minute ago that they don't     14   Iredell County Mr. Hooks was cited for driving
     15    get paid?                                            15   with a revoked license?
     16         A. We won't pay for their ticket, you know.     16       A. No. He wouldn't have been driving for
     17    Just like for a log book violation or anything       17   us tben if that's the case.
     18    that's ­ that they failed to do. lfit's              18       Q. Are you aware that that's on his driving
     19    something tbat we done, then we have to if they      19   record?
     20    was-­                                                20       A. Well, I probably seen that. Yes.
     21         Q. Are you aware that on January 31st,          21       Q. Are you aware that on October 1st, 2008,
     22    2003, in Iredell County Wiley Lenue Hooks refused    22   in Iredell County, North Carolina, Mr. Hooks was
     23    a chemical test?                                     23   cited for driving with a revoked license and no




•    24         A. No.                                          24   inspection sticker? Are you aware of that?
     25         Q. Are you aware that on July 23rd, 2004,       25       A. No.


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                                                    Page 90                                                Page 92
       1       Q. Are you aware -­                               1   wouldn't have. I can say back 18 or 19 years ago,
       2       A. I mean, I ­                                    2   you know.
       3       Q. -- that that's on his driving record?          3       Q. Are you aware of them -- that in 2003?
       4       A. If it's on his driving record,l've seen        4       A. In '03? No.
                                                                           J
       5   it Yes.                                               5       Q. Are you aware that that's on his driving
       6       Q. Are you aware that on September 8th,           6   record?
       7   2009, in Iredell County, Mr. Hooks was cited for      7       A. I probably seen it when I looked at it.
       8   driving with a revoked license and no inspection      8   But he probably - he done drove for us prior to
       9   sticker and an expired registration? Are you          9   aD that though. He wasn't driving during that
      10   aware ofthat?                                        10   time.
      11       A. No.                                           11       Q. Are you aware that on July 23rd, 2013,
      12       Q. Are you aware that that's included on         12   in Catawba -- what county is that?
      13   his official driving record?                         13      A. Catawba?
      14       A. I can say I wonld have seen these. Yes.       14      Q. -- Catawba-­
      15       Q. Are you aware that Wiley Lenue Hooks,         15      A. Catawba.
      16   Jr. has numerous criminal convictions on his         16      Q. -- County Wiley Lenue Hooks was arrested
      17   record before the crash that killed George Forbes?   17   for the fourth time for operating while impaired?
      18             MR. O'CONNOR: Objection.                   18             MR. O'CONNOR: Objection.
      19       A. Criminal now. What -- when you                19      A. When?
      20   criminal, what?                                      20      Q. [By Mr. Tangredi] July 23rd, 2013.
      21       Q. [By Mr. Tangredi] Well, are you aware         21      A. No.
      22   that on May 19th, 1990, in Wilkes County, he pled    22      Q. Are you aware that that would be on his
      23   guilty to driving while impaired? Are you aware      23   official driving record in 2014?
      24   of that?                                             24      A. WeD, it would have been on there, I
      25       A. Huh-uh.                                       25   guess. Yes.




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              Q. I'm sorry, can you -­
              A. No.
              Q. Are you aware that that's on his
           official driving record?
                                                    Page 91
                                                                 1
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                                                                 4
                                                                        Q. All right Are you aware that on
                                                                                                           Page 93

                                                                     January 31 st, 2003, in Iredell County he - Wiley
                                                                     Lenue Hooks possessed marijuana and pled guilty?
                                                                        A. Huh-uh. No.
       5       A. WeD, I would have knowed when, you             5      Q. Are you aware that that's on his driving
       6   know, nothing. But if it was on his driving           6   record?
       7   record, I had probably seen it. Yes.                  7      A. No.
       8      Q. Are you aware that on July 22nd, 1990,          8      Q. Was Gregory Trucking aware that on
       9   in Wilkes County Wiley Lenue Hooks pled guilty to     9   August 1st, 2016, that Wiley Lenue Hooks, Jr. had
      10   driving while impaired? So we have two ofthem        10   prior crashes with a tractor-trailer?
      11      A. No.                                            11             MR. O'CONNOR: Objection.
     12       Q. -- in Wilkes County.                           12      A. No.
     13       A. Yes.                                           13      Q. [By Mr. Tangredi] Was Gregory Trucking
     14       Q. May oftwo thousand in 1990 and then            14   aware on August 1st, 2016, that Wiley Lenue Hooks
     15    July of 1990. Are you aware of those?                15   had prior crashes while driving his personal
     16       A. Huh-uh.                                        16   vehicles?
     17       Q. You need to say­                               17      A. No. I - I mean, I don't know if it was
     18       A. No.                                            18   - when was it?
     19       Q. Are you aware that that's on his               19      Q. August 1st of2016. Now, that's when it
     20    official driving record?                             20   was. But as of August 1st, 2016, was Gregory
     21       A. No.                                            21   Trucking aware that Wiley Lenue Hooks had prior
     22       Q. Okay. Are you aware that on January            22   crashes while driving his personal vehicles?
     23    31st, 2003, in Iredell County Wiley Lenue Hooks      23      A. No.




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     24    pled guilty to driving while impaired?               24      Q. And on August 1st, 2016, was Gregory
     25       A. There were some ­ some years that he           25   Trucking aware that Wiley Lenue Hooks had failed a


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                                                  Page 94                                                  Page 96
       1   medical test to get his CDL license?                  1   tractor-trailer truck driver since at least 2013?
       2             MR. O'CONNOR: Objection.                    2             MR. O'CONNOR: The same objection.
       3       A. Had failed the med -- we -- we didn't          3      A. No.
       4   have any prior stoff to that. No.                     4      Q. [By Mr. Tangredi] You don't agree?
       5       Q. [By Mr. Tangredi] Okay. Are you aware          5      A. He was - he was a - he - he was a
       6   that the failure ofhis medical test for his CDL       6   good truck driver.
       7   license was on ­ is on his official driving           7      Q. I didn't ask you ifhe was a good truck
       8   record?                                               8   driver. I asked you ifhe was a qualified truck
       9             MR. O'CONNOR: Objection.                    9   driver?
      10       A. Well, we had a valid CDLs and everything      10      A. He was a qualified -­
      11   that ­ and then he was vetted good, so.              11             MR. O'CONNOR: Objection.
      12       Q. [By Mr. Tangredi] Are you aware that it       12      A. - CDL license holder, yes.
      13   was on his official driving record that he had       13      Q. [By Mr. Tangredi] By what criteria was         I
      14   failed the medical test?                             14   he qualified?
      15       A. No. He couldn't have gotten his CDLs if       15      A. Well, he had driven for years. And, you
      16   he had­                                              16   know - I mean he ­ yes, he'd had some troubles,
      17       Q. Well, are you aware he didn't have a CDL      17   but he - he could drive. He was a good driver.
      18   after February in 2016?                              18      Q. But you'd have to agree he didn't meet
      19             MR. O'CONNOR: Objection. Asked             19   the requirements set out in the Gregory Trucking
      20   and answered.                                        20   Fleet Safety Program, right?
     21        A. No. That was during that period of            21      A. No. He didn't­
     22    these two licenses, so.                              22             MR. O'CONNOR: Objection.
     23        Q. [By Mr. Tangredi] Are you aware that          23      A. - some of these things he didn't do,
     24    Wiley Leoue Hooks had a drivers license in both      24   yes.
     25    Florida and California?                              25      Q. [By Mr. Tangredi] And the Gregory




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           he probably did have one there.
                                                  Page 95
               A. No. I knew he lived in California for a
           while in his younger time. Now, I do know that so

               Q. Did Gregory Trucking ever discipline
                                                                 1
                                                                 2
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                                                                 4
                                                                     right?
                                                                                                           Page 97
                                                                     Trucking Fleet Safety Program requires that you
                                                                     not have those problems to be hired; is that

                                                                        A. Well, it's - you know, I hire the
       5   Wiley Lenue Hooks, Jr. while he ~s employed by        5   drivers. And I - all ofthem I know and I - I
       6   Gregory Trucking?                                     6   vet them. And I know they're - what they're
       7       A. I disciplined him several times                7   capable of and what they're not. WHey's been
       8   verbally, yes, and talked to him about things,        8   driving a long time. Well, yeah. Buster, I mean.
      9    yes.                                                  9   I'm sorry.
     10        Q. What kind ofdiscipline, for what              10      Q. Do you agree that Wiley Lenue Hooks'
     11    reasons?                                             11   past driving and criminal history made it
     12        A. Well, when I - I felt Uke it -- he may        12   foreseeable he would be involved in a crash?
     13    have been pushing it a little bit or, you know,      13             MR. O'CONNOR: Objection.
     14    like I said if - speeding or any of them things.     14             MR. SCHULER: Objection.
     15    You know, I'd tell him we just could not have it.    15      A. Repeat that.
     16        Q. Was there ever any official paperwork         16      Q. [By Mr. Tangredi] Do you agree Wiley
     17    created about the discipline taken against Wiley     17   Lenue Hooks' past driving and criminal history
     18    Lenue -­                                             18   made it foreseeable he would be involved in a
     19        A. It wasn't written down, no.                   19   crash?
     20        Q. Do you agree that Wiley Lenue Hooks was       20      A. No.
     21    not a qualified tractor-trailer truck driver since   21             MR. O'CONNOR: The same objection.
     22    at least 2013?                                       22      Q. [By Mr. Tangredi] Do you agree that in
     23              MR. O'CONNOR: Objection.                   23   early August of 2016 it was foreseeable that Wiley




•    24        A. That he was what?                             24   Lenue Hooks, Jr. was going to hurt someone while
     25        Q. [By Mr. Tangredi] Not a qualified             25   driving a tractor-trailer?


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                                                 Page 98                                                  Page 100
       1       A. No.                                            1       Q. [By Mr. Tangredi] And he may be a great
       2             MR. O'CONNOR: Objection.                    2   driver. He may be able to maneuver a tractor­
       3       Q. [By Mr. Tangredi] Why not?                     3   trailer truck. I'm not asking about his skills as
       4             MR. O'CONNOR: Objection.                    4   a driver. I'm asking about his qualifications.
       5       A. Well, he -- you know, accidents will           5   Was he qualified to drive when he was hired in
       6   happen. But he was a - you know, he knew how to       6   2014?
       7   drive a tractor-trailer, you know. And he wasn't      7              MR. O'CONNOR: Objection.
       8   out there to do an accident, no.                      8      A. Yes.
       9       Q. [By Mr. Tangredi] Could you tell me            9       Q. [By Mr. Tangredi] Okay. All right.
      10   what an accident means to Gregory Trucking?          10   Let's do one more exhibit, then we're going to
      11            MR. O'CONNOR: Objection.                    11   take a break because we're running out of film.
      12       A. Well, it's -- it's a bad thing. You           12              MR. TANGREDI: What number was
      13   don't need accidents.                                13   that?
      14       Q. [By Mr. Tangredi] What does "accident"        14              COURT REPORTER: Eleven.
      15   mean?                                                15              MR. TANGREDI: Thank you
      16       A. An accident means that they've been a ­       16              (DEPOSITION EXHIBIT
      17   some trouble on the road, you know, a turnover or    17              NUMBER 11 WAS MARKED
      18   a ­ you know, more than maybe one vehicle            18              FOR IDENTIFICATION)
      19   involved. Lots of things.                            19      Q. [By Mr. Tangredi] Mr. Gregory, can
      20       Q. I'd like you to go back to Exhibit            20   you look at Exhibit Number 11 for us?
      21   Number Six. And that would be the Gregory            21      A. Yes.
      22   Trucking Web page. And I want you to go to the       22      Q. Do you recognize Exhibit Number 11?
      23   third page. Do you have that in front ofyou?         23      A. It's a Federal Motor Carrier Safety
      24       A. Yes.                                          24   Administration form.
      25       Q. And could you read that highlighted           25      Q. Called an OP-1, correct?




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           portion in its entirety?
               A. [As read] "Our­
                                                 Page 99



                     MR. O'CONNOR: The same objection
           as to the date and the Web site. You can read it.
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                                                                          A. Yes.
                                                                                                         Page 101


                                                                          Q. And it -- it's an application by Gregory
                                                                     Trucking for motor carrier authority -- motor
                                                                     carrier authority; is that right?
       5       A. [As read] "Our drivers are carefully           5        A. Yes.
       6   screened before being hired, are request to be ­      6        Q. If you look at the last page -- and
       7   to be drug free. We stress during their               7   they've been n~bered with the prefix INV -- Pages
       8   employment they be courteous, polite to all of our    8   1,704 through 1,708. If you look at Page 1,708 ­
       9   customers. "                                          9        A. Okay.
     10        Q. [By Mr. Tangredi] And justfor the             10        Q. -- at the bottom, who -- who signed for
     11    record, I want to read it again. I think you -­      11   this motor carrier authority?
     12    you read it accurately. It just could have been      12        A. It says Martha's down there.
     13    hard to hear with the air conditioning going. [As    13        Q. Okay. And is Martha Somers somebody who
     14    read] "Our drivers are carefully screened before     14   had authorization to -­
     15    being hired and are required to be drug free. We     15       A. Yes.
     16    stress during their employment that they be          16        Q. -- fill out this application -­
     17    courteous and polite to all our customers." Is       17       A. Yes.
     18    that what it says?                                   18        Q. -- for Gregory Trucking?
     19        A. Yes.                                          19        A. Yes.
     20        Q. And do you believe that Wiley Lenue           20        Q. Okay. And it's -- if you look above her
     21    Hooks was carefully screened before being hired?     21   signature at the top, does it indicate -- indicate
     22              MR. O'CONNOR: Objection.                   22   it's signed under oath and subject to the pains
     23        A. Yes. I mean, I knew him for all my            23   and penalty of peIjury?




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     24    life. And I knew he was a good driver. He            24        A. Yes.
     25    drove­                                               25        Q. Okay. And this application was


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                                                                           27 (Pages 102 to 105)



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                                                Page 102                                                 Page 104
       1    submitted to the Federal Motor Carrier Safety        1   front ofyou. And, again, Exhibit Number 11 being
       2    Administration?                                      2   an application by Gregory Trucking for motor
       3        A. Yes.                                          3   carrier authority; is that right?
       4        Q. Okay. And do you know what the primary        4      A. Yes.
       5    mission is ofthe Federal Motor Carrier Safety        5      Q. Jfyou look at Page 1,706. And that
       6    Administration?                                      6   would be Section IV at the top. Does that say
       7             MR. O'CONNOR: Objection.                    7   Safety Certification for Motor Carrier Applicants
       8        A. You said we was trying to get authority,      8   Only?
       9    right?                                               9      A. On one-seven ­ where is that at?
      10        Q. [By Mr. Tangredi] Yem.                       10      Q. Page 1,706.
      11        A. Yes.                                         11      A. Application Motor Carrier and Broker
      12        Q. That's what this application is -­           12   Authority.
      13        A. Yes.                                         13      Q. And -- and in the left hand margin, it
      14        Q. -- right? And you're applied to the          14   says Section IV?
      15    Federal Motor Carrier Safety Administration; is     15      A. Yes.
      16    thatwhat-­                                          16      Q. And it says Safety Certification (Motor
      17        A. Yes.                                         17   Carrier Applicants Only); is that right?
      18        Q. Okay. Do you know what the mission of        18      A. I must be - what - what page? Oh,
      19    the Federal Motor Carrier Safety Administration     19   yeah. Okay. Wait a minute. Five?
      20    is?                                                 20      Q. Page 1,706. Do you have it?
      21             MR. O'CONNOR: Objection.                   21      A. 1,706. Okay. All right.
      22        A. No, I've not read it.                        22      Q. And up top it says Section IV in Roman
      23        Q. Okay.                                        23   numerals.
      24        A. Wbere is it?                                 24      A. Yes.
      25        Q. [By Mr. Tangredi] It's not on that           25      Q. Do you see that? Okay. And ondemeath,



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                                                Page 103
           document. Do you agree that the Federal Motor
           Carrier Safety Administration regulates the
           trucking industry?
               A. Yes.
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                                                                     Applicants Only); is that right?
                                                                         A. Yes.
                                                                                                         Page 105
                                                                     it says Safety Certification (Motor Carrier


                                                                         Q. And Gregory Trucking was a motor carrier
       5       Q. As a result of submitting this                 5   applicant only, right?
       6   application, was Gregory Trucking granted             6       A. Yes.
       7   authority to operate as a motor carrier?              7       Q. SO Section IV applies, correct?
       8       A. J mean, we've got authority. I don't­          8       A. Yes.
       9   I don't know how far that authority goes as far       9       Q. And the second paragraph in Section IV
      10   as­                                                  10   says, [as read] "Applicant has access to and is
      11       Q. Okay.                                         11   familiar with all applicable U.S. Department of
      12       A. - a motor carrier. Yes.                       12   Transportation regulations relating to the safe
      13              MR. TANGREDI: Okay. Thisis                13   operation ofcommercial vehicles and the safe
     14    probably a good place to take a break so we can      14   transportation of hazardous materials and will
     15    change the film.                                     15   comply with these regulations." Did I read that
     16               THE VIDEOGRAPHER: All right. One          16   right?
     17    moment, please. We're going off the record. The      17       A. Yeah.
     18    time now is 3:58.                                    18       Q. It goes on to say, [as read] "In so
     19               [Recess from 3:58 p.m. to                 19   certitying, applicant is verifying that at a
     20               4:12p.m.]                                 20   minimum it, number one, has in place a system and
     21               THE VIDEOGRAPHER: We are back on          21   an individual responsible for ensuring overall
     22    the record. The time now is 4: 12.                   22   compliance with Federal Motor Carrier safety
      23              MR. TANGREDI: Good, Mr. Wyatt?            23   regulations." Did I read that properly?




•              Q. [By Mr. Tangredi] Mr. Gregory, I want
      24                                                        24       A. Yes.
      25   to just finish up with Exhibit Number 11 that's in   25       Q. Does Gregory Trucking have in place a

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                                                Page 106                                                  Page lOa
       1   system and an individual responsible for ensuring    1   Gregory Trucking familiar with DOT regulations
       2   overall compliance with Federal Motor Carrier        2   goveming -- governing driver qualifications and
       3   safety regulations?                                  3   had in place a system for overseeing driver
       4      A. Yes. Linda does all of that now.               4   qualification requirements?
       5      Q. Okay. And did they have somebody in            5      A. Yes. We were familiar with DOT
       6   place in 2016?                                       6   regulations.
       7      A. No, I wouldn't think they had -- well, I       7      Q. And did they have a system in place for
       8   don't know. Only Martha was in there in '16.         8   overseeing driver qualification requirements in
       9     Q. Was there a system in place and an              9   2016?
      10   individual responsible for ensuring overall         10      A. They was probably not ­ nothing set up.
      11   compliance with Federal Motor Carrier safety        11   No.
      12   regulations in 2016?                                12      Q. Number Six, [as read] "The applicant has
      13            JvlR. O'CONNOR: Objection.                 13   in place policies and procedures consistent with
      14      A. Yes, it would have been Martha.               14   DOT regulations governing driving and operational
      15      Q. [By Mr. Tangredi] Okay. Number Two,           15   safety ofmotor vehicles, including drivers' hours
      16   [as read] "The applicant can produce a copy ofthe   16   of service and vehicle inspection, repair, and
      17   Federal Motor Carrier safety regulations and the    17   maintenance." Did Gregory Trucking have policies
      18   hazardous materials transportation regulations."    18   and procedures?
      19   Could Gregory Trucking produce a copy of the        19      A.   Yes.
      20   Federal Motor Carrier safety regulations -­         20      Q.   Okay.
      21      A. There was a copy ofthe ­                      21      A.   We have that, yes.
      22      Q. -- in 2016?                                   22      Q.   And the last one, [as read] "The
      23      A. Well, I don't know what happened in '16       23   applicant is familiar with and will have in place
      24   as far as this.                                     24   on the appropriate effective date a system for
      25      Q. Well, you're here to tell us about 2016,      25   complying with the United States Department of




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           Number Two in that section.
                                                Page 107
           on behalf of Gregory Trucking. We're looking at

              A. Well, I know we have all ofthe Federal
           regulations and stuff. So, you know ­
                                                                1
                                                                2
                                                                3
                                                                4
                                                                       A. Yes.
                                                                                                          Page 109
                                                                    Transportation regulations governing alcohol and
                                                                    controlled substances testing requirements."

                                                                       Q. And this document -- this OP-l is sigued
       5      Q. Okay.                                          5   under oath by Martha Somers, correct?
       6      A. - I'd say yes.                                 6      A. Yes.
       7      Q. Okay. Number Three, [as read] "Has in          7      Q. And Martha Somers had authorization on
       8   place a driver safety training orientation           8   behalf of Gregory Trucking ­
       9   program." Did Gregory Trucking have in place a       9      A. Yes.
      10   driver safety training program in 2016?             10      Q. - to sign that and make that
     11      A. Just my verbal from me.                        11   application?
     12      Q. Did you say "verbal"?                          12      A. Yes.
     13      A. Yeah. When I'd talked to them or either        13      Q. Thank you. Sir, is there a greater
     14    George would ride with them or something, you       14   danger on our highways and roads than a fully
     15    know, to check them out.                            15   loaded tractor-trailer?
     16      Q. Number Four, [as read], "Has prepared          16             MR. O'CONNOR: Objection.
     17    and maintains an accident register." Did Gregory    17      A. Repeat, please.
     18    Trucking maintain an accident register in 2016?     18       Q. [By Mr. Tangredi] Sure. Is there a
     19       A. I don't know.                                 19   greater danger on the highways and roads than a
     20       Q. Okay. Number Five, [as read] "The             20   fully loaded, unsafe tractor-trailer?
      21   applicant is familiar with Department of            21             MR. O'CONNOR: Objection.
      22   Transportation regulations governing driver         22       A. Yes, I'd say there are some things.
      23   qualifications and has in place a system for        23       Q. [By Mr. Tangredi] Like what?




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      24   overseeing driver qnalification requirements."      24       A. Well, a drunk, meth head. Cell phones
      25   Did Gregory Trucking have a -- have a -- was        25   is terrible out there. you know. I mean, a


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                                                  Page 110                                                    Page 112
       1   tractor-trailer is a large unit. And it, you          1      A.   Martha.
       2   know, can do it. But ­ yon look at what's cell        2      Q.   Martha Somers?
       3   phones and texts does. And that's why I never did     3      A.   Yes.
       4   learn to text.                                        4      Q.  Did anybody perfonn criminal background
       5      Q. If Gregory Trucking detennined that a           5   checks at Gregory Trucking of its truck drivers?
       6   tractor-trailer truck driver had a track record       6       A. Only what would show up on their
       7   for being unsafe, would Gregory Trucking hire that    7   license.
       8   driver?                                               8      Q. Okay. Are you aware that 4,600,000
       9             MR. O'CONNOR: Objection.                    9   people were injured in motor vehicle crashes in
      10      A. If a driver come in there to -- and I          10   2016?
      11   sat down with him, and I talked with him one ­       11           MR. O'CONNOR: Objection.
      12   and then his driver'S records came up, no. You       12      A. No.
      13   know, if I send them off to the insurance company    13      Q. [By Mr. Tangredi] Do you know that
      14   and they okay them, then ­ but no.                   14   infonnation is readily available online for free?
      15      Q. [By Mr. Tangredi] Is Gregory Trucking a        15      A. Well, I can't get it.
      16   safe motor carrier?                                  16      Q. Do you know the National Safety Council
      17            MR. O'CONNOR: Objection to fonn.            17   puts that infonnation out?
      18      A. Yes.                                           18      A. Well, I mean, I - I get paperwork all
      19      Q. [By Mr. Tangredi] Does Gregory Trucking        19   the time through motor carriers and through what
      20   exercise reasonable care in selecting people to      20   they pull off, you know, for me. And I look at
      21   drive its tractor-trailer trucks?                    21   that. Yes.
      22      A. Yes.                                           22      Q. Do you know that over 4,300 people were
      23              MR. O'CONNOR: Objection.                  23   killed in crashes involving large trucks in 2016
      24      Q. [By Mr. Tangredi] Back in August of            24   according to the National Highway Traffic
      25   2016, did anyone at Gregory Trucking have            25   Administration?




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           tractor-trailer truck?
              A. Yes.
                                                  Page 111
           responsibility to determine ifa driver was
           properly licensed before putting them in a
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                        A. No.
                                                                             MR. O'CONNOR: Objection.
                                                                                                             Page 113



                                                                        Q. [By Mr. Tangredi] Do you know that that
                                                                     infonnation is readily available?
       5      Q. Who?                                            5      A. Well, I - yes, evidently it is. I - I
       6      A. Well, our ­ the girls there in the              6   baven't seen it. I mean, only wbat I can get, but
       7   office. But our insurance carrier wouldn't let us     7   I don't see them numbers. No.
       8   put nobody in there if they didn't vet them and       8     Q. Do you wish you knew that number back in
       9   check them, you know. We couldn't.                    9   August of2016?
     10       Q. Back in August of2016, did anyone at           10           MR. O'CONNOR: Objection.
     11    Gregory Trucking have responsibility to perfonn      11     A. Well, knowing that number, yes. I
     12    any kind ofbackground check on the tractor­          12   mean­
     13    trailer truck drivers before putting them in a       13    Q. [By Mr. Tangredi] Is safety important
     14    tractor-trailer truck?                               14   at Gregory Trucking?
     15        A. Yes. We would check them and -- and           15       A. Yes.
     16    have our ­ and our insurance company done most       16       Q. On a scale of one to ten, how important
     17    all of that because they got access to a whole lot   17   is it?
     18    more.                                                18             MR. O'CONNOR: Objection.
     19        Q. Would Gregory Trucking have a designated      19       A. Well, it's ­ it's ­ it's num ­ high,
     20    person to check the driving history themselves of    20   you know. I mean, we want the best safety out
     21    a truck driver at Gregory Trucking?                  21   there, you know.
     22       A.   Yes.                                         22       Q. [By Mr. Tangredi] So can you quantify
     23       Q.   Who was that?                                23   it on a scale of one to ten?




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     24       A.   Well, now it's Linda Stroud.                 24       A. Nine, ten.
     25       Q.   Who was it in 2016?                          25       Q. 19?


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                                                                            30 (Pages 114 to 117)



•
                                                Page 114                                                 Page 116
       1      A. Yeah.                                          1     A.    Campbell.
       2      Q. Okay. Good. In fact, Gregory Trucking          2     Q.    Campbell?
       3   claims in its corporate employee handbook that       3     A.    Campbell. Campbell.
       4   safety is a priority, correct?                       4     Q.    Campbell. Thank you. Does Gregory -­
       5      A. Yes.                                           5     A. But I -- I mean, myself, too.
       6             (DEPOSITION EXHIBIT                        6     Q. Yau consider yourself a safety officer
       7             NUMBER12WAS~D                              7   at Gregory Trucking?
       8          FOR IDENTIFICATION)                           8       A. Yeab. I mean, tbey look to me.
       9      Q. Mr. Gregory, Exhibit Number 12 was just        9       Q. Okay. Does Gregory Trucking offer any
      10   placed in front ofyou. If I could direct your       10   crash prevention courses to its tractor-trailer
      11   attention perhaps to the third page in. Could you   11   drivers presently?
      12   tell us what Exhibit Number 12 is?                  12       A. No.
      13       A. Supplement Exhibit 95.                       13       Q. Did it offer any crash prevention
      14       Q. That's -- that's correct. Could you go       14   courses to its drivers in 2016?
      15   one more page in to the third page?                 15       A. No. I mean, you know, don't want tbem
      16      A.   Okay.                                       16   baving accidents. I don't know wbat you're really
      17      Q.   Could you tell us what this document is?    17   trying to say. I mean, about driving into tbe
      18      A.   It's a handbook ­ employee handbook.        18   wall down bere or something or what?
      19      Q.   For Gregory Trucking Company -­             19       Q. Do you know what a crash prevention
      20      A.   Yes.                                        20   program is?
      21      Q.   -- is that right? Have you seen this        21       A. Well, avoiding the accidents. Yes.
      22   before?                                             22       Q. SO does Gregory Trucking offer any kind
      23      A. Yes.                                          23   ofcrash prevention training to its tractor­
      24      Q. Okay. Is this the current employee            24   trailer truck drivers
      25   handbook at Gregory Trucking?                       25       A. No.




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              A. I would think so, yes.
              Q. Did this exist in 20l6?
              A.
              Q.
                   Yes.
                                                Page 115




                   Okay. Could you look at Page 10 of26?
                                                                1
                                                                2
                                                                3
                                                                4
                                                                        Q.
                                                                        A. No.
                                                                               in 2016?

                                                                               MR. O'CONNOR: Objection.
                                                                                                         Page 117




                                                                        Q. [By Mr. Tangredi] How about in 2015?
       5      A.   Ten?                                         5              MR. O'CONNOR: Objection.
       6      Q.   Ten of26, yeah, on Exhibit 12.               6       A. No.
       7      A.   All right.                                   7       Q. [By Mr. Tangredi] How about 2014?
       8      Q.   Do you see at the top where it says          8              MR. O'CONNOR: Objection.
       9   safety and accident rules?                           9       A. No.
     10       A. Yes.                                          10       Q. [By Mr. Tangredi] Is Gregory Trucking
     11       Q. Could you read the first sentence there?      11   aware that there are businesses out there that
     12       A. [As read] "Safety is a priority at            12   provide crash prevention training to tractof­
     13    company."                                           13   trailer truck drivers?
     14      Q. Is there a higher priority than safety         14       A. We know of - yes, we do.
      15   at Gregory Trucking, Mr. Gregory?                   15       Q. Okay. Does Gregory Trucking offer any
     16       A. No. Safety is a big thing.                    16   kind ofdefensive driving courses to its tractOf­
     17       Q. Does Gregory Trucking Company have a          17   trailer truck drivers presently?
     18    safety officer?                                     18       A. No.
     19       A. Well, George at -- at that particular         19       Q. Did it in 2016?
      20   time in 2'16 was - yes.                             20      A. No.
     21       Q. SO George was the safety officer in           21      Q.    Did it in 2015?
     22    2016?                                               22      A.    No.
     23      A. Well, be kept up with and made sure that       23      Q.    Did it in 2014?




•    24    they knew about them, yes.                          24      A.    No.
     25       Q. And does George have a last name?             25      Q.    Does Gregory Trucking conduct driver


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                                                                                 31 (Pages 118 to 121)



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                                                     Page 118                                                       Page 120
       1   safety meetings now presently?                          1       Q. That would be helpful. Why did you hire
       2      A. Yes.                                              2    somebody to come around and do that?
       3      Q. Did it in 2016?                                   3      A. Well, it -- so it could improve.
       4      A. We had meetings, yes. But it was ­                4      Q. Did Gregory Trucking see a need to
       5   most of the time it would be individually. We           5    improve?
       6   didn't have that many at that particu1ar time.          6            MR. O'CONNOR: Objection.
       7   And they ­ when they came in and out, I took care       7      A. Well, I mean, I'd say everybody does in
       8   ofit.                                                   8    anything.
       9      Q. Okay. Was there any kind ofwritten                9      Q. [By Mr. Tangredi] Is Gregory Trucking
      10   instruction that went along with it?                   10    improving?
      11      A. No.                                              11        A. Yes.
      12      Q. Any kind oftextbook that went along              12        Q. Are you aware that some trucking
      13   with it?                                               13    companies have installed speed governing devices
      14      A. I didn't have a textbook. No.                    14    to keep their tractor-trailer trucks from going
      15      Q. Okay. Any other kind ofmaterial that             15    over a certain speed?
      16   was given to truck drivers?                            16        A. Yes.
      17      A. Not -- no, only the ­ the handbook and           17        Q. Has Gregory Trucking installed the -­
      18   then what -- the DOTs wou1d send in stotT to give      18    these speed governing devices on its tractor­
      19   them and for them to go over.                          19    trailer trucks?
      20      Q. SO in the driver safety meetings                 20        A. Well, we've not installed them. But
      21   conducted by Gregory Trucking, were these              21    we've -- we've got -- we're fixing some to where
      22   mandatory meetings?                                    22    they can't exceed a certain amount -limit, you
      23      A. Oh,yes.                                          23    know.
      24      Q. And was attendance kept?                         24       Q. As of when have you started to do that?
      25      A. Yes. I mean, it may take a few days to           25       A. Well, tbere's ­ half of them got it on




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           get through them all, you know.
              Q. Okay. Do you know what kind oftopics
           were covered at any ofthe safety meetings?
                                                     Page 119




              A. Mostly maintenanee kept up, doing their
                                                                   1
                                                                   2
                                                                   3
                                                                   4
                                                                       them now probably. I don't know. You know,
                                                                                                                   Page 121

                                                                       whenever we have an overhead run or something done
                                                                       to a truck, we'll have them, you know, make sure
                                                                       it's - can't do but so much.
       5   checklists on the log books was big. We knew if         5      Q. Did Gregol)' Trucking have any of the
       6   there was a problem and all and they would - and,       6   speed governing devices in its tractor-trailer
       7   you know, they'd have to more or less do a pre ­        7   trucks in 20161
       8   pre-trip inspection of everything. And -- and if        8      A. It could have. I don't know if Wiley's
       9   there's a problem, they have to tell us, see if ­       9   did or not.
     10    you know. If there is a problem, they don't go         10      Q. Are you aware some some trucking
     11    out till it's corrected.                               11   companies have installed -- installed forward
     12       Q. Were these safety meetings held in 20161         12   facing cameras in their tractor-trailer trucks?
     13       A. Yes. There wou1d have some held.                 13      A. We do not have them.
     14       Q. How does Gregory Trucking monitor its            14      Q. Are you aware that that technology
     15    drivers while they're out on the road?                 15   exists?
     16       A. Well, we -- they call in periodically.           16      A. Well, I know that ­ yes.
     17    Or, like, Linda, she calls them every morning and      17      Q. And Gregol)' Trucking has not installed
     18    checks them off. And we do have an outside agency      1S   any forward facing cameras in its trucks?
     19    now that comes in and does all this stuff for us.      19      A. No.
     20       Q. Who is that?                                     20      Q. Whynot?
     21       A. It's a company that our insurance agent          21      A. Well, probably cost right now. I -- we
     22    sent. It's an independent guy that goes around         22   haven't looked into that. I mean, we've got -- we
     23    and does it for different motor carriers.              23   did have tracking on them, you know, where we




•
     24       Q. Do you know the name ofthe business?             24   could see where they were or parked or that, you
     25       A. No. I can get it for you.                        25   know.


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                                                                                32 (Pages 122 to 125)



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                                                         Page 122                                              Page 124
       1      Q. Are you aware some truck companies have             1      A. Okay. No - okay. Yeah.
       2   installed lane departure warning devices in their         2      Q. Do you see where it says mission
       3   tractor-trailer trucks?                                   3   statement?
       4      A. No. I've not seen those.                            4      A. Yes.
       S      Q. Okay. Are you aware some trucking                   5       Q. Could you read that out loud to us?
       6   companies have installed blind spot detection             6       A. [As read] "To responsibly meet the
       7   equipment in their tractor-trailer trucks?                7   needs, wants, and desires of society via providing
       8     A. No, I didn't. We do have blind spot                  8   the highest quality logistic service available."
       9   mirrors and stuff on our trucks, yes.                     9      Q. Did you help write that mission
     10      Q. What teelmology has Gregory Trucking                10   statement?
     11    used to improve the safety oftheir tractor­              11       A. No.
     12    trailer truck drivers?                                   12       Q. Do you know where it carne from?
     13       A. Well, we're trying to make sure that we            13       A. No, I don't know where they - you know,
     14    vet them a lot better, you know. The -- and the          14   it's something they found or implemented or
     15    insurance companies - we changed ­ changed. And          15   whatever. I don't know where it come from. No.
     16    the - the two guys that are, are really, really          16       Q. Is that the mission statement ofGregory
     17    good. And they're working with us pretty daily on        17   Trucking Company, Incorporated?
     18    everything.                                              18      A. Yes. It would be good. Yes.
     19       Q. But as far as technology goes for the              19      Q. Do you believe that Gregory Trucking has
     20    trucks, any technology been put into the trucks?         20   responsibly met the needs, desires, and wants of
     21              MR. O'CONNOR: Objection.                       21   society?
     22       A. Well, some trucks has got - you know,              22            MR. O'CONNOR: Objection.
     23    they - they got these electronic logs, but               23      A. Well, every time we go out there, yes,
     24    they've got these tracking devices and stuff. And        24   we're ­ we're doing that. They - we may not
           we ­ most of them has got some GPS stuff that            25   have all the best there is on it now, but we're




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     25


                                                         Page 123                                              Page 125
       1   helps them out there and ­ you know.                      1   working towards that.
       2      Q. [By Mr. Tangredi] And is any of that                2     Q. [By Mr. Tangredi] Do you believe
       3   for safety?                                               3   Gregory Tru -­
       4      A. Well, yeah. All ofit would -- pertains              4      A. But what we've got is safe.
       S   to safety.                                                5      Q. Okay. Do you believe Gregory Trucking
       6      Q. How do the electronic -- what did you               6   Company has responsibly met the needs, desires,
       7   call it, the electronic -­                                7   and wants of society when it put Wiley Lenue
       8      A. The -- the logs, you know, where you                8   Hooks, Jr. behind the wheel of a tractor-trailer
       9   don't use a paper log anymore. It does it. And            9   truck in August of2016?
     10    it goes direct on in to the ­ they see it down at        10             MR. O'CONNOR: Objection.
     11    tbe DMV in Raleigh aU the time, you know, and            11      A. Well, yes. He was a - he was a
     12    that. But you've got - but them dally log sheets         12   qualified CDL driver.
     13    and the back sheet, trip sheet, and the checklist        13     Q. [By Mr. Tangredi] According to who?
     14    is one of your main things. If they're doing             14     A. WeD, the DMV gave him his license.
     15    that, you're in pretty good shape. You've got one        15     Q. When was Gregory Trucking formed?
     16    and it's not checked, and you find something that        16      A. 1992.
     17    is out, then you can go through there and correct        17      Q. And where is its principal office
     18    it and discipline them on it.                            18   located?
     19        Q. Could I ask you to pick up Exhibit                19      A. 147 Lumber Drive, Harmony.
     20    Number 12, again, please? Do you have that?              20       Q. Does it have a mailing address that's
     21        A. Yes.                                              21   different?
     22        Q. Could you look at Page 5 of26? Do you             22       A. I'd say yes.
     23    have that in front ofyou?                                23       Q. What is it?




•
      24      A. I don't know what's going on here.                 24       A. It's in Union Grove.
      25      Q. Five of26.                                         25       Q. What's the mailing address?


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                                                                              33      (Pages 126 to 129)



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                                                    Page 126                                                   Page 128
       1      A. I tbink it's P.O. Box S3 or ­ yes.              1       A. I couldn't tell you no year till I got
       2     Q. Does Gregory Trucking have corporate             2   my tax -- I mean, till I looked at what the
       3   meetings?                                             3   accountant got done with. I turn ­ I Just handed
       4     A. Yes.                                             4   them to Sylvia. And I think she had to write a
       5     Q. When was the last one?                           5   little check for something, you know.
       6     A. I don't know. Probably a year, maybe             6      Q. Who owns the property at 147 Lumber
       7   two years ago.                                        7   Drive?
       8     Q. Did you attend it?                               8      A. B&C. It used to be G&G Lumber.
       9     A. Yes.                                             9      Q. SO if I had an -- an assessor's
      10     Q. Where was it held?                              10   certificate that said that Cecil Gregory and
      11     A. There at the office.                            11   Sylvia Gregory owned 147 Lumber Drive, would that
      12     Q. Who was there?                                  12   be accurate?
      13     A. Me and Martha and Sylvia.                       13      A. Probably four - four acres in there,
      14     Q. What business was discussed at the last         14   yes. But as far as where the lumber company is,
     15    corporate meeting?                                   15   there's 53 acres there with B&C. Yes.
     16        A. Well, just things that was bappening in       16      Q. Okay. So how much property does Cecil
     17    it, and how we were doing, and mostly talked about   17   Gregory have an interest in at 147 Lumber Drive?
     18    bow we could improve tbe balance sheet.              18            :MR. O'CONNOR: Objection.
     19        Q. Were minutes kept at the corporate            19      A. That four acres.
     20    meeting?                                             20      Q. [By Mr. Tangredi] What's on that four
     21      A. I think they - yeah. I'm sure they was          21   acres?
     22    minutes took. Yes.                                   22      A. Just there's one old building on it.
     23      Q. And are they kept in a -- a location -­         23   And then there's some equipment, some trucks. One
     24    a specific location?                                 24   logging outfit keeps their stuff there. And we ­




•
     25       A. Yeab.                                          25   we use it in conjunction with the other, you know,


                                                    Page 127                                                   Page 129
       1       Q. Where are they kept?                           1   ifwe need the space. It's ­ it's not got a
       2      A. They're in the file somewhere in the            2   primary use.
       3   office.                                               3           COURT REPORTER: 13.
       4     Q. Okay. Has there been a corporate                 4           (DEPOSITION EXHIBIT
       5   meeting every year since 1992?                        5           NUMBER 13 WAS MARKED
       6       A. No.                                            6           FOR IDENTIFICATION)
       7      Q. How many corporate meetings do you think        7       Q. Mr. Gregory, I want you to look at a
       8   you've had? How often do you have them?               8   document we've marked as Exhibit Number 13. And
       9      A. I - I don't know. Two or three. One             9   it consists of eight pages, double-sided Could
      10   or two -- I mean, every two or three years. Let      10   you just take a look at that?
      11   me put it that way.                                  11       A. What? Yes. Okay.
      12      Q. Okay. Does Gregory Trucking pay                12       Q. Would you agree with me that that's a
      13   dividends?                                           13   letter from my office to Gregory Trucking dated
      14      A. No.                                            14   April 7th, 2017?
      15      Q. Does Gregory Trucking have a checking          15       A. I guess. I mean, I -I'm -- I don't
      16   account?                                             16   know ifI've seen it or not.
      17      A. Yes.                                           17     Q. Well, let's look at the inside page ­
      18      Q. Does Gregory Trucking pay a salary to          18   the first page, the inside.
      19   Cecil Gregory?                                       19      A. Okay.
      20      A. I get some out at times. I'm not a             20      Q. Is that a letter from my office dated
      21   regular salaried person, no.                         21   April 7th, 2017, addressed -­
      22      Q. What was your personal income in 2017?         22      A.    Yes.
      23            MR. O'CONNOR: Objection.                    23      Q.    -- to Gregory Trucking?




•     24                                                                A.    Yes.
              A. I couldn't -- I couldn't tell you.             24
      25      Q. [By Mr. Tangredi] How about 2016?              25      Q.    Is the address on the letter correct?


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                                                 Page 130                                                   Page 132
       1      A. Yes.                                            1      Q. Is that right?
       2      Q. And ifyou look at the front page, the           2      A. Yes.
       3   cover page, do you see that it was sent by            3      Q. Okay. rm going to ask you to look at
       4   certified mail?                                       4   the next one. It's marked Exhibit Number 15. Let
       5      A. Db-buh.                                         5   me know when you're done looking at that.
       6      Q. Is that a yes?                                  6             (DEPOSITION EXHIBIT
       7      A. Yes.                                            7            NUMBER 15 WAS MARKED
       8      Q. And is it addressed properly to Gregory         8            FOR IDENTIFICATION)
       9   Trucking?                                             9      A. Yes.
      10      A. Gregory Tru ­ yes.                             10      Q. Do you see on the inside front rover
      11      Q. And is it signed for? Is that your             11   that this is a letter from my office dated April
      12   signature?                                           12   7th, 2017, to B&C Timbers?
      13      A. Yes, that's my Signature.                      13      A. Yes.
      14       Q. Okay. Do you recall seeing this letter?       14      Q. Is that the proper address for B&C
      15       A. No. I mean, I signed for it. I                15   Timbers?
      16   probably took it to the office and tben we looked    16      A. Yes.
      17   at it or something, you know.                        17      Q. If you'll look at the front page, the
      18             (DEPOSITION EXHIBIT                        18   cover page -­
     19              NUMBER 14 WAS MARKED                       19      A. Yes.
     20              FOR IDENTIFICATION)                        20      Q. -- do you see that it was sent by
     21       Q. Mr. Gregory, we're going to look at the        21   certified mail?
     22    next one called Number Four -- 14, rather. Would     22      A. Ub-bub.
     23    you take a look at that and let me know when         23      Q. And do you see that it was properly
     24    you're done.                                         24   addressed to B&C Timbers?
     25       A. Okay.                                          25      A. Yes.




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               A. Yes.
                                                 Page 131
               Q. Ifwe look at the inside frrst page-­

               Q. -- do you agree that it's a letter from
                                                                 1
                                                                 2
                                                                 3
                                                                         A. Yes.
                                                                         Q. Who signed for it?
                                                                         A. I did.
                                                                                                           Page 133
                                                                         Q. And do you see who signed for it?


       4    my office to Gregory Leasing dated April 7th,        4
       5    20171                                                5       Q. And what date?
       6       A. Yes.                                           6       A. 4/10.
       7        Q. Is it the proper address for Gregory          7       Q. 2017?
       8    Leasing?                                             8       A. Yes.
       9       A. Yes.                                           9            (DEPOSITION EXHIBIT
      10        Q. If you look at the cover -- the front        10              NUMBERI6WAS~D
      11    page, do you see that this letter -- bless you -­   11            FOR IDENTIFICATION)
      12    do you see that this letter was sent certified      12      Q. Okay. I'd ask you to please look at
      13    mail?                                               13   Exhibit Number 16.
      14       A. Yes.                                          14      A. Okay.
      15        Q. And was it properly addressed on the-­       15      Q. Ifyou look at the inside front cover of
      16    on the front page to Gregory -­                     16   Exhibit 16, do you agree-­
      17       A. Yes.                                          17      A. Yes.
      18        Q. -- Leasing?                                  18      Q. -- that that's a letter from my office
      19       A. Yes.                                          19   dated April 7th, 2017, to B S G Leasing,
      20        Q. And is that your signature receiving         20   Incorporated?
      21    this letter?                                        21      A. Yes.
      22       A. It is.                                        22      Q. Is that letter properly addressed?
      23       Q. And it's -- you -- it was received on         23      A. Yes.



•
      24    4110/21071                                          24      Q. If you'll look at the front cover
      25       A. Okay.                                         25   page -­


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                                                                             3S (Pages 134 to 137)



•
                                                   Page 134                                                   Page 136
       1      A. Yes.                                            1      Q. Okay. Okay.
       2      Q. -- do you see that it was sent by               2     A. The road tractor is, like I say, the
       3   certified mail?                                       3   power unit.
       4      A. Yes.                                            4     Q. SO is it fair to say this is a lease
       5      Q. And the address was to B S G Leasing,           5   agreement for the tractor that was involved in the
       6   Incorporated?                                         6   crash in Dalton, Mass. on -­
       7      A. Yes.                                            7      A. Yes.
       8      Q. And who signed for that certified -­            8      Q. -- August 24th, 2016? And who is this
       9      A. I did. I did.                                   9   lease agreement between?
      10      Q. On what date?                                  10      A. It's Gregory Leasing to Gregory
      11      A. 4/10/17.                                       11   Trucking.
      12      Q. Thank you. Do you recall at any time           12      Q. And just explain it to us, please.
      13   reading this letter?                                 13      A. Well, Gregory Leasing owns the vehicles.
      14      A. I read one ofthem, yes. But it's -­            14   And so it's leasing it back to Gregory Trucking.
     15    it's been, you know, a long time ago. Did I see      15      Q. And when you say-­
     16    it? Yes.                                             16      A. Gregory Trucking has to carry all of the
     17              (DEPOSITION ExmBIT                         17   insurances and stuff on it.
     18              NUMBER 17 WAS MARKED                       18      Q. Okay. So your signature appears there
      19             FOR IDENTIFICATION)                        19   on behalfof Gregory Trucking Company; is that
      20      Q. I'd like you to look at Exhibit we've          20   correct?
      21   marked as Number 17. Take a look at it and let me    21      A. Yes.
      22   know when you're done looking -­                     22     Q. Did anybody sign this on behalfof
      23      A. 17 or 39?                                      23   Gregory Leasing?
      24      Q. It's Exhibit 17, the sticker that the -­       24      A. Well, I don't know. I don't get a - I
      25   the woman puts on it -- front -­                     25   don't see no form in front of me bere, so I don't




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              A. Ob,yeab.
                                                  Page 135


              Q. And I'll represent that this is Gregory
           Trucking's response to a request for documents.
           And Document Request 39 asks for documents
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                     know.

                                                                     you know?
                                                                                                             Page 137


                                                                        Q. Who created this -- this document; do

                                                                        A. I don't know if the ­ whoever does them
       5   evidencing a lease, rental. or borrowing agreement    5   for us there at the trucking company or the
       6   for the tractor and/or trailer involved in the        6   leasing company. I don't know who.
       7   crash on August 24th, 2016, in Dalton, Mass. And      7      Q. Okay. So this -- this is a document
       8   the response is to see the lease agreement            8   that memorializes an agreement between Gregory
       9   attached as Exhibit 39. Do you see that lease-­       9   Leasing and Gregory Trucking -­
      10      A. Yes.                                           10      A. Yes.
      11      Q. -- agreement? Could you take a look at         11      Q. -- is that right? And Gregory Leasing
      12   that?                                                12   is leasing a truck that Gregory Leasing owns to
      13      A. Yes.                                           13   Gregory Trucking?
      14      Q. Have you seen it before today?                 14      A. Yes.
      15      A. Well, I seen it ­ well, I -- I've              15      Q. And this is for the truck that was in
      16   signed. it. Yes.                                     16   the crash?
      17      Q. Okay. What's it dated up in the upper          17      A. Yes.
      18   right-hand comer?                                    18      Q. Okay. And it's notarized by Martha
      19      A. January 1,2016.                                19   Somers -­
      20      Q. Could you tell us what this document is?       20      A. Yes.
      21      A. It's wbere, I guess, we added the road         21      Q. -- is that correct? And is it fair to
      22   tractor back to the -- back to the trucking          22   say that Martha Somers was an employee ofGregory
      23   company.                                             23   Trucking at the time?




•
      24      Q. Who is "we?" And what's a road tractor?        24      A. No.
      25      A. "We" is me, Cecil.                             25      Q. No. Was she an employee ofGregory


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                                                                            36 (Pages 138 to 141)



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                                                Page 138                                                  Page 140
       1   Leasing at the time?                                  1       Q. Was it on there before this vehicle was
       2       A. No.                                            2   leased to Gregory Trucking?
       3       Q. Who was she employed by-­                      3       A. When it was retagged, all ofit would
       4       A. Well, she's employed - or paid through         4   have had to have been re-verified. But, yes, it
       5   B&C.                                                  5   was running previously. And as far as Number 23,
       6       Q. Did Gregory Trucking do anything to this       6   it kept that number. And I'd say the same numbers
       7   tractor after it leased it?                           7   would have been on the truck. Yes.
       8       A. Do anything to it? Well­                       8       Q. Okay. So are all the trucks given a
       9       Q. To-­                                           9   number?
     10        A. - we made sure it was roadworthy. Yes.        10       A. Yes.
     11    If - we checked it over and done all the - the       11       Q. Okay. Is there any significance to the
     12    prepping on it it takes to -- to get you a tag and   12   number they're given?
     13    get on the road.                                     13       A. Well, it's just a number. You know, you
     14        Q. Do you know if they ifOregory                 14   pick one out.
     15    Trucking had to do any repairs to it?                15       Q. Out of-- randomly or do they go sequen
     16        A. I do not know.                                16   -- in order?
     17        Q. Do you know if -­                             17       A. Well, we were going in order, yes. We
     18        A. You know, I know it was okay when it was      18   did.
     19    parked. But, you know, I'm sure they done a good     19       Q. Okay.
     20    service and an oil change and -­                     20       A. So in the course of time, I'd say that
     21        Q. When was -­                                   21   Truck Number 23 was the 23rd one we bought.
     22        A. - tire check, our lights, you name it,        22             (DEPOSITION EXIDBIT
     23    you know, the whole thing.                           23           NUMBER18WAS~D
     24        Q. When you say you're sure they did,            24          FOR IDENTIFICATION)
     25    who-                                                 25     Q. Take a look at Exhibit Number 18. Have




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       4
              A. Yes.
                                                Page 139

              Q. -- who are you refer -- who is "they"?
              A. George would have done tbat down at ­
           at the shop - run it through the shop, you know.
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                                                          Page 141
                                                                      you ever seen Exhibit 18 before today?
                                                                          A. I had seen a picture ofthis. Yes.
                                                                          Q. Okay. What is that a picture of?
                                                                          A. It's a picture ofthe accident.
       5      Q. And - and is George an employee of              5        Q. Is that the crash in Dalton,
       6   Gregory Trucking?                                     6    Massachusetts on August 24th, 2016?
       7      A. Yes.                                            7        A. Yes.
       8      Q. Okay. So after it was leased, somebody          8        Q. And does this depict the -- the tractor­
       9   from Gregory Trucking checked out the vehicle?        9    trailer truck involved in the crash?
     10       A. Yes.                                           10        A. Yes.
     11       Q. Okay. And ifany repairs were                   11        Q. And is that Truck Number 23?
     12    necessary. they were made?                           12        A. Yes. I -- you know, I -- that's one­
     13       A. They would have done them. Yes.                13    I think, that's the number of it.
     14       Q. If any maintenance was necessary, that         14        Q. Do you see the number 23 on the truck?
     15    would have been done?                                15        A. I can't see it. I mean, you know, but
     16       A. That would have been took care of. If          16    I'm pretty sure it was 23. But that - that is
     17    we - if he couldn't bave done it, he would have      17    the truck that was involved in it. Yes.
     18    took it somewhere.                                   18        Q. Okay. Now, I understand there was a
     19       Q. Does Gregory Trucking paint the vehicles       19    trailer attached to the truck pictured in Exhibit
     20    or put any decals on it?                             20    18.
     21       A. Well, yeah. They'll have - you have to         21        A. Yes.
     22    do that. And you have to have a number on them,      22        Q. We just can't see it in Exhibit 18; is
     23    and you have to have a FM and a - and a DOT          23    that right?



•
      24   number on it. All that's on tbere. I mean,           24        A. Yes.
      25   it's-                                                25        Q. It's attached to the tractor, right?


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                                                                              37 (Pages 142 to 145)



•
                                                  Page 142                                                Page 144
       1       A. I can see just a little bit ofit.             1      A. No. I mean, I'm ­ I mean, I'm •• I
       .2      Q. Okay. Fair enough. Did Gregory                2   know that .- that evidently there's •• they're
       3    Trucking own the trailer that was attached to       3   asking for more than tbe insurance. Okay. Is
       4    the­                                                4   that ­ is that wbat it is?
       5       A. No.                                           5      Q. [By Mr. Tangredi] The -- the demand is
       6       Q. -- tractor in Exhibit 18?                     6   more than the insurance. You're right about that.
       7       A. No.                                           7   Has anybody made you aware that punitive damages
       8       Q. Who owned the trailer?                        8   might not be covered under your insurance policy?
       9       A. BSG.                                          9             l\1R. O'CONNOR: Just -- object.
      10       Q. Okay. Was there a lease between B S G        10   Don't answer discussions with counsel regarding
      11    and Gregory Trucking for the trailer?              11   damages.
      12       A.   Yes.                                       12             :MR. TANGREDI: I'm not asking him
      13       Q.   Okay. Was it in writing?                   13   for the source of it. It's a fact. He can
      14       A.   I'm sure that there is in writing. Yes.    14   answer.
     15        Q.   Now, I understand that Gregory Trucking    15             l\1R. O'CONNOR: Repeat the question.
     16     has an insurance policy for this case for $1       16      Q. [By Mr. Tangredi] Has anybody told
     17     million with Wilshire Insurance Company; is that   17   Gregory Trucking that punitive damages might not
     18     right?                                             18   be covered under their insurance policy?
     19        A. Yes.                                         19      A. Well, I don't know wbat's ­ if they're
     20        Q. Have you talked with Wilshire about this     20   covered tbrough it or not.
     21     case?                                              21      Q. Have you had any discussions with your
      22      A. Well, I mean when it happened, yes, we        22   insurance company about
     23     had to turn everything in. Yes.                    23      A. I baven't. No.
     24       Q. Okay. Have -- has anybody from Gregory        24      Q. Okay. Why not?
     25     Trucking had any dealings with Wilshire since      25      A. Wen, I -- main1y, I've ­ I've always




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            initially reporting it?
                                                  Page 143


                A. Yes. I'd say that everyone kept in
            contact witb it.
              Q. Okay. Is there any correspondence,
                                                                1
                                                                2
                                                                3
                                                                4
                                                                    at the office; is that true?
                                                                                                          Page 145
                                                                    let Martha take care of the insurance end of it
                                                                        Q. I understand she -- she no longer works

                                                                       A. She'll-- she'll come in a day now and
       5    anything in writing between Gregory Trucking and    5   then. Yes.
       6    Wilshire Insurance that you're aware of?            6      Q. Is she still handling the insurance
       7       A. I didn't ­ I didn't do any ofthe              7   issues?
       8    paperwork involved in it. No.                       8      A. No. Linda does a lot of that now.
       9       Q. Have you seen any of it?                      9      Q. But Martha doesn't work for Gregory
     10        A. Wen, I - they bave showed me different       10   Trucking,doesshe?
     11     things, you know. But I can't remember if I seen   11      A. No.
     12     some specific just from Wilshire. But I do know    12      Q. SO why would she do work ­ insurance
     13     that they knew about it and ­ and they - the       13   issues for Gregory Trucking?
     14     insurance was taking care of everything.           14      A. I'm not saying that sbe's doing them.
     15        Q. Are you aware that the plaintiff is          15   You know, I don't -- I've not talked to Brookshire
     16     asking for punitive damages in this case?          16   - I mean, Wilshire about it lately. No.
     17              MR. O'CONNOR: Objection.                  17      Q. Are you aware that you're represented by
     18       A. Yes.                                          18   the same attorney that represents Mr. Hooks?
     19        Q. [By Mr. Tangredi] Do you know what           19      A. Yes.
     20     punitive damages are?                              20      Q. Do you understand that the insurance
     21              MR. O'CONNOR: Objection.                  21   company for Gregory Trucking is paying for that
     22       A. No, not really.                               22   attomey?
     23       Q. [By Mr. Tangredi] Okay. Has anybody           23      A. Yes.




•                                                                      Q. Do you know you can ask the insurance
     24     made you aware ofwhat punitive damages are?        24
     25             :MR. O'CONNOR: Objection.                  25   company for your own attorney?


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                                                    Page 146                                                 Page 148
       1       A. No.                                            1      Q. Okay. Who told you they needed a
       :2      Q. Has anybody made you aware of any              2   transport?
       3    conflict ofinterest that you may have with Wiley     3      A. Probably Brandon or either somebody
       4    Lenue Hooks in this litigation?                      4   there in the office.
       5              MR.. O'CONNOR: Objection.                  5      Q. Okay. How much notice would you have
       6       A. Yes. You know, I've not had any kind of        6   gotten, do you know, if the truck left on August
       7    dealings with him.                                   7   22nd, 2016, for Rhode Island?
       8      Q. [By Mr. Tangredi] Okay. What's your             8      A. Well, I mean, they could ­ it could
       9    understanding ofthe contlict?                        9   have come in ­ the load just come ready. Or it
     10       A. Well, I mean, I don't­                         10   could have come ready two days earlier and I
     11              MR. O'CONNOR: Objection.                   11   didn't have a truck. He couldn't find nobody.
     12        A. - I don't know. I mean, I thought that        12   Then I put one under it, you know.
     13     everybody was - that we know that Wiley was a       13      Q. When you use the phrase "comes ready,"
     14     driving it And -- and then the insurance has        14   what -. what does that mean?
     15     come in there. So I don't ­ I don't know what       15      A. The load was ­ had finished up. You
     16     else - how to answer that.                          16   know, it was ready to roD - ready to ship, ready
     17        Q. [By Mr. Tangredi] Do you know you can         17   to go to the customer.
     18     reach out to your insurance company and talk to     18      Q. Does that mean it's on - on a trailer?
     19     them about these issues?                            19      A. No. It means it's in the planer shed.
     20        A. Yes.                                          20   So he would pull down there and it would be
     21        Q. Okay. How did Gregory Trucking get the        21   loaded.
     22     job to deliver lumber to BB&S in Rhode Island?      22      Q. But it couldn't get loaded until you had
     23        A. Well, Gregory Trucking puDs lumber out        23   a truck available?
     24     ofB&C Timbers. And that load came up and so we      24       A. Yes.
     25     got it.                                             25       Q. And on the 22nd you had a truck




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                                                    Page 147
               Q. And·· and I'm talking about in general,
            not the specific date ofAugust 23rd for the load
            that went up to Rhode Island. But how did Gregory
            Trucking get to deliver to BB&S?
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                     available?
                                                                        A. Yes.
                                                                        Q. And you had a driver available?
                                                                        A. Yes.
                                                                                                             Page 149




       5        A. How did we start hauling up there?            5      Q. Did you have more than one driver
       6        Q. Yeah.                                         6   available?
       7        A. They sold lumber up there.                    7     A. They was probably aU out or either
       8        Q. Who sold lumber?                              8   Wiley signed up for that maybe ­ or Buster.
       9        A. Well, Brandon sold lumber through YeDow       9     Q. Would BB&S in Rhode Island have any
     10     Pine. And Yellow Pine sold it up there. And it      10   input as to who delivered the lwnber?
     11     was quoted delivered. And he'd get a freight rate   11      A. No.
      12    from me. And it'd come up with a number on it       12      Q. Do you know why BB&S might say that they
     13     And then if it worked, then he got the load. If     13   did?
      14    it didn't, he didn't, you know.                     14      A. They­
     15         Q. Okay.                                        15            MR.. SCHULER: Object to the form.
     16         A. He didn't get everything he quoted. No.      16      A. - Yellow Pine -- they probably didn't
     17         Q. Let's talk about the specific load that      17   even know where it was coming from, you know. I
      18    was taken from North Carolina on August 22nd,       18   mean, they could have. We do ship a lot up there
      19    201 6, to BB&S in Rhode Island.                     19   through there. But, you know, we didn't deal with
      20       A. Okay.                                         20   BB&S, nor did B&e. So it would have been through
     21        Q. How did Gregory Trucking get that job?        21   Yellow Pine. And all that would have been took
     22        A. WeD, that load came ready. And I was          22   place, you know. And BB&S would look at that
      23    told, you know, they needed a truck to take that    23   order number. And when it went in, you know, it




•
     24     load up there. So Wiley was at ­ come in or         24   - what it goes to.
      25    something, so I scheduled him for it.               25      Q. So the .. the load oflumber that went



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                                                                               39 (Pages 150 to 153)



•
                                                      Page 150                                               Page 152
      1    from B&C Timbers to BB&S on August 22nd, could         1       A. Yes.
      2    Yellow Pines have designated Gregory Trucking to       2       Q. Somebody sells -­
      3    be the delivery?                                       3       A. Yeah.
      4       A. No.                                              4       Q. -- someone-­
       5      Q. It had to come from B&C Timbers; is that         5       A. Either the - the buyer may have called
      6    right?                                                 6    him hunting it, or either Yellow Pine was seeing
       7      A. Yes. I mean, you know, we -- we're the           7.   what their needs was and they told then. And then
      8    carrier out ofthere if we are available. Yes.          8    he checks with B&C.
       9      Q. And ifnot, B&C Timbers has other                 9       Q. Okay. So as a result ofthat
     10    carriers they can use as backup?                      10    conversation, Yellow Pines needs to get some
     11       A. WeD, yes, if - they can use other               11    lumber for BB&S?
     12    people. And then some people pick their own           12       A. Yes.
     13    product up.                                           13       Q. Yellow Pines reaches out to B&C Timbers?
     14       Q. Fair enough. Take a look at Exhibit             14       A. Yes.
     15    Number 19.                                            15       Q. B&C Timbers agrees they can fill the
     16           (DEPOSITION EXHIBIT                            16    order?
     17           NUMBER 19 WAS MARKED                           17       A. Well-- well, they give them a -- what
     18           FOR IDENTIFICATION)                            18    they would deliver it for. And then I guess it
     19       A.    Yes.                                         19    was accepted.
     20       Q.    Do you recognize that?                       20       Q. Okay. They make a quote?
     21       A.    Yes.                                         21       A. Yeah. Made the quote, yes.
     22       Q.    What is it?                                  22       Q. Yellow Pines accepts it?
     23       A.    It's a delivery ticket.                      23       A. Well, he goes back. Then BB&S probably
     24       Q.    What is a delivery ticket?                   24    had to accept it.
     25       A.    Wen, it's like a bill oflading.              25       Q. And the price might have cbanged -­




•      1
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           down there.
             Q. Okay. And when would this be created?
                                                      Page 151
             Q. Do you recognize the handwriting on it?
             A. I know -- it looks like Buster signed it
                                                                  1
                                                                  2
                                                                  3
                                                                  4
                                                                          A. Yes.
                                                                          Q. -­ going to BB&S? Okay.
                                                                                                             Page 153



                                                                          A. Our price to Yellow Pine and all would
                                                                       be different than up there. I don't know what
       5     A. Well, let's go back to ­ when 8122 was,           5    kind of prices it would be, you know.
       6   what day of the week or whatever it was. You           6       Q. Okay. Well, regardless, a deal is made
       7   know, probably one ofthe girls from the office.        7    and B&C Timbers is going to sell some lumbar to
       8     Q. Okay. And is -- is this essentially a             8    Yellow Pine?
       9   bill of sale from G&G Forest Products to Yellow        9        A. Yes.
     10    Pine?                                                 10        Q. And B&C Timbers contacts Gregory
     11        A. Yes. And it says ship to there, to             11    Trucking to deliver it?
     12    BB&S.                                                 12        A. Yes.
     13      Q. Up in Rhode Island?                              13        Q. Gregory Trucking, when it gets the
     14      A. Yes.                                             14    order, has to put together a tractor and a
     15      Q. Okay. So let me see if I understand the          15    trailer -­
     16    whole -- the process for this load.                   16       A.   Yeah.
     17       A. Okay.                                           17       Q.   -- and a driver?
     18       Q. BB&S in Rhode Island calls Yellow Pine          18       A.   Yes.
     19    and says we need some lumber?                         19       Q.   And that was done?
     20       A. Or either Yellow Pine called them trying        20       A.   Yes.
     21    to sen them something. He's a broker.                 21       Q.  The tractor was owned by Gregory
     22       Q. It works that way too?                          22    Leasing, right?
     23       A. Yeah.                                           23      A. Yes.




•    24        Q. There's communication between Rhode            24      Q. On lease to Gregory Trucking?
     25    Island and Yellow Pine?                               25        A. Yes.


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•
                                                  Page 154                                                Page 156
      1       Q. The trailer was owned by B 8 G, correct?        1   backhaul already set up from us at Gregory
       2      A. Yes.                                            2   Trucking. And he had previously picked up some
       3      Q. On lease to Gregory Trucking. Gregory           3   short bauls from BB&S wbere it worked into wbere
      4    Trucking connects tractor to trailer and puts         4   it didn't hurt tbe time period. In other words,
       5   Wiley Lenue Hooks in as the driver. The truck is      5   he could get that and then it was extra money.
       6   loaded and driven to Rhode Island.                    6   Extra money for bim. And he'd still get
       7      A. Yes.                                            7   everything done in the same amount of time. And
       8      Q. Excellent. And do you know how much             8   so, you know, we did not know tbat he had taken
       9   Gregory Trucking got paid to transport this lumber    9   that until the accident. He had done it one other
     10    from North Carolina to Rhode Island?                 10   time. And it's not a policy either. But when he
     11       A. $1,800.                                        11   was with his dad and tben his motber, they did all
     12       Q. Okay. How much did Gregory Trucking pay        12   this brokering ­ or ­ and he ­ he ­ he could
     13    Gregory Leasing for leasing the vehicle?             13   fmd backhauls. He was good with stuff like tbat
     14       A. It's not been able to pay them anything.       14   Hwe had a little problem, he could ten us where
     15       Q. Didn't pay them anything?                      15   there was one at He had ways of getting on
     16       A. No. No. We haven't in a while. We'd            16   sites. But he had hauled some for BB&S on tbat.
     17    like to get started - it'd be good - but we          17   And then it was a little extra money. So they ­
     18    haven't been able to.                                18   wben ­ after he unloaded, I guess they said that
     19       Q. 80 Gregory Leasing Company leased a            19   they had a short haul. And, you know, it - it
     20    tractor to Gregory Trucking for about a year for     20   wasn't a direct thing going towards the backhaul,
     21    no compensation?                                     21   but I guess it was somewhere it didn't hurt
     22       A. Yes, it has.                                   22       Q. SO you used some - some tenns, backhaul
     23       Q. Did Gregory Trucking pay B 8 G anything        23   and short haul. I don't know what those mean.
     24    for leasing the trailer?                             24   Could you -- could you explain backhaul and short




•
     25       A. His - no, not yet.                             25   haul?


                                                  Page 155                                               Page 157
      1       Q. Okay. So B 8 G entered into a lease             1      A. Wen, they had -- bad one that's -- it
      2    agreement with Gregory Trucking to lease Gregory      2   was maybe go within a 100 miles oftheir facility.
      3    Trucking a trailer for one year for no                3   And so - and it -- you know at 450, that was a
      4    compensation; is that correct?                        4   good freight rate. And then Wiley, he made some
      5            MR. O'CONNOR: Objection to form.              5   extra money tbere. And tben it helped us on our
      6        A. Well, they -- there is a -- a price.           6   expenses up there and back. And then -- and tben
      7    And when -- wben B S G was first done, they was -­    7   after he uuloaded, he was going on to pick up his
      B    everybody was compensated. But after the              8   backhaul corning back home.
      9    bankruptcy, we have not dug out enough to where we    9       Q. Okay. So let's -let's back it up to
     10    can start doing it again.                            10   August 22nd when Mr. Hooks is in the tractor­
     11        Q. [By Mr. Tangredi] And the bankruptcy,         11   trailer truck in North Carolina with a load of
     12    was it back like in 2013 or so?                      12   lumber for BB&S on it.
     13        A. Yeah. Somewhere in there.                     13      A. Yes.
     14        Q. 80 at the time that B S G leased a            14       Q. He's still in -- on Lumber Drive. He
     15    trailer to Gregory Trucking in 2016, Gregory         15   hasn't left yet. His instructions -- or his
     16    Trucking did not pay any compensation for that?      16   mission is to drive the load to BB&S in Rhode
     17        A. No.                                           17   Island, correct?
     18        Q. Okay. And they haven't since that time;       18       A. Yes.
     19    is that-­                                            19       Q. And when he left North Carolina on the
     20        A. No.                                           20   22nd ofAugust, after that delivery, was he
     21        Q. Tell me how it came about that Gregory        21   supposed to do something?
     22    Trucking Company transported lumber from Rhode       22       A. He was - well, he had a backhaul
     23    Island -- BB&8 in Rhode Island to L P Adams in       23   already scheduled when be left North CaroHna.
     24    Dalton on August 23rd, 2016.                         24   Yes.
     25        A. Wen, Wiley - or Buster, he had a              25       Q. On the 22nd?


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                                                                            41 (Pages 158 to 161)



•
                                                Page 158                                                  Page 160
       1     A. Yes.                                             1   coordinator ­
       2     Q. Tell me about the backhaul that was              2       Q. "Their" -- "their" who? I'm-­
       3   scheduled when he left on the 22nd ofAugust.          3       A. BB&S's­
      4        A. I don't reaDy know where it was at             4       Q. Thank you.
       5   because I - that was already taken care of. But       5       A. - traffic guy said - said we've got
       6   I know it was for - I think for a load of rail        6   this what we can a short haul, you know. And
       7   ties -- I ain't sure ­ or maybe some Canadian         7   Wiley took it.
      8    lumber out -- out of one of their drop-offs. I        B       Q. Okay. And BB&S asked Mr. Hooks, "Are
      9    don't know. But, anyhow, she ha already had it-­      9   you interested in driving some lumber to L P Adams
     10    and I'm pretty sure it was for Universal because     10   in Dalton." Is that what you're calling the short
     11    he said it was in Monson. So, yes, he - he ­         11   haul?
     12    when he left there, he knew wbere he was to be       12       A. Yes.
     13    going. But after he omoaded, I guess they asked      13       Q. Okay. And did - Mr. Hooks, before
     14    him if he could do that short run. And - and be      14   agreeing to accept that short haul, did he
     15    thought it would -- he could work it in and it       15   communicate with anybody at Gregory Trucking about
     16    wasn't going to affect the -- the other baul, you    16   it?
     17    know.                                                17       A. No. We didn't know it till later, you
     18        Q. SO I need to move a lot slower than you       18   know. Like I said, he had done it before. And it
     19    on this.                                             19   - and he would send us his paperwork. And then
     20        A. Okay.                                         20   we'd invoice them. But I think he did call that
     21       Q. SO we're back in North Carolina on the         21   first time. But I don't know - he didn't the
     22    22nd. And Mr. Hooks is going to go to Davisville,    22   second time. He just accepted the load and went
     23    Rhode Island and drop off lumber.                    23   on. And he made "X" amount and we did.
     24       A. Vb-huh.                                        24       Q. SO this was not the first time that Mr.
     25       Q. Is that a yes?                                 25   Hooks had agreed to do one ofthese short hauls?




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      4
               A. Yes.
                                               Page 159


               Q. And on the 22nd, his understanding, Mr.
           Hooks, after he drops off the lumber in Rhode
           Island, he's supposed to go to Monson empty
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                         A. Yes.
                                                                                 MR. O'CONNOR: Objection.
                                                                                                          Page 161



                                                                         Q. [By Mr. Tangredi] And specifically a -­
                                                                     this isn't the first time Mr. Hooks agreed to do a
       5   from Rhode Island to Monson ­                         5   short haul for BB&S?
      6        A. Yes.                                           6       A. No. He had done one -- some before.
       7       Q. -- and pick something up in Monson to          7       Q. And Gregory Trucking was aware ofthe
      8    drive it back to North Carolina?                      8   first one?
       9       A. Yes.                                           9       A. Yes. And we ­ you know, we invoiced it
     10        Q. That was what everybody thought was           10   just like we invoiced the second one ­
     11    going to happen on August 22nd ­                     11       Q. Okay.
     12        A. Yes.                                          12       A. -and all.
     13        Q. -2016.                                        13       Q. And does Gregory Trucking give Mr. Hooks
     14        A. When be left, that was the way it was.        14   authority to do that?
     15        Q. Okay. And that was all that Gregory           15               MR. O'CONNOR: Objection.
     16    Trucking had told him to do; is that right?          16       A. Wen, he wasn't ­ we didn't say take
     17        A. Yes.                                          17   it. You know, I'm sure ifbe'd called the office,
     18              MR. O'CONNOR: Objection.                   18   we would have said yes. I mean, there •• it was
     19        Q. [By Mr. Tangredi] Okay. Got it. So            19   nothing that was out of the ordinary or anything.
     20    now, Mr. Hooks makes his delivery in Rhode Island,   20   And, you know, it was an extra 450 for the truck,
     21    unloads the truck, and his truck is empty; is that   21   you know. And he'd get 25 percent ofthat, so
     22    right?                                               22   that would be]p on that. And then ­ and then
     23        A. Yes.                                          23   he'd have his freight back in, you know.




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     24        Q. What happened then?                           24       Q. [By Mr. Tangredi] Why does he get 25
     25        A. My understanding is their traffic             25   percent ofthat?


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                                                                               42 (Pages 162 to 165)



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                                                   Page 162                                                   Page 164
       1     A. WeD, we got rates going from Union               1      Q. L P Adams in-­
       2   Grove to the different places, but aD backhauls       2      A. L P Adams. I'm sorry.
       3   pay them a percentage.                                3      Q. And BB&S determines that price?
       4     Q. And who determines the price for the             4      A. Yes. They probably gottheir set ones
       5   backhaul?                                             5   like we do, you know.
       6      A. Most of the time the shipper.                   6     Q. And it's okay with Gregory Trucking for
       7      Q. And the shipper in this case would have         7   Mr. Hooks to do this?
       8   been who?                                             8           MR. O'CONNOR: Objection.
       9      A. Buh?                                            9         A. Yes.
      10      Q. And the shipper in this case would have        10         Q. [By Mr. Tangredi] Who would be the
      11   been who? And by "this case," I mean on August       11   dispatcher for this short haul?
      12   23rd,2016.                                           12      A. I don't know who it would be. It would
      13      A. WeD, I knew what we was going to get           13   be their traffic person that looks after aD their
      14   going up. It varies coming back, you know. There     14   shipments.
      15   at Monson I don't know exactly what that load paid   15      Q. Okay. But Mr. Hooks never reached out
      16   coming back. But then if it had went to New          16   to anybody at Gregory Trucking to get authority
      17   Windsor or ifit had went other places - we have      17   before making the trip from Rhode Island to
      18   several places that we go to and backhaul from.      18   Dalton; is that right?
      19      Q. Who determines the price for the               19             MR. O'CONNOR: Objection.
      20   backhaul from Rhode Island to Dalton?                20      A. We did not know about ­ we did not know
      21      A. Most of the time it's the shipper from         21   that he had taken that load till he caDed in that
      22   up there.                                            22   morning after -- when they had the accident. And
      23      Q. And the shipper in this case would be          23   then we asked why he was there. And then he told
      24   who?                                                 24   us.
      25                                                        25         Q. [By Mr. Tangredi] Now, I get the




•
             A. WeD, the shipper in this case was out


                                                   Page 163                                                  Page 165
       1   of Monson. I think it would have been Universal       1   impression you're not familiar with the geography
       2   Forest. I'm not sure.                                 2   between Rhode Island, Monson, and Dalton, or are
       3      Q. Okay.                                           3   you?
       4      A. I'm ­ you know, it should be in the             4         A. No.
       5   record there. But we had to caD and cancel that       5         Q. Okay. After Mr. Hooks made his delivery
       6   one.                                                  6   to Dalton for BB&S ­
       7      Q. SO, I'm sorry. I'm not being clear.             7      A. Uh-huh.
       8   When Mr. Hooks is in Rhode Island with an empty       8      Q. - and unloaded the truck there, was
       9   truck -­                                              9   there any communication with Gregory Trucking?
      10      A. Oh,okay.                                       10            MR. O'CONNOR: Objection.
      11      Q. -- and he's -- accepts a back a short          11      A. I don't know if he caDed and made­
      12   haul to L P Adams in Dalton -­                       12   told them that he was on his way to his backhaul
      13      A. Okay.                                          13   or not. You know, I don't think so.
      14      Q. -- who determines the cost of that, the        14         Q. [By Mr. Tangredi] And the -­
      15   price that Gregory Trucking is going to -­           15     A. I mean, we just assumed that he was
     16       A. BB&S set it.                                   16   going to pick up his backhanl.
     17       Q. And is BB&S considered the shipper in          17      Q. And the first that Gregory Trucking ever
     18    that case?                                           18   learned that there was a short haul is after the
     19              MR. O'CONNOR: Objection.                   19   crash?
     20       A. Be would ­ yes.                                20         A. Yes.
     21       Q. [By Mr. Tangredi] Is -- is that                21         Q. Okay. Is there anybody that would have
     22    accurate?                                            22   learned about the short hanl before the crash?
     23       A. Well, they would ­ yes. I mean, they           23         A. Not unless he caned in and told us.




•
     24    - it was their bill of lading going to Beam or       24         Q. Okay. And being the representative here
     25    wherever it went. Yes.                               25   today from Gregory Trucking, are you aware of


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                                                Page 166                                                   Page 168
       1   anybody that Mr. Hooks called?                        1              NUMBER20WAS~D
       2      A. No.                                             2             FOR IDENTIFICATION)
       3      Q. Have you checked with anybody or                3       A. Yes.
       4   everybody?                                            4       Q. And there's a front and a back to it.
       5      A. Well, yes. I mean, I've talked to               5   So rd ask you to please look at the back as well.
       6   people. I mean, but - they have - and when they       6   What is Exhibit Number 20?
       7   told us, you know, we - and we figured out where      7      A. Okay.
       8   he was to where he was supposed to be. Now, when      8      Q. What is it?
       9   we found out that he had taken another load, a        9      A. It's an invoice to BB&S for that ­
      10   short haul, you know, then we knew.                  10      Q. From-­
      11      Q. Did BB&S pay Gregory Trucking for the          11      A. - for a load haul.
      12   short haul for the delivery from Rhode Island to     12      Q. Who is it from?
      13   Dalton, Mass.?                                       13      A. It's from BB&S Treated ­ no. It's from
      14      A.. They paid for the delivery over to Adam,      14   Gregory Trucking.
      15   yeah. But to go to Monson, no.                       15      Q. And it's a bill to BB&S; is that fair?
      16      Q. To -- to L P Adams -­                          16      A. Yes. It's an invoice.
      17      A.. Yeah.                                         17      Q. And it's for $450?
      18      Q. -- in Dalton -­                                18      A. Yes.
     19       A. Yes. They did pay their invoice, yes.          19      Q. And is this for the -- for what we've
      20      Q. Okay. Did Gregory Trucking send an             20   been calling the short haul from BB&S in Rhode
      21   invoice to BB&S for that short haul?                 21   Island to L P Adams in Dalton on August 24th?
      22      A. I'm sure we did.                               22      A. Yes. Let's see. You said what date on
      23      Q. Okay. But Gregory Trucking didn't learn        23   it?
      24   about the short haul until after it was completed?   24         Q. Well, I believe Mr. -­
                                                                25         A. This is 9/8, so that might have been the




•
      25      A. Yes.


                                                Page 167                                                  Page 169
       1      Q. Do you know how much Gregory Trucking -­        1   first one.
       2   and I'm sorry if I asked you this -- how much         2       Q. This is September 1st, 2016, this
       3   Gregory Trucking was paid by BB&S for that short      3   invoice.
       4   haul delivery?                                        4      A. Okay.
       5      A.. I think it was 450 bucks.                      5       Q. SO this would be after the crash?
       6      Q. And then did Gregory Trucking give 25           6      A. Okay.
       7   percent ofthat to Mr. Hooks?                          7      Q. The invoice.
       8      A.. Oh, I'm sure we paid what we're supposed       8      A. Okay. Yes, okay.
       9   to. Yes.                                              9      Q. This would be approximately a week after
     10       Q. Okay. Had Gregory Trucking ever                10   the crash.
     11    delivered for BB&S prior to the incident -- strike   11       A. Okay.
     12    that. Has Gregory Trucking ever been hired by        12       Q. Is that fair to say?
     13    BB&S to deliver anything besides the delivery on     13      A. Yes.
     14    August 23rd?                                         14      Q. SO does this bill represent the
     15       A. They had been another -- one delivery          15   charge -­
     16    before that one. I don't know how - if it was a      16      A.. Yes.
     17    week, two weeks or how long. But they - they had     17      Q. -- Gregory Trucking charged BB&S for the
     18    doue one before. And I don't know ifit went to       18   delivery from Rhode Island to Dalton, Mass.?
     19    the same place or not.                               19      A. Yes.
     20       Q. Okay. And did that involve Mr. Hooks as        20      Q. Okay. I'm asking you to look at Exhibit
     21    well?                                                21   marked as Number 21, please.
     22       A.. Yes. I mean, he -- he got them.               22              (DEPOSITION EXHIBIT
     23       Q. Would you look at Exhibit Number 20,           23              NUMBER2IWAS~D




•    24
     25
           please?




    336-510-8515
                    (DEPOSmON EXIDBIT
                                                                24
                                                                25


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                                                                               FOR IDENTIFICATION)
                                                                           A. Okay.



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                                                Page 170                                                 Page 172
       1      Q. Do you recognize what that is?                  1   Monson.
       2      A. It's a BB&S Lumber of New Eng history           2       Q. [By Mr. Tangredi] Okay. IfDalton-­
       3   sorted by date. Yes.                                  3      A. But he was going to be in there
       4      Q. And are these deliveries that Gregory           4   somewbere, yes.
       5   Trucking made on behalfofBB&S?                        5       Q. If! were to suggest to you that Dalton
       6      A. Yes, it is. I see where they ­ they             6   does not lie within -­ between Davisville, Rhode
       7   was evidently three that was taken over there at      7   Island and Monson -­
       8   some time because there's three 450s and a 600.       8      A. Vb-huh.
       9      Q. SO there are a few dates at the top.            9      Q. -- would you agree with me that Mr.
      10   There's an I-N-V date, a due date, and a post        10   Hooks and Gregory Trucking would not have been in
      11   date. Do you see those?                              11   Dalton except to deliver BB&S's lumber?
      12      A. Where?                                         12            MR. O'CONNOR: Objection.
      13      Q. At the top.                                    13            MR. SCHULER: Objection.
      14      A. Yeah. Post date, yeah.                         14            MR. TANGREDI: You can answer that.
      15      Q. And to the left ofthat, due date and           15            MR O'CONNOR: You can answer.
      16   then I-N-V date. Perhaps invoice date.               16      A. Yes.
      17      A. Yes.                                           17      Q. [By Mr. Tangredi] You agree with that.
      18      Q. Do any ofthose reflect when things were        18            MR SCHULER: Objection.
      19   delivered?                                           19      Q. [By Mr. Tangredi] Do you know Gregory
      20      A. Now, that's a -- I guess the ­ when            20   Lumber Company in Java, Virginia?
      21   they -- I - I don't do the invoicing, so I really    21      A. Yes.
      22   can't say. But I'd say either we delivered them      22      Q. You do. How do you know them?
      23   or we invoiced them on that post date and then the   23      A. They bring a lot of lumber down to B&C.
      24   due date is behind it.                               24   They're a sawmill up in Java. No relation.
      25                                                        25




•
              Q. Okay. But does this document reflect                   Q. Just coincidental names?


                                               Page 171                                                  Page 173
       1   that BB&S hired Gregory Trucking four different       1      A. Just coincidental. We've known them.
       2   times between 2015 and 2016?                          2   But they're reaDy good and they supply a lot of
       3      A. Yes, it would.                                  3   lumber.
       4      Q. That reflects four different deliveries         4      Q. And they supply a lot oflumber to B&C
       5   forBB&S?                                              5   Timbers?
       6      A. Yes.                                            6      A. Yes.
       7      Q. Okay. Do you agree that the only reason         7      Q. And does Gregory Trucking do any hauling
       8   Gregory Trucking and Wiley Lenue Hooks were in        8   for Gregory Lumber Company out of Java, Virginia?
       9   Massachnsetts on 8/24/2016 was to deliver lumber      9      A. They do not do it for Gregory Lumber
      10   forBB&S­                                             10   Java. They do it for B&C. B&C -­ if we pick up
      11            MR O'CONNOR: Objection.                     11   up there, B&C pays the freight. H they deliver,
     12              MR. SCHULER: Objection.                    12   then B&C pays them for the whole amount, for the
     13       Q. -- to L P Adams?                               13   lumber plus their freight.
     14             MR O'CONNOR: Objection.                     14            MR TANGREDI: Bless you. There's
     15       A. Yes.                                           15   two there.
     16       Q. [By Mr. Tangredi] Do you agree that            16            (DEPOSITION EXHIBIT
     17    Gregory Trucking and/or Wiley Lenue Hooks would      17           NUMBER22WAS~D
     18    not have been in Dalton, Massachusetts on Augnst     18           FOR IDENTIFICATION)
     19    24th, 2016, except for having to deliver BB&S's      19     Q. [By Mr. Tangredi] Would you let me know
     20    lumber to L P Adams?                                 20   when you're done looking at Exhibit Number 22.
     21             MR. SCHULER: Objection.                     21     A. Okay.
     22       A. I - I don't really know the -- the             22     Q. Do you know what Exhibit Number 22 is?
     23    route or what, you know, that it would take to do.   23     A. It's ­ I guess a load we picked up.




•    24
     25
           But, yes, he delivered that load. And I ain't
           familiar of the route he would take from there to




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                                                                24
                                                                25


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                                                                       Q. Who is "we?" And picked up from where?
                                                                       A. Gregory Trucking.




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                                                                          45 (Pages 174 to 177)



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                                               Page 174                                                  Page 176
       1       Q. Okay. And a load that Gregol)' Trucking       1   the date it was to be shipped?
       2   picked up from who and where?                        2       A. That he would have been picking his load
       3       A. It says Sitka Forest Products out of          3   up, yes.
      4    Montreal. Canada. But I'd say we didn't pick it      4      Q. From Monson, shipped back down to North
       5   up there. We had to pick it up at a relay store.     5   Carolina?
       6       Q. Okay. Do you see where it says Shipper        6      A. Yes.
       7   Number One in -­                                     7      Q. But on the 23rd, he was in transit
      8        A. Yes.                                          8   between Rhode Island and L P Adams in Dalton,
      9        Q. -- in the document?                           9   correct?
     10        A. Yes.                                         10      A. Yes.
     11        Q. Who's Shipper Number One? Who is -- who      11      Q. And he delivered his load -- the load
     12    is listed?                                          12   for BB&S in Dalton on the morning ofthe 24th,
     13        A. Eagle Logistics.                             13   correct?
     14        Q. And where are they located?                  14      A. Yes. On the 24th?
     15        A. Monson, Mass.                                15      Q. And then he -­
     16        Q. SO is this the backhaul that was             16      A. Monday night -- okay.
     17    scheduled when Wiley Lenue Hooks left North         17      Q. -- and then he was on his -- Mr. Hooks
     18    Carolina on August 22nd, 2016?                      18   was on his way from Dalton to Monson -­
     19        A. Yes.                                         19      A. Yes.
     20        Q. Okay. And I'm assuming because of the        20      Q. - to pick up his backhaul? But he was
     21    crash this was never picked up?                     21   originally supposed to be in Monson on the 23rd,
     22        A. No.                                          22   correct?
     23        Q. Did it ever get brought down to -­           23             MR. O'CONNOR: Objection.
     24        A. I'm -- yeah. I'm sure somebody got it        24      A. WeD, it says the 23rd. 1- I -- I
     25    picked up within a day or so. They may have done    25   don't know how that -- how that works. I do know




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                                               Page 175
           it that very day, you know, somebody.
               Q. SO this -- is it fair to say that this
           backhaul from Exhibit Number 22, Gregory Trucking
           was going to get $700 for -­
                                                                1
                                                                2
                                                                3
                                                                4
                                                                                                         Page 177
                                                                    if you're not there by two o'clock on the previous
                                                                    day - I mean, the ­ that day, you have to wait
                                                                    over. They're - they close at dinnertime,
                                                                    about­
       5       A. Yes.                                          5      Q. [By Mr. Tangredi] Okay.
      6        Q. -- that backhaul?                             6      A. - but-­
      7        A. Yes.                                          7      Q. And it's the testimony ofGregoI)'
       8       Q. But that never happened?                      8   Trucking that when Mr. Hooks left North Carolina
       9       A. No.                                           9   on the 22nd this backhaul was already arranged?
     10        Q. Okay. Does Exhibit Number 22 tell us         10      A. Yes. He did have a backhaul arranged.
     11    anything about when this backhaul was arranged?     11      Q. Regarding the truck that Mr. Hooks was
     12        A. No. But I'm sure if he already knew it       12   driving on the date of the crash, was Gregol)'
     13    before he left, it was done that day or the day     13   Trucking aware that there were any problems
     14    before maybe. I don't know.                         14   mechanically with the trnck?
     15        Q. Do you see in the top right corner where     15      A. No.
     16    it talks about today's date and shipment date?      16      Q. Any problems with the brakes?
     17        A. Yeah.                                        17      A. No.
     18        Q. Both dates are the same, August 23rd,        18      Q. Any problems with the steering?
     19    2016; is that correct?                              19      A. No.
     20        A. Yes.                                         20      Q. The exhaust?
     21        Q. SO does that mean that Mr. Hooks was         21      A. No.
     22    supposed to be in Monson on                         22      Q. Any problems with the fuel system?
     23        A. He was supposed to be there, I guess, on     23      A. No.




•
     24    the 23rd.                                           24      Q. The lighting system?
     25        Q. And that was the was supposed to be          25      A. No.


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                                                                          46 (Pages 178 to 181)



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                                               Page 178                                                 Page 180
       1      Q. Suspension?                                   1   involved in doing any research on it.
       2      A. No.                                           2       Q. SO this policy on Page 1,008, this talks
       3      Q. Any problem with the tires?                   3   about what a driver is supposed to do when they're
       4      A. No. When he left North Carolina ­             4   in an accident; is that right?
       5            MR. O'CONNOR: Just wait for his ­          5       A. Yes.
       6      A. - to haul that ­                              6       Q. Okay. And does it state that [as read]
       7            MR. O'CONNOR: - just wait for a            7   "The following steps will be followed in the event
       8   question. You're fine.                              8   ofa vehicle accident/incident." Does it say
       9      Q. [By Mr. Tangredi] Was the crash               9   that?
      10   investigated by Gregory Trucking?                  10       A. Yes.
      11      A. No. The insurance company. The DOT.          11       Q. And these aren't optional, are they?
      12      Q. Did anybody from Gregory Trucking do any     12   These are ­ these are steps that must be
      13   investigation?                                     13   followed, is that right ­
      14      A. No.                                          14             MR. O'CONNOR: Objection.
      15      Q. Okay. Let's go back to the Gregory           15       Q. -- according to the fleet safety policy
      16   Trucking Fleet Safety Program. And I think we      16   ofGregory Trucking?
      17   might be Exhibit Number -- anybody? A little       17       A. Yes.
      18   help?                                              18       Q. [By Mr. Tangredi] Okay.
      19            MR. O'CONNOR: Nine.                       19       A. According to that. But when you're told
      20      Q. [By Mr. Tangredi] Nine. Exhibit Number       20   not to do certain things by our ­ the DOT and/or
      21   Nine. Do you have it?                              21   the insurance company, that stops some of this.
      22      A. Oh, okay. Yes.                               22       Q. Okay. But at the scene of the crash,
      23      Q. Could you go to Page 1,008 of Exhibit        23   nobody had told anybody not to do anything, right?
      24   Number Nine?                                       24             MR. O'CONNOR: Objection.
      25      A. Okay.                                        25       A. No.




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              Q. Do you have that?
             A. 1,002?
             Q. 1,008.
             A. Oh. Yes.
                                               Page 179
                                                               1
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                                                               4
                                                                                                        Page 181
                                                                       Q. [By Mr. Tangredi] Okay. So this would
                                                                   apply to what Mr. Hooks should have done after the
                                                                   crash ifhe was following the Gregory Trucking
                                                                   fleet safety program, correct?
       5     Q. And does that -- at the -- around the          5       A. Yes.
       6   middle ofthe page -- talk about Gregory             6       Q. And ifwe look down, it says he should
       7   Trucking's Fleet Safety policy regarding vehicle    7   can the police, correct?
       8   accident reporting and investigation plan? Is       8       A. Yes.
       9   that what it says?                                  9       Q. Do you know ifhe did that?
      10      A. Where at now?                                10       A. Yes. I'm sure that that was taken care
      11      Q. Page 1,008-.                                 11   of.
      12      A. Vehicle accident reporting and               12       Q. How do you know that happened?
      13   investigation plan. Yes.                           13       A. They had showed up.
      14      Q. Okay. So is -- is that Gregory               14       Q. But do you know ifMr. Hooks called the
      15   Trucking's Fleet Safety Program -.                 15   police?
      16      A. Yes.                                         16       A. I - I - my understand is he did dial
      17      Q. -- vehicle accident reporting and            17   the 911 or whatever to get some assistance.
      18   investigative plan? Is that what that is?          18       Q. Where do you •• where do you get that
      19      A. Yes.                                         19   from -- that information from?
      20      Q. Okay.                                        20       A. Where did he get that information?
      21      A. Now, we did send three guys up there to      21       Q. Where do you get that information from?
      22   pick up. And they told us not to .- they told us   22   Why do you -- how do you know that?
      23   to pick the truck up. We brought it back. They     23       A. Well, I was told that he did. Now, I ­




•     24   told us not to do nothing till the DOT comes in.   24   I did not talk to Wiley ­
      25   And our insurance company asked us to not get      25       Q. Okay.


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                                                                             47 (Pages 182 to 185)



•
                                                     Page 182                                              Page 184
       1      A. -- about it.                                    1   one out, right?
       2      Q. Who -- who told you he did?                     2      A. WeD,yes.
       3      A. I beard it in tbe office. Who told me,          3      Q. And it's -- actually there's an appendix
       4   I don't know.                                         4   to the Gregory Trucking Fleet Safety Program that
       5      Q. Okay. Another thing the driver is               5   would be that form, right?
       6   supposed to do is locate witnesses and get            6      A.   Yes.
       7   important infonnation from them, including names,     7      Q.   And Mr. Hooks did not fill one out?
       8   addresses, and phone numbers. Is that something a     8      A.   No, be didn't.
       9   driver is supposed to do after a crash?               9      Q.    And Gregory Trucking did not require him
      10     A. Yes. My understanding was tbat tbey             10   to fill one out; is that correct?
      11   were witnesses tbat tbey came up and was tbere.      11      A. No.
      12   Yes.                                                 12      Q. Ifwe go to Page 1,009, do you see where
      13     Q. And did Mr. Hooks provide Gregory               13   it says -- and it's highlighted in green -- [as
      14   Trucking with a list ofthe witnesses and their ­     14   read] "The goal ofthis reporting and
      15   including their names and addresses and phone        15   investigation process is not to find fault, but to
      16   numbers?                                             16   determine the root cause so that corrective
      17      A. No.                                            17   actions can be made in order to eliminate future
      18      Q. Okay. There's another requirement              18   accidents or incidents." Do you see where it says
      19   saying to take photos of the accident. Did Mr.       19   that?
      20   Hooks take any photos of the accident?               20       A. Yes.
      21      A. Yes. Tbey were some pbotos sent back           21       Q. And is that the policy of Gregory
      22   from bis phone.                                      22   Trucking at the time of this crash?
      23      Q. He took some phone -- photos?                  23     A. Yes. We do not want to have accidents
      24      A. Ub-hub.                                        24   and we try to avoid them and ­
      25      Q. Do you know ifhe took those photos?            25      Q. What was the root cause ofthis crash?



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              A. WeD, I seen them. Let me putittbat

           him.
                                                     Page 183


           way. Who took them, but I guess they came from

              Q. Do you know ifthey've been provided in
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                             MR. O'CONNOR: Objection.
                                                                                                           Page 185


                                                                        A. He says the - Wiley - that the sun
                                                                     blinded him and he didn't catch that light. That
                                                                     there was a dog that ran over in front or
       5   this case?                                            5   something. That's -- that's what I heard.
       6      A.    No.                                          6      Q. [By Mr. Tangredi] Okay. Who did you
       7      Q.    No, you don't know or, no, they weren't?     7   hear that from?
       8      A.    I don't know that they bave or not.          8      A. I don't know.
       9      Q.    Have you -- do you know ifthose photos       9      Q. Was it Mr. Hooks?
     10    still exist?                                         10      A. Tbat's what Mr. Hooks said. Whether it
     11       A.    No. But I'd say they are, yes.              11   come from him, I don't know. I - I didn't talk
     12       Q.    That they do still exist?                   12   to him after tbat, no.
     13       A.    I would tbink so.                           13      Q. What's your def -- what's the definition
     14       Q.    Were they sent from Mr. Hooks' cell         14   -- Gregory Trucking's definition ofa root cause?
     15    phone?                                               15      A. A root cause?
     16       A. I don't know. I can't say for sure.            16      Q. Well, it's in your policy. I -- what
     17       Q. Do you know who they were sent to?             17   does it mean?
     18       A. I just seen them in tbe office. And I          18     A. Where is that -- where is that? Wbich
     19    - yon know, I can't - I just don't know.             19   number is tbat?
     20       Q. And a -- a requirement is that the             20      Q. Ifyou -- Page 1,009.
     21    driver fill out a vehicle accident report fonn.      21      A. Yes.
     22    Did Mr. Hooks fill out a vehicle accident report     22      Q. Is it highlighted in green on yours?
     23    fonn?                                                23   [As read] "The goal of this reporting and
     24       A. No. The - the police did.                      24   investigation process is not to frod fault, but to
     25       Q. Okay. But Mr. Hooks is supposed to fill        25   determine the root cause so that corrective action


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                                                    Page 186                                             Page 188
       1   can   lt
                      .....                                      1   that the root cause was sun and a dog and a light
       2       A. Yes. Okay.                                     2   changing?
       3       Q. -­ "be made." What does root cause mean        3      A. I don't know what the - how the police
       4   at Gregory Trucking?                                  4   report wrote it up, you know.
       5       A. What eaused the accident.                      5      Q. But rm asking what Gregory
       6       Q. Okay. What caused this crash?                  6   Trucking's -­
       7              MR. O'CONNOR: Objection.                   7      A. They said that the sun blinded him
       8       A. Wiley didn't make the -- he -- the sun         8   coming in there that morning or whenever.
       9   was in his eyes from what I heard, that - and he      9      Q. But I'm looking for Gregory Trucking's
      10   - the light changed on him and he didn't get it      10   opinion on what the -­
      11   in time.                                             11             MR. O'CONNOR: Objection.
      12       Q. [By Mr. Tangredi] Is there something          12      Q. - root cause was -­
      13   else about a dog?                                    13             MR. O'CONNOR: Objection.
      14       A. Yeah. They said that a dog run. That's        14      Q. --like it says in their policy.
      15   - I heard that, but, you know ­                      15      A. I don't know.
      16       Q. As far as you know there was nothing          16      Q. [By Mr. Tangredi] Was a root cause
      17   wrong with the tractor or the trailer that Mr.       17   analysis ever done by Gregory Trucking after this
     18    Hooks was driving -­                                 18   crash?
     19        A. No.                                           19      A. Not written, no. But, verbally, I did
     20        Q. -- before the crash? After Mr. Hooks          20   have conversations on it.
     21    left North Carolina driving the tractor and          21      Q. Was Mr. Hooks ever disciplined by
     22    trailer on August 22nd, 2016, did he call back to    22   Gregory Trucking after this crash?
     23    Gregory Trucking to report any problems with the     23      A. Well, he never - no longer had a job,
     24    truck, the tractor or the trailer?                   24   no.
     25        A. I didn't hear orany.                          25      Q. Well, is that because of anything



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           time?
                                                    Page 187
                              MR. TANGREDI: Okay. How's our

                       MR. MEEHAN: It's on the record··
                                                                 1
                                                                 2
                                                                 3
                                                                     Gregory Trucking did?
                                                                                                         Page 189


                                                                         A. Yes. And It's - weD, you know, he was
                                                                     Incarcerated for a long time too. But prior to
                                                                     that, yes, we ­ we ­ term - we terminated him
       4   ob, it's -- it's five of six .- 5:55 or               4
       5   thereabouts.                                          5   till we got everything done and knew what was
       6               MR. TANGREDI: And we're going to          6   happening. And now it's been going on for a long
       7   run out oftape and have to change it at 6: 12-isb,    7   time. So he has not worked for us since then, no.
       8   right? That'll be two hours?                          8       Q. Was he tenninated after the crash or was
       9               THE VIDEOGRAPHER: At -- we are at         9   he suspended after the crash?
      10   1:37, so -- right now at run time. You've got        10       A. Terminated.
      11   about 20 minutes.                                    11       Q. And do you know when he was terminated?
     12       Q. [By Mr. Tangredi] After the crash in           12       A. Well, he didn't go out no more, so it
     13    Dalton, Mass., did Gregory Trucking make any         13   was that day or the -- when he got back.
     14    changes at Gregory Trucking because ofthe crash?     14       Q. How was he tenninated?
     15                MR. O'CONNOR: Objection.                 15       A. I just told him he ­ we weren't going
     16       A. Well, I talked to each and every driver        16   to let him drive no more till we ­ till things ­
      17   there about it, yes, and that, you know, we was      17   till I knew what happened and what was going on
     18    going to have to get to the cause of it - like       18   and we'd have to go through some ­ check with our
     19    you say, the root cause - and - and do our best      19   insurance company.
     20    to avoid anything like that.                         20       Q. How did that conversation take place?
     21       Q. [By Mr. Tangredi] And -- and did               21       A. There on the yard in the office.
     22    Gregory Trucking ever get to the root cause?         22       Q. In North Carolina?
     23       A. We know what the accident report does          23        A. In North Carolina, yes.




•    24
     25
           and what our insurance investigating did.
              Q. And it's Gregory Trucking's position



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                                                                24
                                                                25
                                                                         Q. SO after the crash, Mr. Hooks was
                                                                     arrested and charged and then got back to North


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•
                                                   Page 190                                               Page 192
       1   Carolina?                                             1             MR. O'CONNOR: Objection.
       2       A. Yes.                                           2      A. Was there any what?
       3       Q. And you bad that conversation in person?       3      Q. Closing paperwork.
       4       A. Yes.                                           4      A. No. Other than just pay him what we
       5      Q. And would you characterize that as a            5    owed him.
       6   tennination of Mr. Hooks at that time?                6      Q. Which included money for that short haul
       7            MR. O'CONNOR: Objection.                     7    from BB&S to L P Adams?
       B      A. Yes, I would.                                   8       A. Whatever we owed him, yes.
       9      Q. [By Mr. Tangredi) Did you tell him he           9       Q. He got 25 percent of that?
      10   was tenninated?                                      10       A. That and then his trip up, yes.
      11            MR. O'CONNOR: Objection.                    11             (DEPOSITION EXHIBIT
      12      A. He knew that he was terminated or he           12             NUMBER 23 WAS MARKED
      13   wasn't going to do anything till that. But Wiley     13             FOR IDENTIFICATION)
      14   was upset about everything. He was tore up,          14       Q. Sorry. Would you take a look at the
      15   especially when that man died. He ­ he had a         15    next exhibit, which I think is Number 23?
      16   hard time.                                           16       A. [Witness reviews document.)
      17      Q. [By Mr. Tangredi] How was it relayed to        17       Q. Do you recognize what those documents
      18   Mr. Hooks that be was terminated?                    18    are in Exhibit Number 23?
      19           MR. O'CONNOR: Objection.                     19     A. They're driver's daily logs.
      20     A. I just told him he wouldn't be driving          20     Q. And would these be the driver logs for
      21   anymore.                                             21   Mr. Hooks?
      22     Q. [By Mr. Tangredi] Was there any                 22     A. Yes.
      23   condition on that pending the investigation or was   23     Q. And would they be from July 25th, 2016,
      24   it -­                                                24   to Augnst 24th, 2016?
      25         A. No.                                         25      A. Yes.




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              Q. -- clear as that; it was over?
                                                   Page 191


              A. No. I just told him that, you know, it
           would - till everything was done. And then if
           there was anything, we would talk. Nothing, you
                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                     its drivers after they're completed?
                                                                                                          Page 193
                                                                         Q. Does Gregory Trucking review the logs of

                                                                        A. Yes. We have ­ we go through them.
                                                                        Q. And did Gregory Trucking review all of
       5   know.                                                 5   these logs contained within Exhibit Number 23?
       6      Q. SO it was possible Gregory Trucking             6      A. Well, I'm sure we did because we have to
       7   would take him back?                                  7   file them and everything. And then we have to
       8      A. No. WeU­                                        8   send them off, you know.
       9          MR. O'CONNOR: Objection.                       9      Q. And
      10      A. -no. No.                                       10      A. Copies.
     11       Q. [By Mr. Tangredi] Was he terminated            11      Q. -- have these documents been determined
     12    with any kind ofwritten document?                    12   to be accurate within Exhibit Number 23?
      13      A. No.                                            13      A. Yes.
     14       Q. Was he ever sent anything in writing           14      Q. Ifthey were not accurate, how would we
     15    telling him he's -­                                  15   know?
     16       A. No.                                            16      A. Well, ifthey weren't accurate, they
     17       Q. - done at the company?                         17   would - you have to run these things and do your
     18       A. No.                                            18   down time, your breaks, everything. And -- and
     19       Q. It was all done orally?                        19   these aU look in order.
     20       A.   Orally.                                      20      Q. SO Gregory Trucking looked through all
     21       Q.   Was there any -­                             21   ofthese and they're in
     22       A.   He come by and he was fme with it.           22      A. Yes. We go through aU of our drivers'
     23       Q.   -- was there any closing paperwork to        23   logs.




•
     24    ending his employment relationship with Gregory      24      Q. And there isn't a problem with any of
     25    Trucking?                                            25   these logs?


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                                                    Page 194                                                  Page 196
       1         A. No.                                          1        Q. Do you see where it says, [as read]
       2         Q. Okay. I'd like you to take a look at         2    "Cecil Gregory is the company's designated person
       3   Exhibit -­                                            3    for providing infonnation on the controlled
       4              (DEPOSITION EXIDBIT                        4    substance program"? Does it say that?
       5              NUMBER 24 WAS MARKED                       5      A. Yes.
       6             FOR IDENTIFICATION)                         6      Q. And is that accurate?
       7             MR TANGREDI: You can put the                7      A. Wen, the -- it's done and it comes back
       8   sticker right over that Thank you.                    8   to the office there. I think Jim Staley is the
       9       Q. [By Mr. Tangredi] I'd ask you to take a        9   one that ­ when they ­ they've got to have
      10   look at Exhibit Number 24, Mr. Gregory.              10   somebody where ~- that they can send ifit's
      11      A. Okay. Oh, 24, oh. Okay. Page 24                11   negative or positive to. But I see them all.
     12    there.                                               12      Q. Okay. Ifyou'll look at Page 3, at the
     13          Q. Can you tell us what Exhibit Number 24      13   top it says, [as read] "Types of testing."
     14    is?                                                  14   Correct?
     15          A. Drug and alcohol information packet.        15       A. Yes.
     16          Q. And is that the drug and alcohol            16       Q. Do you see subheading B, post accident?
     17    infonnation packet for Gregory Trucking Company?     17       A. Yes.
     18          A. Yes.                                        18      Q. Does it say, [as read] "Administered as
     19          Q. SO Gregory Trucking has a drug and          19   soon as practical following an accident involving
     20    alcohol policy?                                      20   a commercial motor vehicle ifthere is a fatality
     21       A. I mean, we ­ they have to comply with          21   or if the driver is cited for a moving traffic
     22    and take a drug test, yes, and pass it. And then     22   violation. (JIe must test for alcohol within eight
     23    they're rand ­ randomly checked. Yes.                23   hours ofthe accident and controlled substances
     24       Q. But this Exhibit Number 24 is Gregory          24   within 32 hours.)"
           Trucking's -­



•
     25                                                         25       A. Yes.


                                                    Page 195                                                  Page 197
       1         A. Yes.                                         1      Q. Does it say that?
       2         Q. -- drug and alcohol policy?                  2      A. Yes.
       3         A. Yes.                                         3      Q. And is that the policy ofGregory
       4         Q. And was this the policy in 2016?             4   Trucking?
       5         A. Yes.                                         5      A.   Yes. And­
       6         Q. Will you look at Page 2 ofthe drug           6      Q.   And was it the policy in 2016?
       7   policy?                                               7      A.   Yes.
       8         A. Yes.                                         8      Q.    And did Gregory Trucking arrange and
       9         Q. Do you see the second paragraph from the     9   have a post-accident drug test or alcohol test for
     10    top?                                                 10   Mr. Wiley Lenue Hooks after the crash in Dalton,
     11          A. Yes.                                        11   Mass. -­
     12          Q. Does it say, [as read] "A critical part     12      A. I don't know ifhe did it when he came
     13    ofthe company's program is compliance with the       13   back down bere, but Wiley wanted one while be was
     14    Federal Motor Carrier Safety Regulations, CFR 49     14   - before he ever left up there, while he was up
     15    Part 382"? Does it say that?                         15   there, to make sure. Now, whether or not - you
     16        A. Yes.                                          16   know, I -- I don't know if he was - that they
     17        Q. And does Gregory Trucking comply with         17   give him one or not when they went to the
     18    the Federal Motor Carrier Safety Regulations CFR     18   hospital.
     19    49 Part 382?                                         19      Q. Did Gregory Trucking arrange for a post­
     20        A. Yes, we comply with the Federal Motor         20   accident drug or alcohol test?
     21    Carrier's stuff. Yes.                                21      A. Did we arrange for it? Yes, we'll send
      22       Q. And do you see the next paragraph where       22   them to the - to get a drug test. Yes.
      23   it says, [as read] "The designated employer          23      Q. Excuse me. After the crash in Dalton,




•     24   contact is" -­                                       24   Massachusetts, did Gregory Trucking arrange for a
     25        A. Yes.                                          25   post-accident drug and/or alcohol test of Mr.


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                                               Page 198                                                  Page 200
       1   Hooks?                                               1       A. Well, I figured when he had -- he went
       2      A. I'm sure he did when he got back.              2   to the hospital or wherever, that they did one.
       3       Q. Did Gregory Trucking arrange ­                3   And I figured the authorities took care of that.
       4      A. No. I don't know. Let me put it that           4       Q. Do you know ifhe went to the hospital?
       5   way.                                                 5       A. No. I mean, I - they aU have to after
       6       Q. All right. Your policy requires Gregory       6   that
       7   Trucking to arrange for a -­                         7       Q. I'm sorry?
       8      A. Yes.                                           8       A. All of them -- I always thought that
       9      Q. -- an alcohol or drug test, doesn't it?        9   they aU go anyway, whether they want to or not.
      10      A. Yes.                                          10   You know, I don't know. I don't know.
      11      Q. Did Gregory Trucking arrange for one          11       Q. Do you agree that a trucking company
      12   within eight hours after the crash in Dalton,       12   must use only qualified drivers to prevent crashes
      13   Mass.?                                              13   and protect all ofus from injury and death?
      14      A. He could have had a drug test when he         14             MR. O'CONNOR: Objection.
      15   was up there during that eight hours. I don't       15       A. I agree that all drivers need to be
      16   know. But, you know, he was like 20 hours away      16   qualified. Yes.
      17   from us down here.                                  17       Q. [By Mr. Tangredi] Okay. Why?
      18      Q. But do you agree that the policy of           18       A. Wen, you - that's why they got CDLs.
      19   Gregory Truck -­                                    19   If - if they can't pass or prove that they could
      20      A. Yes, I agree with this policy.                20   run, then they cannot get a CDL license.
      21      Q. And it requires Gregory Trucking to           21       Q. Do you agree that an unqualified driver
      22   arrange for the -- the alcohol or drug test,        22   could cause horrible crashes
      23   right?                                              23             MR. O'CONNOR: Objection.
      24      A. Yes.                                          24       Q. -- on the highways?
      25      Q. Did Gregory Trucking arrange for one?         25       A. Iwould-­




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              A. No.
                     MR. O'CONNOR: Objection.
                                               Page 199



              Q. [By Mr. Tangredi] Could Gregory
           Trucking have arranged for one?
                                                                1
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                                                                3
                                                                4
                                                                            MR. O'CONNOR: Objection.

                                                                    lot of trouble, yes.
                                                                                                         Page 201


                                                                       A. - an unqualified driver could cause a

                                                                       Q. [By Mr. Tangredi] Do you believe that a
       5             MR. O'CONNOR: Objection.                   S   shipper must choose a competent and careful
       6      A. I'm sure we got him one when he got back       6   trucking company to ship its goods on the
       7   down here. I don't know about up there. No.          7   highways?
       8      Q. [By Mr. Tangredi] Could you arrange for        8      A. Yes.
       9   one for any driver anywhere while he's out on the    9           MR. O'CONNOR: Objection.
      10   road after a crash?                                 10            MR. SCHULER: Objection.
      11             MR. O'CONNOR: Objection.                  11            MR. MEEHAN: Objection.
     12       A. I'd say that they - the authorities           12       Q. [By Mr. Tangredi] Why?
     13    would have aU that done there.                      13       A. Well, you want - you want to know that
     14       Q. [By Mr. Tangredi] Are you aware that          14   you can - you're capable of picking up a load and
     15    the Federal Motor Carrier Safety Regulations        15   -- and deUvering it, you know.
     16    require the motor carrier to arrange for it?        16       Q. Do you agree that B&C Timbers was a
     17       A. No.                                           17   shipper using Gregory Trucking to transport its
     18       Q. Okay. Are you aware that a drug test          18   load to Rhode Island?
     19    can be arranged within several hours ofa crash      19       A. Yes.
     20    anywhere, any time?                                 20       Q. Do you agree that BB&S was a shipper
     21              MR. O'CONNOR: Objection.                  21   using Gregory Trucking to transport its load to
     22       A. Yes, I'm sure they can be.                    22   Dalton, Massachusetts?
     23       Q. [By Mr. Tangredi] Okay. Is there a            23       A. Yes.




•
     24    reason why Gregory Trucking didn't arrange for      24       Q. Do you agree that tractor-trailer
     25    one?                                                25   drivers must follow the safety rules ofthe road


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                                                                               52 (Pages 202 to 205)



•
                                                  Page 202                                                           Page 204
       1   to prevent crashes and protect all ofus from         1    ten you the exact date, no.
       2   injuty and death?                                    2        Q. Okay.
       3             MR. O'CONNOR: Objection.                   3              TIlE VIDEOGRAPHER: We've got about
       4      A. Yes.                                           4    three minutes left.
       5      Q. [By Mr. Tangredi] Why?                         5              MR. TANGREDI: Okay. It might be a
       6      A. Well, we all have to go by the-­               6    good time to take a break.
       7   whatever the law requires out there on the road.     7              TIlE VIDEOGRAPHER: We're going off
       8      Q. Sir, what is a compliance review?              8    the record. The time now is 6:09.
       9      A. It's meeting aD of - to see about              9              [Off the record discussion.]
      10   meeting whatever you're in -- what you're asking    10
      11   for.                                                11          WHEREUPON at 6:09 p.m., the deposition
      12      Q. I'm sorry. I don't understand.                12    was adjourned.
     13       A. Compliance is for - it could be in            13
      14   compliance for anything. I don't understand what    14
      15   your question is.                                   15
     16       Q. Fair enough. Does the Federal Motor           16
     17    Carrier Safety Administration conduct periodic      17
      18   compliance reviews ofmotor carriers?                18
     19       A. They do. And they send people by too.         19
     20       Q. They send people to the motor carrier,        20
     21    correct?                                            21
     22       A. Yes. They will come by.                       22
     23       Q. And an agent comes by and looks at your       23
      24   records, correct?                                   24
     25       A. Yeah. They will come by and do record         25




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           cbecks.
              Q. What -- wbat is the purpose of a
           compliance review?
                                                  Page 203




              A. Well, they cbeck to make sure you're
                                                                1
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                                                                3
                                                                4
                                                                                  CERTIFICATION
                                                                                                                     Page 205

                                                                      I, Heather L. Smith, Notary Public in and for the
                                                                    County ofCabarrus, State ofNorth Carolina at Large, do
                                                                    hereby certify:
       5   doing your logs, your -- your -- your fuelage.       5       That there appeared before me the foregoing witness
       6   They keep up witb any kind of-- anytbing tbat's      6   at the time and place herein aforementioned;
                                                                7      That the said witness was swom by me to state the
       7   going on within your - your trucking company, you
                                                                8   truth, the whole truth, and nothing but the truth, in
       8   know, making -- making sure you're complying, you
                                                                9   said cause;
       9   know.
                                                               10      That the testimony was taken before me and recorded
     10       Q. And these compliance reviews are
                                                               11   by Stenomask, thereafter reduced to typewriting under my
     11    conducted by agents from the federal government,
                                                               12   direct supervision, and the foregoing consecutively
     12    correct?
                                                               13   numbered pages are a complete and accurate record ofall
     13       A. Yes. By outside agencies, yes.
                                                               14   the testimony given by said witness;
     14       Q. Outside or internal?
                                                               15      That the undersigned is not ofkin, nor in anywise
     15       A. They­                                         16   associated with any ofthe parties to said eause of
     16       Q. Federal agents.                               17   action, nor their counsel, and that I am not interested
     17       A. - they send them in, you know, tbe-­          18   in the event(s) thereof.
     18    tbey're federal, I guess.                           19       IN WITNESS WHEREOF, I have hereunto set my hand and
     19       Q. And they're employees of the Department       20   seal this the 10th day of May, 2019.
     20    ofTransportation?                                   21
     21       A. Yes.                                          22
     22       Q. And Gregory Trucking had one -- a             23
     23    compliance review -- on February 8th, 2011,         24                       HEATHER L. SMITII




•
     24    correct?                                            25                       NOTARY #:19932170009
     25       A. Well, I know we bad one. And I can't          26



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                                                                                    53 (Pages 206 to 207)



•
                                                               Page 206
       1                  WITNESS CERTIFICATION
       2       I, CECIL SmART GREGORY, do hereby certiiY.
       3       That I have read and examined the contents ofthe
       4    foregoing pages of record oftestimony as given by me at
       5    the times and place herein aforementioned;
       6       And that to the best of my knowledge and belie£: the
       7    foregoing pages are a complete and accurate record of all
       8    the testimony given by me at said time, except as noted
       9    on the attached bere (Addendum A).
      10    I have __, Have not __, made changes/corrections to
      11    be attached.
      12    _ _ _ _ _ _ _ _ _ _ _ _ (Signature)
     13        I, _ _ _ _ _ _ _ _ _ _ _ _-',NotaIyPublic
      14    for the County of_ _ _ _ _-', State of_ _ _ _--',
     15       do hereby certiiY:
     16        That the herein above named personally appeared
     17     before me this the _ _day of                     ,20_ _;
     18        And that I personally witnessed the execution of
     19     this document for the intents and purposes herein above
     20     described.
     21
     22                              NOTARY PUBLIC
     23
     24




•
     25     My Commission Expires:                   (SEAL)


                                                               Page 207
      1                    ADDENDUM A
      2
      3       Upon the reading and examination ofmy deposition
      4    testimony as herein transcribed, I note the following
      5    changes and/or corrections with accompanying reason(s)
      6    for said change/correction:
      7
      8              *************************
      9    Page    Line         Is Amended to Read
     10
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